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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JANE DOE NO. 1, JANE DOE NO. 2,           §
JANE DOE NO. 3, JANE DOE NO. 4            §
and JANE DOE NO. 5,                       §
      Plaintiffs,                         §
                                          §
                                          §
vs.                                       § CIVIL ACTION NO. 3:20-cv-00106-M
                                          §
TEXAS CHRISTIAN UNIVERSITY,               §
DR. DIANE SNOW, DR. ANDREW                §
SCHOOLMASTER, DR. ROB GARNETT,            §     JURY DEMAND
DR. DARRON TURNER,                        §
RUSSELL MACK, LEIGH HOLLAND               §
and AARON CHIMBEL,                        §
      Defendants.                         §
____________________________________________________________________________

                    PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Plaintiffs Jane Doe No. 1, Jane Doe No. 2, Jane Doe No. 3, Jane Doe No. 4 and Jane Doe

No. 5, by and through the undersigned attorneys, file this Complaint against Texas Christian

University, Dr. Diane Snow, Dr. Andrew Schoolmaster, Dr. Rob Garnett, Dr. Darron Turner,

Russell Mack, Leigh Holland and Aaron Chimbel alleging as follows:

                                           INTRODUCTION

       1.      This lawsuit is about a private university in North Texas that has historically been—

and remains—bigoted, narrow-minded and hypocritical in its treatment of racial minorities and

women while ostensibly advancing higher education. Texas Christian University’s (“TCU”)

legacy of discriminatory treatment of racial minorities and women is arresting and serves as the

backdrop to the facts underlying this Complaint. Indeed, the case at bar is the culmination of over

a century of hateful campus culture gone unchecked. TCU’s most recent public and targeted

displays of bigotry have claimed its latest victims in twenty-year-old Jane Doe No. 1, an award-



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winning African-American young woman enrolled in TCU’s Honors Program; Jane Doe No. 2, an

award-winning African-American woman and graduate of TCU’s Honors Program; Jane Doe No.

3 an award-winning African-American woman and Chancellor’s Scholar enrolled in TCU’s

Honors Program; Jane Doe No. 4 an award-winning African-American woman forced out of the

PhD Program of TCU’s Department of English; and Jane Doe No. 5 an award-winning African-

American woman enrolled in the PhD Program of TCU’s Department of English.

       2.      This Complaint recounts (1) TCU’s hateful legacy in its own words and actions as

proudly published in its official records; (2) the fraudulent and self-serving Diversity, Equity &

Inclusion (“DEI”) campaign and accompanying degree program recently launched by TCU

designed to induce racial minorities and women, to enroll in the university despite its hateful legacy

and present conscious contempt for minorities and women; and (3) a series of acts or omissions

by TCU designed to relegate Jane Does Nos. 1, 2, 3, 4 and 5 and other racial minorities and women

to a status of second-class citizen on TCU’s campus and at TCU-sanctioned activities in violation

of federal and state law. Consistent with TCU’s historical treatment of minorities and women,

Jane Does Nos. 1, 2, 3, 4 and 5 have been subjected to: (1) harassment from their professors and

university staff, including unwelcomed physical contact; (2) public embarrassment in the presence

of university professionals and their peers; (3) reckless disregard to Jane Doe Nos. 1 and 3’s health

decline resulting from the discriminatory environment at TCU; (4) disparate treatment in Jane Doe

No. 1’s academic pursuits, including the unexplained revocation of a merit-based scholarship and

being subjected to racially disparate grading practices, resulting in the loss of course credits; and

(5) retaliation for Jane Does Nos. 1, 4 and 5’s formal and informal complaints about TCU’s

treatment of herself and other similarly-situated minorities, to name just a few of the incidents

detailed herein. These incidents were so severe and pervasive that they created unimaginable




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psychological and physiological pain and harm to Jane Does Nos. 1, 2, 3, 4 and 5. TCU officials

were aware of Jane Does Nos. 1, 2, 3, 4 and 5’s distress and rather than work to ameliorate its

hateful behavior towards them, TCU doubled down.

                                  JURISDICTION AND VENUE

         3.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 because this

lawsuit arises under the Constitution, laws or treaties of the United States. Specifically, this lawsuit

involves conduct by TCU, which violates Title VI of the Civil Rights Act of 1964, 42 U.S.C. §§

2000d through 2000d-6, Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e

through 2000e-17, Title IX of the Education Amendments Act of 1972, 20 U.S.C. §§ 1681 through

1687, Section 504 of the Rehabilitation Act of 1973, 29 U.S.C § 794, and Title III of the Americans

with Disabilities Act, 42 U.S.C. §§ 12181 through 12189.

         4.     This Court further, and in the alternative if necessary, has subject matter jurisdiction

pursuant to 28 U.S.C. § 1332 because of the diversity of the parties' citizenship and because the

amount in controversy exceeds $75,000, exclusive of interest and costs. Specifically, Jane Does

Nos. 1, 2, 3, 4 and 5 are domiciled in Oklahoma; Virginia; Illinois; Louisiana; and Berlin,

Germany, respectively and Defendants are residents and/or citizens of, or otherwise domiciled in

Texas.

         5.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) because

the state law claims at issue are so related to the federal claims mentioned above, they form part

of the same case or controversy under Article 3 of the U.S. Constitution. Specifically, based upon

the same facts associated with its violations of federal law, TCU’s conduct also constitutes Texas

common law and statutory prohibitions against fraud, negligence, assault, intentional infliction of




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emotional distress, false imprisonment, violations of the Texas Deceptive Trade Practices Act,

civil conspiracy and breaches of fiduciary duty and warranty.

          6.     Venue is proper in the United States District Court for the Northern District of

Texas pursuant to 28 U.S.C § 1931(b)(1) and (2) because all Defendants reside within this judicial

district and are residents of the State of Texas and because a substantial part of the events or

omissions involving TCU, which give rise to Jane Does Nos. 1, 2, 3, 4 and 5’s claims occurred in

this judicial district. Additionally, and in the alternative if necessary, venue is also proper in this

Court because each Defendant is subject to personal jurisdiction in this district with respect to this

lawsuit.

                                 PARTIES AND KEY INDIVIDUALS

          7.     Jane Doe No. 1 is domiciled in Oklahoma.

          8.     Jane Doe No. 2 is domiciled in Virginia.

          9.     Jane Doe No. 3 is domiciled in Illinois.

          10.    Jane Doe No. 4 is domiciled in Louisiana.

          11.    Jane Doe No. 5 is domiciled in Berlin, Germany.

          12.    Texas Christian University (“TCU”), is a Texas corporation and private university

that receives federal financial assistance and is therefore subject to federal civil rights and

educational law. TCU has been served with process via its attorney of record.

          13.    Dr. Diane Snow is the former Dean and Wassenich Family Endowed Chair of the

John V. Roach Honors College at TCU. 1 She has been served with process via her attorney of

record.


1
 On March 6, 2020, nearly two months after Jane Doe No. 1 filed her Original Complaint in this Court, Provost Dr.
Teresa Abi-Nader Dahlberg announced that Dr. Snow would “temporarily step away from her role as dean” of the
Honors College at TCU to work on a “special project.” Incredibly, Dr. Dahlberg stated that Dr. Snow “stepping
away is not an indication of any policy violations, nor is it related to misconduct.”


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          14.     Dr. Andrew School Master is the former Dean of the AddRan College of Liberal

Arts. He has been served with process via his attorney of record.

          15.     Dr. Rob Garnett is the Associate Dean and Honors Professor of Social Sciences of

the John V. Roach Honors College at TCU. He has been served with process via his attorney of

record.

          16.     Dr. Darron Turner is the Chief Inclusion Officer and Title IX Coordinator, and the

Deputy Affirmative Action/Equal Employment Opportunity Officer at TCU. He has been served

with process via his attorney of record.

          17.     Russell Mack, J.D. is an instructor of strategic communications at TCU. He has

been served with process via his attorney of record.

          18.     Aaron Chimbel is the Dean of the Jandoli School of Communication at St.

Bonaventure University. Aaron Chimbel’s residence 2 is at 2536 Lubbock Avenue, Fort Worth,

Texas 76019. He has been served with process via his attorney of record.

          19.     Leigh Holland is Title IX investigator in TCU’s Title IX Office. She has been

served with process via her attorney of record.




2
  Aaron Chimbel owns said residence in Fort Worth, Texas, for which he had applied for and received a residence
homestead exemption under the Texas Tax Code § 11.13(b) according to Tarrant Appraisal District and relevant
official recordings as of the original filing date of this lawsuit. Pursuant to Texas Tax Code, a “residence
homestead” means a structure that “is occupied as the individual’s principal residence by an owner…” Tex.
Tax Code Ann. § 11.13. By filing for and receiving this homestead exemption Chimbel had certified to the State of
Texas that the aforementioned residence was his “principal residence” and that he “does not claim an exemption on
another residence homestead in or outside of Texas” at the time of the filing of this lawsuit. Id.; see also Property
Tax Exemptions, TEXAS COMPTROLLER, https://comptroller.texas.gov/taxes/property-tax/exemptions/#skip-scroll
(last visited Apr. 11, 2020). Tellingly, Mr. Chimbel only removed his homestead exemption after the filing of
Plaintiffs’ First Amended Complaint.


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                                       STATEMENT OF FACTS

            I.   A legacy rooted in hatred is promoted and preserved.

          20.    TCU cannot seriously contend that bigotry, hatred, and disparate treatment are

anything less than part of its DNA.            TCU was founded by brothers and Officers of the

Confederate Army, Addison and Randolph Clark.3                   When Addison Clark and his brother

Randolph Clark, the cousin-in-law of confederate General Robert E. Lee, 4 lost their fight not only

to maintain the right to own human-beings of African-descent as slaves but also to expand the

practice of slavery West, the Clark bothers sought employment as professors at public Texas

institutions.5 Because of their treasonous involvement as Officers in the Confederate Army during

the Civil War, however, the Clark brothers were unable to secure employment at federally funded

public schools.6 So, in 1873, the Clark brothers decided to open a private university where their

ideologies and allegiances were accepted: TCU. Thereafter, TCU would become an incubator for

precisely the brand of hatred and bigotry promoted by the high-ranking Confederate Clark brothers

during their involvement in the Civil War. Indeed, from its founding through the time of the filing

of this lawsuit, TCU has remained consistent in its treatment of the racial minorities and women

of its community as second-class citizens; promoting and preserving its legacy of bigotry and

hatred.

           II.   Act I. Environs of T.C.U. Temple of Education, except for the “nigger.”

          21.    The branding of TCU as a persistently bigoted institution is no exaggeration. In its

earliest documented history, TCU regularly published racist ideologies and minstrel depictions of

African Americans and promoted the racist acts and activities of its student body, faculty and staff.


3
  Kirk Tochov, TCU, PERSONAL TCU, http://personal.tcu.edu/ktochov/TCU.html (last visited Dec. 1, 2019).
4
  Addison Clark, THE INTERPRETER, February 1927, at 3.
5
  Tochkov, supra.
6
  Id.


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An examination of TCU’s earliest available publications provides context for the initial and

persisting racial environment at TCU.

        22.     In 1908 the Skiff, the university paper, provided commentary on a recent football

game, publishing that a TCU player “waded thru [sic] [the 10-yard line] like a nigger goes thru

[sic] a watermelon.”7 In 1909 the Skiff, reflected fondly on a university event wherein the speaker,

“…gave a graphic description of the horrors of the Reconstruction.” 8 How “negroes and carpet

baggers ruled the country and of the final return of the white man to his own through the aid of the

Ku Klux Klan and like agencies.”9 In 1910 the Skiff published a biblical origin story of Adam, the

first man formed by God, which in part discussed Adam’s carefree existence in Eden in contrast

to the concerns of the day. Specifically, the Skiff stated Adam,

                didn't have to anchor his smokehouse to the center of gravity with a
                log chain, set a double barreled bear trap in the donjon to keep off
                his hennery, nor tie a brace of pessimistic, pugilistic bull dogs in his
                melon patch, for the nigger with his adjustable morals and
                omnivorous mouth had not yet arrived on the scene. 10


        23.     The following year the Skiff casually noted that at a particular campus event, a TCU

student “had more announcements than a nigger's dog had fleas.” 11

        24.     In 1919, TCU’s yearbook commemorated a well-attended TCU event in May when

“the Ku Klux Klan certainly was revived” during “the finest shirt-tail parade [TCU] ever saw!” 12




7
  Editorial, SOUTHWESTERN TOO! Another Addition to Varsity’s Long List of Victims Bloor’s Linebucking The
Feature Game Somewhat Marred By Penalties, SKIFF (North Waco), Nov. 18, 1908, at 1.
8
  Herbert Bozeman, Editorial, Tomlinson the Winner of Blind Contest—First Place Closely Contested in Both
Composition and Delivery, SKIFF (North Waco), Mar. 19, 1909, at 1.
9
  Id.
10
   Grundy W. Stevenson, Opinion, Ideas of Plain Democrat, SKIFF (North Waco), Apr. 15, 1910, at 2 (emphasis
added).
11
   Howard B. Dabbs, Editorial, Annual Shirley Program: The Yearly Open Session Was Held Last Friday Evening,
SKIFF (Fort Worth), May 25, 1911, at 1.
12
   15 TEXAS CHRISTIAN UNIVERSITY, The Horned Frog 147 (1919).


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         25.          TCU also regularly promoted minstrel depictions of African Americans. Again, in

1919 the Skiff published a “Hallowe’en” article that begins, “[l]aw, law, chile, but this nigger sure

am tired.”13 The article only becomes more damning from there, depicting an African-American

simpleton cleaning behind white students and in search of a “Free Chicken Dinner.” 14 TCU’s 1920

yearbook even features a play titled “A Pageant,” which “portrayed the happenings of the College

Year 1919-1920.”15 The fifty-one-page play features only two characters of color who appear in

Act I. Environs of T.C.U. Temple of Education: the “negro bell hop” who speaks in stump speech

and the other, a “kitchen scullion with ebony face.” 16 TCU’s openly hateful depiction of African

Americans in its earliest years was so pervasive that to catalogue them all in this lawsuit

would be a physically exhausting exercise. Suffice it to say, however, that the bulk of TCU’s

publications through the 1960s detail TCU outings, including trips into the city to “witness one of

the greatest Ku Klux Klan parades ever held in the South,”17 incidents of persons defacing posters

with the word “nigger” when prominent African Americans were invited to campus 18 and regularly

published blatantly racist articles, poems, and illustrations, including Hambone’s Meditations19,

the minstrel comic strip that Judge and civil rights leader Benjamin Hooks admonished as a “total

and colossal indifference to negroes and their accomplishments.”20




               Figure 1. Negro bellhop as featured in The
               Horned Frog 118 (1920).                                       Figure 2. Hambone’s Meditations excerpt as
                                                                             featured in the SKIFF (Fort Worth), Sept., 1923.
13
   Beulah Bell, Editorial, SOCIETY: Halloween Party Given, SKIFF (Fort Worth), Oct. 5, 1919, at 3.
14
   Id.
15
   16 TEXAS CHRISTIAN UNIVERSITY, The Horned Frog 91 (1920).
16
   Id. at 118.
17
   Thos E. Dudney, Editorial, K.K.K., SKIFF (Fort Worth), Feb. 20, 1922, at 4.
18
   Lonn Taylor, Opinion, Letter to the Editor, SKIFF (Fort Worth), Nov. 4, 1960, at 4.
19
   J.P. Alley, Hambone’s Mediations, SKIFF (Fort Worth), Sept. 25, 1923, at 3.
20
   Michael K. Honey, Going Down Jericho Road: The Memphis Strike, Martin Luther King’s Last Campaign 128
(W.W. Norton & Co., Inc., 2007).


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         26.    Minstrel depictions published by the university seemed to disappear by the time

TCU fully integrated in 1964 (which in itself is reprehensible), 21 but its hateful ideologies toward,

and disparate treatment of racial minorities and women only became more visible.

         III.   Admitted but not equal.

         27.    In 1963, the Skiff published that “racial reins seemed a part of University policy…”

and reported that students were “particularly concerned that racial background does restrict any

scholastically qualified students from participation in some parts of [TCU’s] academic program.” 22

In response to student concerns, TCU cautioned student leaders that “[TCU] ha[d] exhausted the

usefulness of any campus-wide [discussions] on the topic of integration” and that the same “might

be ‘misconstrued’ by persons off campus.” 23 In 1964, ninety-one years after its founding, and only

after “feeling the heat” to comply with federal mandates, TCU totally integrated, but for years to

come African Americans were not allowed to take part in general school affairs and even now

African Americans and women are not treated equally at or by TCU. 24

         28.    By the late sixties, with the subjects of decades of its disdain now allowed on

campus, TCU’s culture of hate took on new life. TCU proudly displayed its bigotry and hate for

the African-American members of its own community and also towards its African-American

visitors in every facet of the university experience. In one incident in 1967, Southern Methodist

University star wide receiver (now Texas Sports and College Football Hall of Famer) Jerry LeVias,

an African American, had death threats made against him for daring to set foot in TCU’s Amon

G. Carter stadium in a game against TCU.25 During the game LeVias was spat at by a TCU player



21
   Nyshicka Jordan, Integration Now, IMAGE, March 2004, at 16 (Chancellor Moudy on integration—“We were late
in doing it. It was past time.”).
22
   Mary Martin, Editorial, Academic Restriction Target of Resolution, SKIFF (Fort Worth), Dec. 6, 1963, at 1.
23
   Mary Martin, Editorial, Easy Race Barriers, TCU Congress Asks, SKIFF (Fort Worth), Dec. 6, 1963, at 3.
24
   Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.
25
   Jordan, supra, at 17.


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who tackled him to the ground and “uttered a racial slur at LeVias as the two got up from the

turf.”26 LeVias quit the game and retreated to the SMU sideline in tears. 27 TCU’s response to its

own African-American students who dared attempt to participate in social activities as equals

was—and remains—equally chilling. In 1969, Ronnie Hurdle, a student at TCU in search of an

“opportunity to be more involved in mainstream college life” tried out for the cheerleading squad

and became TCU’s first African American cheerleader. 28 As his reward for attempting to spread

campus glee and cheer his team to victory, the same night he celebrated making the squad Hurdle

returned to his dorm room to learn of hours of harassing phone calls from persons asking to speak

to “the nigger” and threatening to beat him up.29 Hurdle was then targeted by “long-time

supporters of TCU” challenging “whether he was allowed to touch a white female cheerleader”

and treated to “hurried conferences over compromises” between himself and the university

Chancellor.30 An entire year later, in 1970, TCU finally decided to allow Hurdle to touch his

fellow white female cheerleaders.31

        29.      Off the field, social activities and campus life were also “still somewhat segregated”

as TCU’s fraternities and sororities contained clauses restricting the admission of “Jews or

Negroes.”32 And as late as 1980, “none of [TCU’s traditional fraternities and sororities] had any

Negro members.”33




26
   Id.; Charles H. Martin, Benching Jim Crow: The Rise and Fall of Color Line in Southern College Sports, 1890-
1980 197 (2010).
27
   Steve Campbell, LeVias Now Making a Difference Off Playing Field, HOUSTON CHRONICLE (Sept. 22, 2008),
https://www.chron.com/sports/college/article/LeVias-now-making-a-difference-off-playing-field-1782142.php.
28
   Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.
29
   Id.
30
   Margaret Downing, Editorial, 100 Years White, Only 9 Black, DAILY SKIFF (Fort Worth), Jan. 18, 1973, at 8.
31
   Id. (emphasis added).
32
   Frank Lewis, Editorial, Greeks Proud of Unity, SKIFF (Fort Worth), Jan. 17, 1969, at 2.
33
   Id.; Chris Kelley, Editorial, TCU Turns to Racist Charges, TCU DAILY SKIFF (Fort Worth), Sept. 3, 1980, at 1.


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        30.      Dorm life for African Americans at TCU fared no better. In 1968 Ivory Dansby,

an African-American woman living on campus, complained that TCU prohibited African-

American women from sharing dorms with white women. 34 Dansby reported that “…[TCU] had

white girls living three-to-a-room and, at the same time, Negroes were living alone.” 35 Dansby

also recalled her dorm mother calling her “my favorite colored girl” and regularly inviting her

“over to her house [to] do housework” and wash windows. 36 Dansby’s degrading experience

existed beyond the dorm room as well. Dansby recalls hearing “one of [her] prof’s [sic] say Nigra

N-I-G-R-A” and that to her it sounded “like a prof's[sic] been saying nigger all his life and just

can't quite bring himself to say Negro.''37 TCU carried its culture of isolation and disparate

treatment of African Americans into the seventies, and that culture persists today.

        IV.      TCU’s culture facilitates the adultery of an illicit intercourse between injustice
                 and immorality.

        31.      In fact, Herman Wright’s first experience when he arrived on campus in 1971, was

that a succession of three white roommates “bolted” from their dorm assignments, when they

realized Wright was an African American.38               Wright “spent the rest of the year with no

roommates.”39 In a 2016 interview, Wright acknowledged that there were “a ton [of obvious issues

with race relations on TCU’s campus]” and described his experience at TCU as very tough and

very isolating.40 Wright was not alone. That same year four African-American athletes voluntarily

removed themselves from TCU’s athletic program in a “walkout” citing “racist attitudes among

general and athletic administrations,” including arbitrary comments, rules and dress code targeting


34
   Judy Buchholz, On Breaking the Negro Cycle, WAKE, May 1968, at 13.
35
   Id.
36
   Id.
37
   Id.
38
   Johnny Livengood et al., Editorial, Walkout Spurs Black Outcry, SKIFF (Fort Worth), Feb. 5, 1971, at 1.
39
   Id.
40
   Wright / Herman Wright Discusses TCU, TCU (June 29, 2016), https://crbb.tcu.edu/clips/5262/herman-wright-
discusses-tcu.


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the physical appearance of the African-American athletes and the denial of food to one of the

African-American athletes at the training table—conduct which persists today. 41 The walkout

“triggered a chain of demands” that were presented to the press by African-American students

concerning the attitudes of bigotry toward racial minorities at TCU—again, attitudes that persist

today.42

        32.      In response to a list of demands produced by African-American students, TCU

created a “Black Studies” minor to pacify the students in an apparent attempt to halt racial

complaints; a play TCU would recycle whenever confronted with student demands flowing from

its racist and sexist treatment of its racial minorities and women. 43 It did not work then, and TCU

should have known its most recent insincere attempt at solving racial issues by creating degree

programs rather than confronting directly its insidious practices would not work now. 44 By the

late eighties, the “Black Studies” minor disappeared. 45 Ultimately, all of the aforementioned

African-American athletes withdrew from TCU.46

        33.      TCU’s treatment of African Americans had deteriorated so far that in 1974 the TCU

chapter of the National Association for the Advancement of Colored People (“NAACP”) filed two

race and sex discrimination charges against TCU for its conduct in discriminating against African

Americans in “employment, admissions, and certain student organizations.” 47 One glaring aspect




41
   Id.
42
   Ariana Williams, Wall of Integration Highlights History of Campus Inclusion, TCU 360 (Sept. 11, 2019),
https://www.tcu360.com/2019/09/wall-of-integration-highlights-history-of-campus-inclusion/.
43
   Id.
44
   Lucy Calvert, Editorial, Awareness Starts in Class, TCU DAILY SKIFF (Fort Worth), Apr. 20, 1998, at 1.
45
   Id.
46
   Livengood et al., supra.
47
   Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Oct. 24, 1974, at 1; Lisa Deeley,
Editorial, Second Discrimination Charge Filed: University Could Lose $1.5 Million, DAILY SKIFF (Fort Worth),
May 2, 1974, at 1.


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of the NAACP’s charge was the complaint that TCU paid its racial minority and women employees

less money for the same work as its white employees—a practice TCU continues to this day. 48

        34.      As a result of these charges, in October of 1974, the United States announced that

it would send civil rights officials to investigate TCU’s treatment of and practices against racial

minorities.49 Ultimately, federal investigators substantiated the NAACP’s claims of discrimination

at TCU.50 Coincidentally—in yet another display of TCU’s total lack of sensitivity towards its

African-American community—in October of 1974, TCU’s Forums Committee invited David

Duke, Grand Dragon of the Klu Klux Klan to speak at the University. 51 African-American students

and a group of African-American ministers protested that Duke’s very presence was intimidating

to a number of students and to the African-American students was a direct “slap in the face,”

especially in light of the recently filed NAACP discrimination complaints. 52 TCU’s Dean of

Students approved Duke’s appearance even while admitting the likelihood that “Duke’s speech

would reinforce the views of racists or adversely influence those who had no definite views.” 53

After weeks of continued protests from African Americans both within and outside TCU, TCU

finally withdrew its invitation to Duke to speak on campus. 54 A few weeks later, however, TCU’s

House of Student Representatives reopened the invitation to Duke. 55

        35.      Towards the end of the seventies TCU was still—and remains—engulfed in

complaints of disparate treatment from its racial minorities and women. A university study in the



48
   Editorial, Affirmative Action reports: Minority [sic] Employees Few, Paid Little, DAILY SKIFF (Fort Worth), May
3, 1974, at 1.
49
   Lia Deeley Smith, Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Sept. 6, 1974, at 1.
50
   Lia Deeley Smith, Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Sept. 24, 1974, at 1.
51
   Robert Bobbins, Editorial, Forums Votes to Invite Klansman, DAILY SKIFF (Fort Worth), Nov. 5, 1974, at 1.
52
   Id.; Loretta Gamble, Letter to the Editor, Readers React to Klan Controversy, DAILY SKIFF (Fort Worth), Nov. 6,
1974, at 2; Al Sibello, Editorial, Klan Speaker Cancelled, DAILY SKIFF (Fort Worth), Nov. 13, 1974, at 1.
53
   Robert Robbins, Editorial, Speaker Panel OK’s Duke’s Visit, DAILY SKIFF (Fort Worth), Nov. 8, 1974, at 1.
54
   Id.
55
   Editorial, Klansman May Get Second Chance, DAILY SKIFF (Fort Worth), Nov. 21, 1974, at 2.


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spring of 1976 revealed that of the African Americans surveyed “67.5 percent were dissatisfied

with the way they were treated on TCU’s campus;… 42.5 percent felt their life at the University

[was] generally worse than the life of the average white student;…and 15 percent said white

students would not socialize with them.”56 TCU’s racist and bigoted conduct prevailed in the

classroom, too. In 1977, one nursing student complained that “she and other blacks were

discriminated against in grading by faculty members of [TCU’s] Nursing school” and yet another

African-American student “was reportedly advised by a professor to drop out of school altogether”

when they challenged the grade they received in a course, which they believed was due to disparate

grading—a practice and culture that persists at TCU to this day. 57 The Dean of the nursing school

dismissed these claims as “just a rumor, coloring the truth.” 58

          V.     TCU’s famous apathy and indifference makes racism in the hearts of a few a
                 very real threat.

        36.      By the eighties, TCU proved that it could take bigotry and hate to international and

unimaginable heights. In an address to student leaders in 1980, TCU’s Chancellor admitted that

“the full privileges of the campus” did not “appear to be available” to African-American students;

specifically noting that “it seems hardly accidental for no blacks to be pledged in Greek

organizations in 25 years.”59 TCU student leaders responded that they “discriminate every time

rush rolls around,” and that as a “private social organization [they] have that right,” one even

stated that “[i]t's always been separate but equal. Why should it change?” 60 A TCU lawyer

disagreed and even called on TCU to fulfill its obligations to investigate racism on campus. 61



56
   Cindy Cook, Editorial, Black—White: Do Both Have Problems?, DAILY SKIFF (Fort Worth), Feb. 4, 1977, at 4.
57
   Id.
58
   Id.
59
   Opinion, Chancellor Discusses Discrimination at TCU, TCU DAILY SKIFF (Fort Worth), Sept. 3, 1980, at 2.
60
   Chris Kelley, Editorial, Greek Problems Sprouted Early but Branched Now, TCU DAILY SKIFF (Fort Worth),
Sept. 4, 1980, at 1.
61
   Id.


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        37.      In the very same publication, a student reported that he had been running on the

athletic field around the track preparing for a track meet when someone yelled to him, “nigger!”

The student’s recitation of the facts and the Skiff’s reporting of the student response provides

insight into just how persistent TCU’s legacy of bigotry was and continues to this day:

                 There was an uncomfortable silence as one of them related an
                 experience to the others. He said he had been running on the athletic
                 field around the track preparing for a track meet. He chuckled lightly
                 as he remembered. “I was practicing for track and I had never in my
                 life been called a nigger... I was here for two weeks and someone
                 yells at me ‘Hey, nigger!’” His listeners giggled, some with hinted
                 recognition, others with discomforting embarrassment. “I didn't
                 know if I should go home. I wondered if the Ku Klux Klan was
                 going to get me or what. In mv upper educational life I have had to
                 face more racism than ever in my life. I was president of a
                 predominantly white Jewish high school class with a black
                 principal." The room was quiet again. They realized what the
                 popular track player was implying. They remembered the reasons
                 they had come together to meet. "I never experienced racism
                 before I came here..." 62


Neither had Jane Does Nos. 1, 2, 3, 4 and 5 nor undoubtedly countless other racial minorities and

women at TCU.

        38.      The point conveyed here—since its founding TCU has been a breeding ground for

a particular sort of hate; one that has served as an introductory to the harshest racial sentiments;

one that was present in 1873, again in 1980 and again today as evidenced by the experience and

treatment of Jane Does Nos. 1, 2, 3, 4 and 5 in this case.

        39.      That same year, history seemed to repeat itself as it has been proven to do at TCU.

In September of 1980, five foreign athletes quit TCU’s soccer team citing disparate treatment after

the long-time TCU soccer coach held “a secret practice []—just for the American players.” 63


62
   Virginia Vanderlinde, Editorial, Book Learning Does Not Always Rule Out Bigotry, TCU DAILY SKIFF (Fort
Worth), Sept. 3, 1980, at 4 (emphasis added).
63
   Editorial, 5 Soccer Players Quit, TCU DAILY SKIFF (Fort Worth), Sept. 19, 1980, at 4.


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        40.      The culture of isolation and white supremacy that TCU carried with it through the

sixties was sustained through the eighties and continues to prevail today. For instance, in 1984,

“a white athlete broke a national track record and the [track] team got the key to the city. A year

later when the [track] team members were all black, they broke a world record and a national

record and went undefeated in every track meet in which they participated, they got a plastic trophy

from TCU.”64 A member of the all African-American team recalled, “They brought us to the

athletic banquet just to humiliate us.”65 “I'll never forget how hurt I was,” he said.66

        41.      And in 1988, racial minorities at TCU reported that “[w]hen you sit down next to

white students, they move with a quickness as if you bite.” 67 Another student of color reported

that “his history professor asked him on the first day of class if he was going to do enough in his

class to get a C.” “That said to me that he didn't think I could do much better than a C,” the student

said.68 By this time, international students also revealed that they were isolated at TCU. Indeed,

Mahilet Bekele, the International Student Association President reported that TCU makes one

“more aware that you are being judged by what you look like and not who you are, and it's a

challenge not to be affected by it, because if you let it, it can drown you.” 69 Bekele likely could

not have imagined the prediction she was making at the time.

        42.      Also, in 1988, Elena Hicks, president of TCU’s Black Student Caucus, reported

that “racism at TCU is more subtle than some of the overt racism of the past,” but that “[i]f you

are the least bit sharp you know what the hell is going…[i]t won’t get by you.”70 That year racial

minorities also reported that “the hostility they feel from the environment and the lack of role


64
   Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
65
   Id.
66
   Id.
67
   Id.
68
   Id.
69
   Id.
70
   Id.


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models causes them to question their own self-worth” and question “how can [one] do as well (in

this environment) when [they] have to deal with academic pressure, social pressures and

racism?”71 This student’s question remains unanswered today. Another student summed up the

sentiments of racial minorities and women and their treatment at TCU at the time by plainly stating,

“TCU could very well be compared to a toilet. Toilets are dirty by design, and so is TCU.”72

        43.      That same year TCU’s Minority Affairs Director admitted that “the psychological

barriers facing minority students are as limiting and more painful” than physical barriers. 73 Despite

this admission, TCU’s Minority Affairs Director dismissed racial minority students’ sincere

complaints of campus hostility towards them as “more perceived than real.” 74 This could not have

been more untrue. TCU’s response also verified that, as the Skiff reported, when students report

incidents of race related violence or harassment, “[o]ne of the first responses from administrators

and police is to deny the problem exists”—a culture and practice which persist today. 75 Regina

Anderson, an African-American student, highlighted the pervasiveness of such practices in stating,

“[she] could handle the racism if the school would just acknowledge that its here.” “They need

to say ‘yes, we are bigots,’ and deal with it,”76 Anderson said. Anderson was correct in 1988

and remains correct today.

        44.      TCU’s racist culture and the horrors associated with it in the eighties are not

exclusive to its student population. In 1987 renowned civil rights activist and minister, Reverend

Jesse Truvillion, an African-American faculty member at TCU received a letter on TCU’s campus

that included:



71
   Yvonne Webb, Editorial, Minorities Encounter Bias Racism, TCU DAILY SKIFF (Fort Worth), Apr. 22, 1988, at 1.
72
   Kristie Aylett, Editorial, Students Rally to End Racism, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
73
   Webb, supra.
74
   Id.
75
   Id.
76
   Id.


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                 such things as a pseudo-prescription from Dr. Josef Mengele, the
                 infamous Nazi who performed grotesque medical experiments on
                 “racially inferior” prisoners in World War II. It also include[d] a
                 mock boat ticket for a one-way trip to Africa. It isn’t just blacks
                 who are meant to go on this trip “on a leaky boat shaped like a
                 Cadillac and filled with bananas.” Also invited are federal judges,
                 communists, homosexuals…about the only type of person who
                 would not fit into one of its many categories is an uneducated white
                 male from the South or a submissive woman who knows her
                 place…The message presented here is Southern white male
                 supremacy as a way of life imposed upon all people. 77

This remains TCU’s message today.

        45.      Though TCU is not a university noted for its concern for minorities—“TCU’s

famous apathy makes racism in the hearts of a few a very real threat.”78 This threat

materialized against Truvillion in 1988 when he was approached by two white males yelling

obscenities at him and yelling, “you’re a dead cat, buddy.”79 At the time, Truvillion was on campus

hosting African visitors with whom he was protesting TCU’s refusal to divest from racist South

African businesses supporting apartheid. 80 Later, that day, Truvillion found a black cat with its

throat slit dying on top of his vehicle.81 According to Truvillion, “[w]hen you deliver a black cat

to someone, it has a very specific meaning,” “[i]f you deliver it alive, it means you are not

considered human. If it's delivered dead, it means they intend to kill you.” 82 In the end, no

eyewitness came forward and TCU failed to identify the individuals responsible, much less hold

anyone accountable for the heinous act.83 Truvillion poignantly stated, that in an environment




77
    Michael Hayworth, Opinion, Ignoring Racism and Bigotry Only Helps the Disease Grow, TCU DAILY
SKIFF (Fort Worth), Apr. 22, 1987, at 2.
78
    Id.
79
   Yvonne Webb & Kristie Aylett, Editorial, Activity No Game to Some, TCU DAILY SKIFF (Fort Worth), Apr. 7,
1988, at 1.
80
   Id.
81
   Id.
82
   Id.
83
   Id.


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such as TCU’s you “just don't get throats of cats slashed, but you get the throats of people's

humanity slashed”84 Truvillion’s sentiments still ring true today.

        46.      TCU’s racial minorities and women staff were also not exempt from TCU’s

harassing culture. In 1988 a knife and death threat card, among other bizarre items were left for

Lovie Bradley, a housekeeper at TCU. When asked who she thought left the items for her to find

on her utility cart in a locked room, Bradley responded that she “think[s] it’s people who…have a

deep hate for [her] race.”85 Bradley is African American. TCU never identified the culprit. 86

        VI.      Racism is a quiet but consistent part of life at TCU.

        47.      TCU’s sordid legacy continued to materialize through the nineties as it still does

today. In 1992, Michelle Smith, an African American student at TCU reported on the complete

insouciance with which members of TCU’s community dished out racial epithets, without

reprimand:

        This conversation may be heard frequently; I heard it at one of my
        organizational meetings:
        "Gosh, did you lay out today?" one girl asked emphatically.
        "A little. Am I that tan?" she asked the other.
        "Yeah, you are dark, you nigger!"
        The girls then laughed, and I was standing right there. The girls were so
        preoccupied with themselves and their fake blackness that they failed to realize
        that someone with the attribute they were seeking was standing just behind them.
        Nigger, I thought. Hmmph! I chuckled. 87

Smith was writing for herself as well as her “other African American sisters” who “hear these

less-than-informed comments on a daily basis” at TCU.88 Smith correctly noted that such

attitudes were “a very PUBLIC concern” in 1992 as they remain today. 89


84
   Suzanne Lorton, Editorial, Students Speak Against Racism, TCU DAILY SKIFF (Fort Worth), Apr. 20, 1988, at 1.
85
   Leanora Minai, Editorial, Occult Objects Found, TCU DAILY SKIFF (Fort Worth), Apr. 22, 1988, at 1.
86
   Id.
87
   Michelle Smith, Opinion, Historical Ethnic Notions Must Change, TCU DAILY SKIFF (Fort Worth), Apr. 28, 1992,
at 3 (emphasis added).
88
   Michelle Smith, Letter to the Editor, Racism, TCU DAILY SKIFF (Fort Worth), May 1, 1992, at 3.
89
   Id.


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        48.      In 1994, “someone scrawled the words ‘Nigger #1’ and ‘Nigger #2’ in paint on two

doors in a fraternity house on TCU’s campus.” 90 When the fraternity president was questioned

about it he stated puzzlingly that “he didn’t think the words were meant in a racist context…,” that

the “word nigger can be used in a casual way” and that he “really didn’t care” who did it. 91

        49.      In 1997, history yet again repeated itself. That year the Skiff revived TCU’s legacy

of racist cartoon imagery when it mocked racial minorities and their complaints about racism: 92




                                             Figure 3. “Six Degrees of Racism
                                             Accusation” as featured in TCU DAILY SKIFF
                                                               1997.
        50.      Stacey Henderson, said the following of the cartoon, “as an African-American

student, the sight of this cartoon shocked and troubled me. That there could be anyone who does

not understand the reason why African Americans and other groups continue to protest is a

dangerous situation.”93

        51.      Later that year the Skiff reported the obvious: that “[r]acism is a quiet but

consistent part of life at TCU” that “manifests itself in many ways: an off-hand remark, a


90
   Editorial, INTOLERANCE Racist Attitudes Have No Place at TCU, TCU DAILY SKIFF (Fort Worth), Oct. 4, 1994,
at 5.
91
   Id.
92
   Stacy L. Henderson, Letter to the Editor, Racial Cartoon Misleading, TCU DAILY SKIFF (Fort Worth), Feb. 14,
1997, at 3.
93
   Id.


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quickened pace, a misguided assumption;” and “often leaves portions of the campus scarred and

divided.”94 Within the report, several racial minorities and women at TCU shared their many

experiences with extreme racism, racial profiling and bigotry. 95 Illogically and laughably even,

TCU responded that the racially bigoted attitudes conveyed by the students “had been brought in

from the outside” to TCU.96 The reality, however, is that bigotry and racism are common fixtures

at TCU. That same year, Pete Radovich, a white student, spoke out against the bigotry and racism

he had seen “[t]hroughout [his] time as a TCU student” in the form of casual racist attitudes on

campus and “members of the community proudly sporting Confederate flags in their rooms and
                       97
on their vehicles.”         In response to condemning the very Confederate Flag bore by TCU’s

founders, the Clark Brothers, Radovich received five death threats, was called a “mother f—ing

nigger lover!” and warned that if he spoke out again, he’d be killed. 98

       VII.      Even TCU’s Chancellor, Victor Boschini disapproves of TCU’s race relations
                 and diversity.

        52.      As TCU entered the twenty-first century, its brand of racism and bigotry towards

racial minorities and women evolved. In 2000, “several white TCU students celebrated their fourth

annual Martin Luther King Jr. birthday party. The group dressed in baggy jeans, wore T-shirts

with the words ‘talk to the hand’ on them, and were adorned in shower caps with condoms tucked

underneath. They proceeded to watch the film “Menace II Society” and ate fried chicken and

watermelon.”99 When another group of white TCU students were asked how they were going to




94
    Blake Sims, Editorial, Black & White: A Look at TCU Race Relations, TCU DAILY SKIFF (Fort Worth), Feb. 25,
1997, at 9.
95
   Id.
96
   Id.
97
   Id.
98
   Id.
99
   Rusty Simmons, Editorial, Acts of Racism, Ignorance Not Far from University, TCU DAILY SKIFF (Fort Worth),
Feb. 25, 2000, at 1.


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celebrate Black History Month they replied: “I'm going to KFC;” “[w]ell, I play football with a

black guy;” and “I have relatives in Jasper.” 100

        53.      In 2002, a group of African-American students were standing outside fixing a

disabled car when a group of white students began pummeling the students with water balloons

and yelling “niggers!” at them from a nearby building. Bizarrely, despite the white students yelling

“niggers,” a clear racial epithet, TCU’s Associate Dean of Campus Life said that “he ha[d] no basis

to judge whether or not the incident was racially motivated.” 101

        54.      Even TCU’s Chancellor, Victor Boschini disapproves of TCU’s race relations

and diversity. When asked directly about racial relations and diversity at TCU in a 2004 Skiff

article titled, Integration Now, Chancellor Victor Boschini said “TCU has a long way to go, but

that the commitment is there” and that he “would give [TCU] an ‘A’ for efforts and intentions and

a ‘C plus’ for actual reality on campus.”102 A decade later, under Chancellor Boschini’s leadership,

that ‘C plus reality’ would deteriorate to a solid ‘F.’

       VIII.     TCU is an institution with layers of back and front of stage racism and sexism
                 from students, faculty and administration.

        55.      Beginning in 2010, the advent of the social media era gave members of TCU’s

community and particularly racial minorities and women a new and public platform from which

to expose and address the persistence of TCU’s legacy of hatred and bigotry. In 2014, some TCU

students began posting offensive comments about African Americans on the social media app, Yik

Yak.103 “End black entitlement. End black privilege,” and “Blacks were unable to get proper

educations…but, that’s more a result of their busted families and lack of morals…” and “watch


100
    Id.
101
    Skiff Staff, Editorial, Prank Under Investigation, TCU DAILY SKIFF (Fort Worth), Feb. 22, 2002, at 1.
102
    Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.
103
    Robbie Owens, TCU Hosts Campus Rally Against Racism, CBS LOCAL (Apr. 30, 2015, 5:15 PM),
https://dfw.cbslocal.com/2015/04/30/tcu-hosts-campus-rally-against-racism/.


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the blacks,” were among some of the comments made on Yik Yak. 104 The incident once again

drew national attention to the racist and bigoted culture that prevails at TCU. A TCU spokesperson

called the comments a “reality check that the university is not where it needs to be as a

community.”105 In truth, TCU has never been “where it needs to be” with respect to its treatment

of racial minorities and women. In another Yik Yak incident that same year, students at a

predominately African-American fraternity pool party were called monkeys. 106

        56.     The oppressive and isolating experience of racial minorities and women became so

pervasive in 2016 that the hashtag #beingaminorityatTCU went viral on popular social media

platform, Twitter.107 Racial minorities and women shared their experiences on campus stating that

“#BeingAMinorityAtTCU [is] [v]aluing the education that you receive but not feeling valued on

campus” and “#BeingaMinorityatTCU is being labelled “negative” and “ungrateful” because you

care about issues concerning race/White privilege/oppression” and “#BeingaminorityatTCU [is]

having to make a hash tag to let our feelings out because we don't feel safe enough to do so on

campus,” to name a few.108 The #BeingaminorityatTCU hashtag and movement it inspired

resulted in the “Black Students and Allies of TCU” delivering a list of demands to TCU and the

media, together, with a letter calling on administrators to make the campus more inclusive. 109 As

the letter poignantly noted for the racial minorities and women on campus, “[f]eeling a sense of




104
    Id.; Gilma Avalos, TCU Looks to Change Tone After Racist Comments, CBS LOCAL (Apr. 30, 2015, 10:07 PM),
https://dfw.cbslocal.com/2015/04/30/tcu-looks-to-change-tone-after-racist-comments/.
105
    Gilma Avalos, TCU Responds to Racist Student Comments on Social Media, CBS LOCAL (Apr. 29, 2015, 9:53
PM), https://dfw.cbslocal.com/2015/04/29/tcu-responds-to-racist-student-comments-on-social-media.
106
    Garrett Podell, Boschini Addresses Racial ‘Ignorance’ at TCU, TCU 360 (Feb. 1, 2018),
https://www.tcu360.com/2018/02/boschini-addresses-racial-ignorance-at-tcu/.
107
    #Beingaminorityattcu, TWITTER, https://twitter.com/hashtag/BeingAMinorityAtTCU?src=hashtag_click (last
visited Dec. 5, 2019).
108
     Id.
109
    Ryan Osborne, TCU Plans to Add Diversity Official After Students Send Demand Letter, FORT WORTH STAR-
TELEGRAM (Oct. 19, 2016, 9:17 AM), https://www.star-telegram.com/news/local/fort-worth/article109136667.html.


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alienation along with trying to maintain a high grade point average and remain involved on campus

creates unnecessary burdens that can hurt students in the long run.” 110

         57.      After several weeks of negotiations, TCU responded by (1) creating a “Cabinet

Level” position: Chief Inclusion Officer; (2) launching and publishing the creation of a Diversity,

Equity & Inclusion (“DEI”) committee and accompanying campaign, including an award and

fellowship; and (3) resurrected a move from its 1971 playbook, by approving a new major to pacify

its racial minority students: Comparative Race & Ethnic Studies (“CRES”). 111 Through these late-

to the party initiatives, TCU represented that it was “a welcoming community that embraces

diversity in all of its forms” and that it had “put in place measures to create a more balanced

learning community.”112 This was a material misrepresentation at an institution of higher learning

specifically intended to entice racial minorities and women, like Jane Does Nos. 1 and 5, to apply

for admission to and enroll at TCU.113 Jane Does Nos. 1 and 5 in this lawsuit relied on such

representations to her detriment as did undoubtedly countless other racial minorities and women

when they applied for admission to and/or enrolled at TCU. In light of its legacy as extensively

detailed herein, however, TCU knew or should have known that such representations were untrue.

Though convincing to gullible racial minorities, these ceremonious gestures proved empty, and

even CRES—the very degree program approved in response to student outcry over racism and

bigotry—is riddled with complaints of bias and disparate treatment. In fact, TCU’s Chief Inclusion

Officer and Title IX coordinator, Dr. Darron Turner, has received multiple emotional complaints

from both current and former faculty and students regarding pervasive discrimination and




110
    Id.
111
    Id.
112
    Victor Boschini, Jr., Letter from the Chancellor, TCU, https://inclusion.tcu.edu/about/letter-from-the-chancellor/
(last visited Dec. 6, 2019); Resources, TCU, https://inclusion.tcu.edu/resources/ (last visited Dec. 6, 2019).
113
    Id.


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harassment of racial minorities and women designed to completely undermine their success in

CRES and at TCU. Specifically, on or about January 15, 2020, two professors and one student

informed Jane Doe No. 1 that they filed complaints regarding the discrimination and harassment

of racial minorities and women faced at the hands of TCU with Dr. Turner and/or TCU’s Title IX

office, which have gone unanswered for more than a year. TCU’s deliberate indifference has

caused and continues to cause real psychological pain and physiological harm to TCU’s racial

minorities and women, including Jane Doe Nos. 1, 2, 3, 4 and 5. Indeed, TCU’s Chief Inclusion

Officer and Title IX coordinator, Dr. Turner was recently made aware that hateful classroom and

campus treatment of racial minorities and/or women at TCU was so severe and pervasive it caused

the development of type 1 diabetes in Jane Doe No. 3. Rather than offer Jane Doe No. 3

guidance, Dr. Turner discouraged her from finalizing her Title IX complaint. Dr. Turner

even had the effrontery to instruct Jane Doe No. 4 that she must waive and forfeit all of her

numerous and ignored Title IX complaints in order to accept an employment position at

TCU. Jane Does Nos. 1, 2, 3, 4 and 5 in this lawsuit have suffered psychological as well as

physiological harm as a result of TCU’s hateful treatment of racial minorities and women,

including Dr. Turner’s deliberate indifference and/or discouragement of their valid claims.

       58.     As if TCU’s insincerity in publishing the aforementioned DEI campaign and

approving the CRES major was not clear enough, merely one year after starting the CRES program

TCU announced that it was moving CRES out of the established AddRan (presumably named for

Confederate Officers, and founders Addison and Randolph Clark) College of Liberal Arts to an

“interdisciplinary unit.” Included in this “interdisciplinary unit” are programs such as Women and

Gender Studies, Ranch Management, as well as FrogFolio and the Idea Factory, all programs




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which, upon information and belief, rank low in priority at TCU. 114 This smacks of TCU’s 1971

play in creating a Black Studies minor—a promise which evaporated. One African American and

CRES major puts it best, “[f]or them to go move us, from AddRan, which is an established,

credible college within TCU, to move [CRES] into this new interdisciplinary unit, whatever

that is, is like a slap in the face.”115 TCU cannot seriously contend that it had any true intentions

of following through with the representations it made in response to student protests, which it used

to advertise and market to racial minorities and women, including Jane Doe Nos. 1, 2, 3, 4 and 5.

         IX.     TCU’s historical and present deliberate indifference to the discriminatory
                 treatment of racial minorities and women and its discriminatory practices in
                 handling reports of the same constitute a policy of intentional discrimination
                 that deprives racial minorities and women of the educational opportunities
                 and benefits of TCU and substantially increases the risk of racial minorities
                 and women being subjected to discriminatory treatment.

        59.      Predictably, nothing has changed at TCU. Racism, hate, and bigotry remain

fixtures of TCU and pervade every orifice of its existence. Indeed, recently TCU held “student

listening sessions” in response to the filing of this lawsuit. Several hundred students attended one

such session on January 28, 2020, where “students of color and marginalized groups spoke about

the hostility and hatred they experience on campus.”116 “Many of the students who spoke…painted

a bleak picture of life at TCU.”117 One student, an African-American woman, recounted that—

just like racial minorities of TCU’s past—“she had never been called the N-word until arriving at

TCU; others spoke of having their presence in the classroom questioned by faculty,” 118 among




114
    Elizabeth Campbell, CRES Negotiates Move to Interdisciplinary Unit Amid Student Resistance, TCU 360 (May
2, 2018), https://www.tcu360.com/2018/05/cres-negotiates-move-to-interdisciplinary-unit-amid-student-resistance/.
115
    Id.
116
    Alexandra Lang, Listening Sessions Follow Filing of Lawsuit, TCU 360 (Jan. 29, 2020),
https://www.tcu360.com/2020/01/listening-sessions-follow-filing-of-lawsuit/.
117
    Id.
118
    Id.


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other discriminatory incidents. “Some suggested the session itself was traumatizing, as students

were being asked to share painful experiences.” 119

        60.     In response, Provost Dahlberg admitted that “it is clear [TCU] ha[s] work to do.”120

Chancellor Boschini responded by sending a letter to the TCU Community on January 31, 2020

admitting that “there is a clear gap between [TCU’s] intentions, [TCU’s] actions and what

underrepresented and underserved members of [TCU’] community experience.” 121                        But the

historical record is clear that TCU’s historical and present deliberate indifference to the

discriminatory treatment of racial minorities and women and its discriminatory practices in

handling reports of the same constitute a policy of intentional discrimination that deprives racial

minorities and women of the educational opportunities and benefits of TCU and substantially

increases the risk of racial minorities and women being subjected to discriminatory treatment.

        61.     Unsatisfied with Chancellor Boschini’s response a “student-led initiative

advocating for the needs of historically marginalized students” named Coalition for University

Justice and Equity (“CUJE”) was formed at TCU to call for change and “tell stories of racism and

discrimination on campus to ‘expose the truth behind the billboards.’” 122

        62.     On February 4, 2020, CUJE published a letter to Chancellor Boschini, Provost

Dahlberg and TCU demanding among other things, (1) “the immediate termination of Dr. []

Snow”; (2) “the immediate demotion and replacement of Dr. Darron Turner”; (3) “the immediate

investigation and removal of Drs.          [] Mack, [] Garnett, and [] Gooding”; and (4) “that a

multicultural center be built and named after Fred Rouse an African American, “to commemorate


119
    Id.
120
    Id.
121
    Robbie Vaglio, Honors Student Says Washington D.C. Trip Was Miserable; Chancellor Calls for Faculty
Training, TCU 360 (Feb. 3, 2020), https://www.tcu360.com/2020/02/honors-student-says-washington-d-c-trip-was-
miserable-chancellor-calls-for-faculty-training/.
122
    Drew Mitchell, Student Coalition Works to Implement Change at TCU, TCU 360 (Feb. 10, 2020),
https://www.tcu360.com/2020/02/student-coalition-works-to-implement-change-at-tcu/.


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his life and publicly acknowledge the violent lynching in which TCU faculty and students

partook and supported in 1921”123 and demanding a public response from TCU by February 12,

2020. CUJE simultaneously launched a Change.org petition, which has now garnered signatures

from over 700 supporters, many of whom shared their own experiences of discriminatory treatment

at the hands of TCU on a popular social change platform. 124 CUJE also sparked a Twitter

campaign that went viral as several hundreds of students shared their encounters with bigotry and

discrimination at the hands of TCU “to counter and challenge the false narratives around student

experiences portrayed by TCU’s marketing” using the hashtag #TellOnTcu 125 and protests on

campus. To date, TCU has not publicly responded to CUJE or its demands.

        63.      On February 12, 2020 several TCU faculty also issued a letter to TCU recognizing

that “the unaddressed transgressions of TCU’s past have led to this painful present” 126 and

affirming “that students of color and students of other marginalized backgrounds HAVE and

ARE being underserved and undervalued at TCU”127 and assuring students that “[i]t is not just

in [their] head.” Importantly, the faculty members also admitted that they, “too, are devastated

by [racial minorities and women’s] isolation, lack of social and literal physical space, and the

infuriating stories [racial minorities and women] have shared with [faculty] during [] office

hours and in passing about what [racial minorities and women] experience in the dorms, in

class, and while trying to obtain services on campus.”128 The faculty admitted that they were


123
    Demands., CENTER FOR UNIVERSITY JUSTICE AND EQUITY, https://cujenow.weebly.com/demands.html (last
visited Apr. 11, 2020); see also Mitchell, supra.
124
    Reasons for Signing - to Hold TCU Accountable to Its Commitment Diversity, Equity, & Inclusion, CHANGE.ORG,
https://www.change.org/p/texas-christian-university-administrators-and-board-of-trustees-to-hold-the-university-
accountable-to-its-commitment-to-diversity-equity-inclusion/c (last visited Apr. 11, 2020).
125
    TWITTER (Feb. 6, 2020, 9:00 PM), https://twitter.com/cujenow/status/1225615199748739072.
126
    Call to Action: Stand with TCU Students, Faculty, and Staff of Color, G OOGLE DOCS,
https://docs.google.com/forms/d/e/1FAIpQLSd6tiSAmjE0oMT0v6Ly3KAA4Szhyp4SbQhOGXSFGf0HmWPxjw/v
iewform (last visited Apr. 11, 2020).
127
    Id.
128
    Id.


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“in awe of [racial minorities and women’s] resilience that [they] wish [racial minorities and

women] did not have to have in the face of routine micro- and macroaggressions on campus;

reinforced white supremacist frameworks that [racial minorities and women] experience

daily at the hands of [TCU] professors and peers.”129 Over 100 TCU faculty and 100 TCU

students signed the letter, which enclosed its own demands aimed at providing equity to racial

minority and women faculty.130 To date, TCU has not publicly responded to the aforementioned

faculty letter or its demands.

          X.     In every decade since its founding, there has been clear evidence of the
                 pervasiveness of TCU’s hatred of racial minorities and women.

        64.      In every decade since its founding, there has been clear evidence of the

pervasiveness of TCU’s hatred of racial minorities and women. Even TCU star athletes are not

exempt from the psychological and physiological manifestations of hate toward racial minorities

and women on campus. Recently, former TCU wide-receiver Kolby Listenbee, an African

American, filed suit against TCU for, among other things, the harassment and humiliation he faced

after an on-the-field injury.131 Listenbee was publicly ridiculed and humiliated by TCU athletic

staff who made him switch seats and sit in the back of the plane rather than with his fellow starting

seniors in first-class and was told that he would not only be dismissed from the TCU football team,

but also from TCU itself if TCU were to lose a football game during his injuries. 132 TCU even

suggested he may be lying or “faking it.” 133 We now know (as we have always known) that

Listenbee, like other racial minorities and women at TCU, are not lying or faking it. The hatred



129
    Id.
130
    Id.
131
    Micheal McCann, Breaking Down Kolby Listenbee’s Lawsuit Against TCU, Gary Patterson and the Big 12,
SPORTS ILLUSTRATED (Feb. 1, 2018), https://www.si.com/college/2018/02/02/kolby-listenbee-lawsuit-tcu-gary-
patterson-legal-analysis.
132
    Id.
133
    Id.


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racial minorities and women endure and the harm that results are very real as emphasized by Jane

Does Nos. 1, 2, 3, 4 and 5’s experience made the basis of this lawsuit.

       XI.     TCU’s legacy of hatred assails the humanity of racial minorities and women,
               like Jane Does Nos. 1, 2, 3, 4 and 5.

       65.     Jane Doe No. 1 is a twenty-year-old African-American young woman and award-

winning honors student at TCU. As the daughter of two veteran United States military officers,

hard work, perseverance, truth and justice are a part of Jane Doe No. 1’s DNA.

       66.     Before attending TCU, Jane Doe No. 1 excelled academically while being a star

high school and collegiate athlete. While still in high school Jane Doe No. 1 pursued a rigorous

academic program, which included completing college level courses and earning dual credits at

her local community college while participating actively in social organizations and athletics.

Upon graduation from high school Jane Doe No. 1 was offered and accepted a scholarship to a

university several hundred miles from home. By all accounts, prior to her experiences at TCU,

Jane Doe No. 1 was a confident, warm, inviting, and spirited young woman who took great pride

in herself, her work and her academic abilities and had no preexisting psychological malady.

       67.     At her initial university Jane Doe No. 1 excelled academically and athletically. As

she became more immersed in her academic courses, Jane Doe No. 1 decided she no longer wanted

to remain a college athlete. Instead, she desired an academic experience that would offer an

intellectual challenge within a balanced and welcoming community. In the Fall of 2017 Jane Doe

No. 1 began searching for a competitive university to which she could transfer to prepare her for

a rigorous graduate study program—a goal complicated by acts and omissions of TCU.

       68.     Jane Doe No. 1’s search led her to TCU. Jane Doe No. 1’s research included her

review of TCU’s website and marketing materials, specifically, the representations made via

TCU’s website about its elaborate DEI initiatives and accompanying incentives. Jane Doe No. 1



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applied to TCU believing it offered an egalitarian experience for all students. Through its DEI

program, TCU promoted itself as an institution committed to fostering a campus culture that fully

supports cultural exchange and diversity.134 The DEI strategic plan itself touts that its objective

is to attract, teach, reach, and embrace “under-represented students, especially students of

color,” like Jane Doe No. 1.135 TCU’s effective marketing, including its DEI initiative did attract

Jane Doe No. 1 and undoubtedly countless other racial minorities and women. As Jane Doe No. 1

would learn soon after her enrollment, however, TCU’s promises were gross misrepresentations.

Indeed, Jane Doe No. 1 has experienced none of the core values TCU publicly expressed. Instead,

Jane Doe No. 1’s collegiate experience has been engulfed by TCU’s legacy of bigotry and hatred

and marred by a series of hateful and discriminatory acts perpetrated by TCU for over a century

and designed to relegate Jane Doe No. 1 and other racial minorities and women to the status of

second-class citizen.

           XII.      TCU continues to endorse relegating racial minorities and women to the status
                     of second-class citizen in its housing practices.

            69.      Jane Doe No. 1’s first experience when she arrived on campus on January 15, 2018,

was that her original roommate—a young white woman—had taken all available closet, desk and

common space in the room to herself and relegated Jane Doe No. 1 and all of her belongings solely

to a bed in the corner. Jane Doe No. 1 asked her new roommate to remove her belongings from

Jane Doe No. 1’s closet and make space in shared portions of the room, but her roommate refused.

When Jane Doe No. 1 complained to TCU that her white roommate had commandeered the entire

room, including the closet, desk and lounge space intended for a second roommate; leaving Jane

Doe No. 1 with only a place to lay her head, TCU responded, “what’s wrong with that” and



134
       Strategic Plan, TCU, https://inclusion.tcu.edu/about/strategic-plan/ (last visited Dec. 16, 2019).
135
      Id. (emphasis added).


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questioned if Jane Doe No. 1 really “had that much stuff.” Jane Doe No. 1 was shocked by this

response and demanded that she be moved to a room where she would not be bullied into sharing

the bed with her belongings. TCU begrudgingly complied. True to form, despite having a student

population of approximately over 70 percent whites, Jane Doe No. 1 was moved to a room with

another racial minority. Ironically, this incident occurred exactly three years before the original

filing date of this lawsuit and on Martin Luther King Jr.’s birthday.

      XIII.    Racial minorities and women, like Jane Doe No. 1, are admitted but not equal
               at TCU.

       70.     Before transferring to TCU Jane Doe No. 1 had maintained a 4.0 GPA and met

other transfer student requirements. Accordingly, she was eligible for a merit-based transfer

scholarship, which TCU notified Jane Doe No. 1 that she had been awarded in January of 2018.

Though already enticed to enroll at TCU by the numerous misrepresentations made about its

legacy, present campus culture and environment, the award of the transfer scholarship cemented

Jane Doe No. 1’s belief that TCU was the place to pursue her academic and professional goals.

Because TCU’s tuition and living costs are exorbitant—yet another barrier for racial minorities

and women— the merit-based transfer scholarship would cover a substantial amount of the fees

and costs associated with attending TCU and increased Jane Doe No. 1’s excitement about her

pending transfer.

       71.     Unfortunately, Jane Doe No. 1’s excitement would be short-lived. After Jane Doe

No. 1 began her classes, TCU, without explanation, revoked Jane Doe No. 1’s merit-based transfer

scholarship. TCU’s stated excuse was that at the time of application, Jane Doe No. 1 failed to

meet the merit-based requirements. By way of explanation TCU furnished, via email, the revised

requirements to Jane Doe No. 1 that differed from the requirements published on TCU’s




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website.136 Nonetheless, Jane Doe No. 1 clearly exceeded the requirements for consideration for

a merit-based transfer scholarship both at the time of her application (as evidenced by her initial

award) and at the time of the revocation of her scholarship award. To date, Jane Doe No. 1 has

received no clear answer as to why the merit-based transfer scholarship awarded to her was

revoked.

        72.      When her scholarship was revoked Jane Doe No. 1 was already attending classes

at TCU. Faced with the burden of paying for TCU without assistance, Jane Doe No. 1 was forced

to apply her parents’ G.I. Bill benefits (the military educational benefits her parents earned for

their honorable service as United States military officers) to pay her TCU expenses. Jane Doe

No. 1 intended to utilize the G.I. Bill for her graduate studies but because TCU reneged on

its merit-based transfer scholarship, Jane Doe No. 1 will no longer be able to apply this

benefit to pursue her planned professional education. This was just the beginning of the many

hateful experiences of TCU’s legacy and enduring culture of bigotry and racism that Jane Doe No.

1 would experience.

        73.      Despite TCU’s apparent lack of concern for, and response to Jane Doe No. 1’s

initial dorm experience and the revocation of her scholarship, Jane Doe No. 1 remained undeterred.

In pursuit of the academic rigor and social environment promised by TCU, Jane Doe No. 1 applied

to TCU’s John V. Roach Honors College (the “Honors College”) during her first semester. Jane

Doe No. 1 was notified that TCU’s policy, in relevant part (which is stated on its website) was that

transfer students must have a minimum of 12 graded hours at TCU before admission to the Honors

College. Specifically, during a phone call with Renda Williams, the Honors College’s academic

program specialist, Jane Doe No. 1 was informed that though she had the requisite GPA, she did


136
   Transfer Academic Scholarships, TCU, https://financialaid.tcu.edu/types-of-aid/scholarships/transfer-academic-
scholarships.php (last visited Dec. 16, 2019).


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not meet the graded hours requirement and therefore would not be admitted that semester.

Accordingly, Jane Doe No. 1 was made to wait an additional semester before admission to the

Honors College. The following semester, having maintained a stellar academic record, Jane Doe

No. 1 was admitted to the Honors College. To Jane Doe No. 1’s surprise she learned from

classmates and faculty that the Honor’s College had admitted, and continues to admit, white

transfer students who failed to meet the minimum 12 graded hours at TCU requirement. According

to Jane Doe No. 1’s Honors College professor, TCU’s Honors College’s actual transfer student

admissions practices during the time of Jane Doe No. 1’s enrollment at TCU violates its published

policy and imposes unnecessary barriers on racial minorities and women (more specifically,

African Americans) designed to prevent or limit their enrollment.

       74.    For Jane Doe No. 1 it began to sink in that at TCU “you are judged by what you

look like and not who you are.”       Nevertheless, Jane Doe No. 1 searched for and seized

opportunities to be more involved in mainstream college life at TCU.

      XIV.    When racial minorities and women decide to become an integral part of TCU,
              racism rears its head.

       75.    In the Spring of 2018, Jane Doe No. 1 tried-out for and was selected to join TCU’s

Moot Court team. Jane Doe No. 1 was excited at the opportunity to represent TCU in inter-

collegiate competitions through the Texas Undergraduate Moot Court Association. As a high

school and collegiate athlete, Jane Doe No. 1 is experienced in working and training in diverse

team settings and knows that equitable coaching and mentorship are required to ensure that each

team member is competitive. Based upon her prior experiences outside of TCU, Jane Doe No. 1

believed that she would receive equal training, development and access to Moot Court coaching

faculty and staff. Jane Doe No. 1, like many other racial minorities and women, had never

experienced the brand of bigotry that permeates TCU before her arrival on campus and could not



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have imagined the disparate treatment she would be subjected to on TCU’s Moot Court team. As

her reward for attempting to represent TCU as an oral advocate, TCU’s Moot Court coach Dr.

Samuel Arnold paired Jane Doe No. 1 with the only other racial minority and segregated the two

young women from the rest of the team. Jane Doe No. 1 and her teammate were never given the

same attention as their white counterparts and were regularly excluded from and denied the full

benefits of training by their Moot Court coach, Dr. Arnold. In fact, Dr. Arnold regularly provided

active, detailed and individualized coaching to the white members of the Moot Court team while

ignoring Jane Doe No. 1 and her teammate altogether. When Jane Doe No. 1 and her teammate

made several requests to meet with Dr. Arnold to review their arguments, he refused but regularly

honored the requests of TCU’s white Moot Court team members. At competitions, Dr. Arnold

would attend the oral arguments of TCU’s white Moot Court team members to offer coaching and

support and to generally cheer them on. During Jane Doe No. 1 and her teammate’s oral

arguments, however, Dr. Arnold would not even bother to show up. On one occasion, Jane Doe

No. 1’s mother attended a Moot Court competition to support Jane Doe No. 1 and her teammate

and observed the disparate and isolating treatment they were subjected to and total lack of support

they received, including Dr. Arnold totally ignoring the two racial minority women. When Jane

Doe No. 1’s mother asked Dr. Arnold if he intended to stay for Jane Doe No. 1 and her teammate’s

argument to support them and help them as he had just done for TCU’s white Moot Court team

members, Dr. Arnold replied, “No, you are here. You can cheer them on.”

           76.     For Jane Doe No. 1 this experience with TCU’s mainstream “brought it home” just

as it did for Ronnie Hurdle in 1969.137 As Hurdle stated of racial minority participation in TCU’s

mainstream culture and as Jane Doe No. 1 had experienced, “when [racial-minorities] decided to



137
      Yvonne Webb, Editorial, Racism Not New at TCU, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.


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become an integral part of the system, that's when it (racism) reared its head.” 138 This would be

but one of many times racism reared its head and Jane Doe No. 1 was segregated at TCU and

treated disparately from her similarly-situated white colleagues.

            XV.   TCU isolates, discriminates and retaliates against racial minorities and
                  women, like Jane Doe No. 1, in its employment practices.

            77.   Soon after her admission into the Honors College Jane Doe No. 1 was offered and

accepted a job in the Honors College as a desk assistant making $7.50 per hour. This job was not

a federal work study position but rather a TCU support staff position. Much like her other campus

experiences, Jane Doe No. 1 was the only African-American student worker in the Honors College

office. As the only African-American employee in the office, Jane Doe No. 1 quickly realized the

glaring differences from the treatment she received and the treatment of her white counterparts.

            78.   Jane Doe No. 1 was conveniently scheduled to work during Honors College tours

and instructed to sit at or near the reception desk so that she would be visible to prospective

students’ and their families. Once the tour concluded (even if it concluded while Jane Doe No. 1

still had hours left to work) Jane Doe No. 1 would be dismissed from her job for the day. Jane

Doe No. 1’s white counterparts were not scheduled during tours, nor were their hours cut in the

same manner as Jane Doe No. 1’s. In fact, even when Jane Doe No. 1’s white counterparts arrived

early or otherwise during Jane Doe No. 1’s scheduled work hours, the Honors College regularly

forced Jane Doe No. 1 to end her shift and leave—so long as a tour was not scheduled—resulting

in Jane Doe No. 1 receiving shamefully fewer hours than her white counterparts. Though not her

expectations, Jane Doe No. 1 regularly only worked three hours per week while her white

counterparts regularly worked 15 hours per week.




138
      Id.


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       79.     When Jane Doe No. 1 was not serving as the Honors College showpiece during

tours she was regularly scheduled to work after the conclusion of Honors College events. This

meant that when Jane Doe No. 1 arrived, she was expected to clean up after Honors College staff,

including in some instances her own fellow student counterparts. In one incident, after Spring

2019 graduation when Jane Doe No. 1 was not even scheduled to work, the Honors College called

Jane Doe No. 1 into work to break down tables and tents and perform other manual labor while

Jane Doe No. 1’s counterparts were assigned to hand out programs. Again, Jane Doe No. 1 was

the only African-American student worker in the Honors College. Jane Doe No. 1 refused the

manual labor. Such treatment and conduct persisted while Jane Doe No. 1 worked in the Honors

College, further continuing a culture that marginalizes and discriminates against racial minorities.

       80.     TCU would later utilize its authority over Jane Doe No. 1 as an employee of the

Honors College, among other things, to retaliate against Jane Doe No. 1 for filing formal

complaints of discrimination and hostile treatment based upon her interactions with TCU faculty

and staff during a month-long summer course in Washington, D.C.—the crescendo of multiple

hateful encounters Jane Doe No. 1 would experience at the hands of the Honors College.

Specifically, on August 16, 2019, after conducting her first video interview with TCU’s Title

IX coordinator Jane Doe No. 1 was informed by Renda Williams, the Honors College

academic specialist, that Jane Doe No. 1’s work hours had been reduced from the already

low average three hours per week, to one hour per week.

       81.     The Honors College was not finished. Jane Doe No. 1 would later learn that while

she was being paid $7.50 per hour, her white counterparts were being paid $9.50 per hour.

       82.     On Friday August 23, 2019, Jane Doe No. 1 was offered a “raise” of $2.00 per hour

for the new academic year by the Honors College. Jane Doe No. 1 shared the good news that she




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was now making $9.50 per hour to her counterparts, who revealed to Jane Doe No. 1 that they had

been making $9.50 per hour all along, including the prior year when Jane Doe No. 1 was earning

$7.50 but supposedly hired to perform identical duties to her white Counterparts. Again, at the

time Jane Doe No. 1 was the only African-American student worker in the Honors College.

Tellingly, Jane Doe No. 1 received news of this “raise” only after she submitted a formal statement

and complaint to Title IX and the Campus Life Dean’s Office.

       83.     Jane Doe No. 1 had initially wondered why the Honors College offered her a job,

for which she did not apply, however, it became clear that she was not an employee but rather a

token. Sadly, this would not be the only time Jane Doe No. 1 was used as window-dressing for

TCU’s fraudulent misrepresentation of its commitment to diversity. TCU’s treatment of Jane Doe

No. 1 as an employee of the Honors College continued to deteriorate as the summer ended and the

fall semester began.

      XVI.     TCU endorses a separate and unequal method of educating racial minorities
               and women, like Jane Doe No. 1.

       84.     In the Fall of 2018 Jane Doe No. 1 enrolled in Introduction to Political Theory to

fulfill the requirements of the Honors College. Given TCU’s abysmally low enrollment of racial

minorities and women, it was not uncommon for Jane Doe No. 1 to be the only racial minority in

a course, and particularly a course that satisfies Honors College requirements. It is also not

uncommon for TCU to promote an environment and culture that constructively segregates racial

minorities from their white counterparts in the classroom. On her very first day of class Jane Doe

No. 1—like racial minorities of TCU’s past—observed that when she sat down next to white

students, they moved with a quickness as if she had bitten them.   As instruction began Jane Doe

No. 1 soon realized that she was isolated and alone sitting across the room from her white

classmates who refused to interact with her. Jane Doe No. 1 thought that her professor, Dr.



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Arnold—the aforementioned Coach of TCU’s Moot Court team—would redistribute seating

arrangements to provide all students an egalitarian learning environment. Jane Doe No. 1

overestimated TCU’s capacity for fair treatment of racial minorities and women.

       85.     Dr. Arnold made no such adjustments or corrections to the seating arrangement of

his classroom and instead would confirm and promote Jane Doe No. 1’s segregation and isolation

through his acts and omissions during the course. In fact, just as he had done during Jane Doe No.

1’s time on TCU’s Moot Court team, Dr. Arnold again ignored Jane Doe No. 1 altogether. During

course instruction, Dr. Arnold only faced the direction of, and spoke to the white students enrolled

in the course—leaving Jane Doe No. 1 to absorb instruction from the atmosphere. Dr. Arnold also

facilitated course discussions designed to humiliate and demean Jane Doe No. 1 and other racial

minorities and women. In one incident, during a class discussion a white student turned to

Jane Doe No. 1—on the other side of the room—and stated, “all black people are on welfare”

and several other ignorant and baseless comments. Though one would think a recipient of a

Ph.D. in Politics from Princeton should know not only of the falsity of such statements, but also

of his obligation as a professor to correct such baseless and racist ideologies, Dr. Arnold did

nothing. When Jane Doe No. 1 confronted Dr. Arnold about the insensitivity and incorrectness of

her white colleagues’ racist remarks and how isolated they made her feel, he responded with

deliberate indifference; stating that he “didn’t think anything was wrong” with the comments and

questioned why Jane Doe No. 1, “was making a big deal” of the incident.

       86.     Unsatisfied with Dr. Arnold’s response, Jane Doe No. 1 visited her Honors College

academic advisor Donna Schonerstedt to report the incident.            Rather than focus on the

inappropriateness of Dr. Arnold’s conduct in isolating and humiliating Jane Doe No. 1, Ms.

Schonerstedt also acted with deliberate indifference and suggested that Jane Doe No. 1 “maybe




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should just switch classes” or file a formal complaint. On a campus as racist and bigoted as

TCU, the suggestion that Jane Doe No. 1 could avoid TCU’s brackish treatment by switching

classes is incredible. At this point Jane Doe No. 1 questioned “how can [she] succeed (in this

environment) when [she] ha[s] to deal with academic pressure, social pressures and racism?” 139

Ultimately, Jane Doe No. 1, exhausted by the insults and derogatory treatment she endured and

believing she was left with no other option, withdrew from Dr. Arnold’s course.

           87.      Jane Doe No. 1 was also subjected to hostile treatment from Honors College

administration, including chiefly Dr. Diane Snow, Dean of the Honors College, multiple times

during Jane Doe No. 1’s academic pursuits at TCU. In the Spring of 2019, Jane Doe No. 1 enrolled

in another course to fulfill the requirements of the Honors College: Engaging Difference and

Diversity; a course designed for the newly minted CRES department.                           Part of the course

requirement was a group research projected related to diversity in the Honors College. Jane Doe

No. 1’s group decided to examine TCU’s efforts to address deficiencies in minority enrollment in

the Honors College. According to the Honors College, it had adopted a holistic admissions

process, which as of Fall 2019 “considers not only standard indicators, e.g. test scores, GPA, and

rigor of high school curriculum, but also broad evidence of curiosity, motivation, fairmindedness,

and creativity through additional essays.” 140 Jane Doe No. 1’s group would gather data relating to

current diversity enrollment in the Honors College as well as interview key individuals in the

Honors College administration to determine the method and application of the new purportedly

holistic admissions criteria. Jane Doe No. 1’s group research project topic was presented and

approved by the course professor, but when Jane Doe No. 1’s group contacted the Honors College

in attempts to obtain data they were met with aggression and hostility from Dr. Snow. Specifically,


139
      Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
140
      Diversity & Inclusion, TCU, https://honors.tcu.edu/about/diversity-inclusion/ (last visited Dec. 16, 2019).


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when Jane Doe No. 1 and her group members—all racial minorities—contacted the Honors college

to ask if they could conduct interviews with certain staff members for their research project, Dr.

Snow personally emailed the group lambasting them and telling the students (who had never

formally met her before) that she “didn’t appreciate them emailing her staff without her

knowledge,” warning them not to attempt to contact her staff directly and that “everything goes

through [her].” Jane Doe No. 1’s group was puzzled by the hostility of Dr. Snow’s response, but

because they needed to complete their group project, they worked to obtain data and schedule

interviews with key Honors College staff.

       88.     When Jane Doe No. 1’s group was finally authorized to speak with Honors College

staff for their research assignment Dr. Snow’s hostile temperament towards racial minorities and

women surfaced again. Jane Doe No. 1’s group scheduled an interview session with the Honors

College’s all white “Diversity Board”—made up of all white TCU staff, including Dr. Snow—and

the Diversity Board proceeded to monopolize the conversation nearly the entirety of the session

only leaving Jane Doe No. 1’s group time to ask no more than four questions relevant to their

extensive honors level research project. When the students began to ask their questions, Dr. Snow

became visibly more and more upset. After the group’s fourth question, Dr. Snow abruptly and

aggressively cut the interview short and then demanded that Jane Doe No. 1 send her the entirety

of the research project once completed. Dr. Snow also warned Jane Doe No. 1’s group that she

would attend their presentation in an apparent act of intimidation. Once the project was completed,

Dr. Snow aggressively approached Jane Doe No. 1 demanding a copy of the final project. Jane

Doe No. 1 informed Dr. Snow that it was her understanding that because the assignment was a

group project, she could not share her group members’ work without their permission. Still, Jane

Doe No. 1 sent Dr. Snow a summary of the project, conclusions and recommendations including




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the bulk of her contributions to the same. Dr. Snow was unsatisfied and would later continue to

harass Jane Doe No. 1 about the group project before totally dehumanizing Jane Doe No. 1 over

the course of four weeks during a TCU sanctioned Honors College trip to Washington, D.C. 141

Curiously, Dr. Snow did not ask Jane Doe No. 1’s professor, Snow’s subordinate, for a copy of

the research project or consult with her over any concerns she had regarding the same. Only Dr.

Snow knows why these racial minorities’ inquiries regarding the Honors College’s diversity efforts

offended her so. Dr. Snow’s rank hostility toward and disparate treatment of Jane Doe No. 1,

however, would later confirm that Dr. Snow’s actions were driven by racial animosity and bigotry.

      XVII.      TCU denies racial minorities and women, like Jane Doe No. 1, the right to
                 happiness and freedom on campus and beyond.

        89.      Indeed, Dr. Snow and Honors College faculty and staff terrorized and dehumanized

Jane Doe No. 1 through the entirety of an academic trip the following summer; placing Jane Doe

No. 1’s health and welfare in jeopardy and constructively denying her rights to happiness and

freedom.

        90.      In the Fall of 2018, Jane Doe No. 1 applied for “Honors Explorations” the Honors

College’s summer study “abroad” program. That year TCU’s Honors Explorations program had

three one-month summer destinations for Honors College students to choose from: (1) “Cultural

Routes,” which toured Germany, Switzerland and Italy; (2) “Disaster, Recovery, [sic] & Renewal:

Lessons from Japan,” which toured various cities across Japan; and (3) “How Washington, D.C.

Works,” which was not at all a summer abroad, but rather a trip to the nation’s capital and for TCU

an apparent opportunity to further fraudulently promote itself as an institution concerned with

and/or committed to diversity.



141
   It is against Honors College practice for the Dean of the Honors College to demand to personally review
individual student’s course work prior to and following the completion of the same.


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       91.     Though Jane Doe No. 1 ranked the Washington domestic study program last, she

was assigned to attend. When Jane Doe No. 1 expressed her disappointment in her summer

assignment to Honors College staff, they offered no explanation as to how Jane Doe No. 1 was

selected for the domestic program despite having ranked it last. Jane Doe No. 1 declined the

Washington summer program.

       92.     In response the Honors College offered to pay for approximately 48 percent of Jane

Doe No. 1’s fee associated with the domestic program to entice Jane Doe No. 1 to go on the trip.

Jane Doe No. 1 accepted the Honors College’s offer and paid the remaining portion of the Honors

Explorations program fee. The Honors College would later hold the financial assistance they used

to entice Jane Doe No. 1 to attend the domestic program over Jane Doe No. 1’s head before and

during the trip; weaponizing the grant—among other threats—in order to restrict and exercise

control over Jane Doe No. 1. Jane Doe No. 1 would later learn that the Honors College made a

similar grant of financial assistance to another African-American Honors College student to entice

him to attend the domestic program, even though he had already completed the Japanese study

abroad program that summer. In line with TCU’s legacy of and present conscious contempt for

racial minorities, both of these Honors College students—the only African Americans in the

program—were segregated and dehumanized for the bulk of their domestic program experience.

Upon reliable information and belief, Jane Doe No. 1 and her African-American classmate were

forced to attend the “How Washington, D.C. Works,” domestic program so TCU and the Honors

College could hold themselves out as a diverse institution to the public and to third parties,

including the Osgood Center for International Studies and other reputable individuals and

institutions they encountered in Washington. Tellingly, the Honors College and Osgood Center




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staff followed the two African-American students around taking pictures of just the two of them

the entire trip; further tokenizing them.

       93.     Jane Doe No. 1, having received a grant from the Honors College, paid the

remaining program fee and began preparing to attend the Washington program. As part of her

preparation Jane Doe No. 1, a meticulous and detailed scholar, reviewed available program

materials including the course agenda and syllabus to ensure that she fully understood the

requirements of the program and her attendance. Upon review, Jane Doe No. 1 noted that a White

House visit was scheduled as a part of the program. Jane Doe No. 1 was concerned about this visit

given the many racist ideologies of the current President of the United States—ideologies provably

shared by TCU. So, prior to her departure for Washington Jane Doe No. 1 met with Dr. Snow

(who was also facilitating the Washington program) and shared with her those concerns. In

response, Dr. Snow called Jane Doe No. 1—the daughter of two veteran United States Military

officers—“unpatriotic;” told Jane Doe No. 1 that she should consider herself “lucky to go” on the

trip; threatened to make her repay the partial program fee grant the Honors College used to induce

Jane Doe No. 1 to attend; and threatened to dock Jane Doe No. 1’s grade points before the course

even began; a mantra Dr. Snow repeated and built upon in Washington to exert control over Jane

Doe No. 1.

       94.     Once in Washington, Jane Doe No. 1 learned TCU carried its legacy of bigotry and

racism beyond campus. When Jane Doe No. 1 arrived at her room for the summer at the Avenue

Suite’s Georgetown on July 7, 2019, Jane Doe No. 1—the only African American female in the

Washington program—was greeted as she had been before. Her two assigned roommates had

taken all available closet space and commandeered the two available beds in the room; relegating

Jane Doe No. 1, who is six feet tall and 180 pounds, to the sofa bed in the open area of the suite,




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with a small kitchenette. Hotel staff confirmed to Jane Doe No. 1 that the sofa beds in guestrooms

were not designed for adult or long-term use. When Jane Doe No. 1 asked her roommates to make

space for her in the closets the women refused and suggested that Jane Doe No. 1 purchase

containers to store her belongings for the duration of the trip.

           95.      When Jane Doe No. 1 told Dr. Fredrick Gooding (another Washington program

facilitator and Honors College professor) that she was being bullied into sharing the sofa bed with

her belongings, Dr. Gooding responded that the women would rotate beds and share space with

Jane Doe No. 1 during the program. Later that same week, on July 11, 2019, however, Dr. Snow

informed Jane Doe No. 1 that it was optional for Jane Doe No. 1’s roommates to rotate beds and

share closet space and confirmed that Jane Doe No. 1 was to be relegated to the sofa bed and

kitchenette combo for the entirety of the trip.

           96.      Unsurprisingly, the only two African Americans in the Washington program were

both made to sleep on sofa beds during the trip while their white counterparts were provided with

hotel quality queen beds. Both African-American students suffered physical harm associated with

long-term use of a sofa bed, however, “the psychological barriers facing [these] minority students

[were] as limiting and more painful.”142 TCU’s conduct left the African American students

knowing that “their life at the University [and university sanctioned programs] [was] generally

worse than the life of the average white student” 143 and openly relegated Jane Doe No. 1 and her

African-American colleague to second-class citizen status.

           97.      To make matters worse, Jane Doe No. 1’s roommates also regularly refused to grant

Jane Doe No. 1 access to the bathroom, located in the hotel suite, through the room with the double

queen beds. Jane Doe No. 1’s roommates regularly locked the door to their room, segregating


142
      Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
143
      Cindy Cook, Editorial, Black—White: Do Both Have Problems?, DAILY SKIFF (Fort Worth), Feb. 4, 1977, at 4.


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Jane Doe No. 1 to the sofa bed and kitchenette. This meant that Jane Doe No. 1 had no access to

a bathtub/shower or toilet at critical times. Jane Doe No. 1 was regularly forced to brush her teeth,

wash her face, and even groom herself in the kitchenette sink. When Jane Doe No. 1 had to use

the toilet, she was regularly made to do so in the hotel lobby restroom—seven floors below—

regardless of the hour.

       98.     Jane Doe No. 1 was so visibly in distress when having to journey from her hotel

room to the hotel lobby to relieve herself that hotel staff began to take notice. Indeed, Jane Doe

No. 1’s trips to the hotel lobby restroom were so frequent that it prompted hotel staff to contact

Jane Doe No. 1’s mother (whom they had met during the first week of the program) out of concern

that Jane Doe No. 1 was being abused on the trip.

       99.     When Jane Doe No. 1 complained to Honors College staff including Dr. Gooding

about the treatment from her roommates, true to form, Jane Doe No. 1’s sincere and legitimate

concerns were dismissed. Puzzlingly, Dr. Gooding even suggested that Jane Doe No. 1’s treatment

was her own fault. TCU did nothing to address Jane Doe No. 1’s concerns.

    XVIII.     TCU’s disdain for racial minorities and women, like Jane Doe No. 1, endangers
               their health and welfare.

       100.    TCU’s disregard for Jane Doe No. 1’s welfare during the domestic program did not

stop at the hotel. Though not disclosed in any of the provided materials, Jane Doe No. 1 was

regularly made to walk several miles in the heat of the day to and from various program activities.

It did not matter to TCU that the weather had reached the upper nineties causing a heat wave and

prompting heat advisories from the National Weather Service, including a “code orange” air




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quality alert,144 or that Washington has one of the more extensive public transportation systems in

the Country.

        101.     Within first few days of walking miles on end in the searing Washington summer

heat Jane Doe No. 1 began to develop sores and blisters on her feet. After a few more days of

rubbing against her shoes and socks, these sores and blisters would burst soaking Jane Doe No.

1’s feet in puss and blood and oozing through her socks. Dr. Gooding was informed early on about

Jane Doe No. 1’s worsening condition and he was even sent the following images of Jane Doe No.

1’s feet as evidence:




                                                              Figure 5. Right hallux blistered, swollen and
               Figure 4. Left hallux blistered and swollen.
                                                              oozing puss.




144
   Ian Livingston, PM Update: Excessive Heat Alert Extending Into Saturday as the Region Roasts Through the
Weekend, THE WASHINGTON POST (July 19, 2019), https://www.washingtonpost.com/weather/2019/07/19/pm-
update-excessive-heat-warning-extended-into-saturday-region-roasts-through-weekend/ (Code orange indicates air
quality that is unhealthy for sensitive groups.).


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          Figure 6. Left fourth phalanx blistered,                     Figure 7. Left fourth phalanx blister/sore
          swollen and full of puss and blood.                          ruptured.




           Figure 8. Left calcaneus blistered, swollen                Figure 9. Right calcaneus blistered, swollen
           and full of puss and blood.                                and full of puss and blood.




                Figure 10. Left hallux blister/sore ruptured.   Figure 11. Left plantar blistered and
                                                                swollen.




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       102.    Once again, rather than exercising his duty to Jane Doe No. 1 as an agent of TCU

and at the very least reporting Jane Doe No. 1’s condition to the appropriate personnel to provide

Jane Doe No. 1 with some guidance and/or relief, Dr. Gooding did nothing. Jane Doe No. 1 has

permanent scars and on-going pain resulting from the sores and blisters developed during the

Washington program. To add insult to injury, throughout Jane Doe No. 1’s podiatric health crisis,

Dr. Snow would not miss an opportunity to remind Jane Doe No. 1 that she was different from her

classmates and treat her with hostility and complete disdain.

       103.    On Thursday July 11, 2019, during a walking excursion the entire group (except

for the other African-American student in the program) left Jane Doe No. 1 when she began to

slow her pace due to the sores and blisters developing on her feet. When Dr. Snow noticed that

the other African-American student had stayed back to walk closely with Jane Doe No. 1 and

ensure that someone considered her welfare, Dr. Snow became unhinged. Dr. Snow hurried back

to the two African-American students and began to walk menacingly behind them; harassing Jane

Doe No. 1 for walking too slowly. Dr. Snow then aggressively shoved herself between the two

African Americans to break them up. But that was not enough, Dr. Snow again publicly assaulted

Jane Doe No. 1, this time aggressively placing her hand on Jane Doe No. 1’s back and driving her

to the front of her peers. Dr. Snow would assault Jane Doe No. 1 repeatedly throughout the trip;

each time intentionally making contact with Jane Doe No. 1’s person without Jane Doe No. 1’s

consent and causing injury to Jane Doe No. 1. Dr. Snow further knew that her contact with Jane

Doe No. 1 was unwelcomed and offensive and/or provocative and that Jane Doe No. 1 regarded it

as such.

       104.    That same day, Dr. Snow also publicly humiliated Jane Doe No. 1 by harassing

Jane Doe No. 1’s mother while at the hotel; indignantly and loudly asking “what [Jane Doe No.




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1’s mother] was doing there” and “how she could afford to be there?” Perhaps Dr. Snow, like the

students in Dr. Arnold’s class, truly believed that “all black people are on welfare.” In reality,

Jane Doe No. 1’s mother, like other TCU parents who visited Washington, had paid to come to

support her daughter.

       105.    The very next day, at the National Museum of African American History and

Culture (the “NMAAHC”), Dr. Snow targeted Jane Doe No. 1’s mother again; demanding to know

why she was there. At lunch, out of the blue, Drs. Snow and Gooding publicly announced to Jane

Doe No. 1’s mother that Honors College funds would not be used to pay for Jane Doe No. 1’s

mother’s meal, as though Jane Doe No. 1’s mother needed charity. She did not.

       106.    Disturbingly, at the NMAAHC Dr. Snow also felt compelled to laughingly remind

Jane Doe No. 1 alone, in front of her peers, that she could experience the feeling of being crowded

into a slave cargo ship by traveling just a brief elevator ride below. Jane Doe No. 1 and her mother

were shocked and puzzled by Dr. Snow’s conduct, particularly because other TCU parents were

present at the hotel and the NMAAHC. Dr. Snow welcomed and treated the other TCU (white)

parents with excitement, warmth and respect. Jane Doe No. 1’s mother was the only African-

American parent present at the hotel and the NMAAHC.

       107.    On Friday July 12, 2019, the students were again made to walk several miles. Jane

Doe No. 1 was bleeding through her socks and again slowed her pace. This time Dr. Snow targeted

Jane Doe No. 1’s sex, gender, physical appearance and weight. Rather than offer some respite to

Jane Doe No. 1, Dr. Snow mocked her in front of Jane Doe No. 1’s peers saying, “at least [Jane

Doe No. 1] would be used to walking” when the trip concluded and suggested that Jane Doe No.

1 go on a “low carb diet” and that all the walking would make Jane Doe No. 1 “much more healthier

[sic].” Throughout the trip, Dr. Snow would also regularly “save” Jane Doe No. 1 a seat next to




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her when the group would go eat, forcing Jane Doe No. 1 to sit next to Dr. Snow so that Dr. Snow

could monitor Jane Doe No. 1’s food consumption. If Jane Doe No. 1 hesitated or otherwise

indicated that she did not want to sit with Dr. Snow, Dr. Snow would begin banging on the

empty seat to hurry Jane Doe No. 1—like a dog—to her place at Dr. Snow’s side. While Jane

Doe No. 1 was eating Dr. Snow would stare at Jane Doe No. 1 intensely and with disgust. During

each of these incidents Jane Doe No. 1 was forced to sit in a designated area at Dr. Snow’s side,

while other students were free to sit wherever they pleased. By her conduct, Dr. Snow detained

Jane Doe No. 1 without justification and without Jane Doe No. 1’s consent each time she “saved”

Jane Doe No. 1 a seat.

          108.   Dr. Snow was relentless. On Tuesday July 16, 2019 Jane Doe No. 1 was visibly in

pain while walking and was also sweating profusely in the summer heat. Dr. Snow continued

publicly harassing Jane Doe No. 1 based upon her sex, gender and physical appearance by body

shaming and gibing her about her weight and sweating habits and stating (presumably because of

Jane Doe No. 1’s race, sex, physical appearance, weight, and height) that Jane Doe No. 1, who

was still a teenager at the time, looked like Dr. Gooding—an African-American man in his forties.

That same day, when the group arrived at Capitol Hill, Jane Doe No. 1 was exhausted from the

walk and still in pain from the broken sores and blisters on her feet. Out of nowhere, Dr. Snow

assaulted Jane Doe No. 1 for the third time; aggressively pushing Jane Doe No. 1’s back causing

Jane Doe No. 1 to stumble and driving her to the front of the group “so that [Jane Doe No. 1] could

see better.” At six feet Jane Doe No. 1 was one of the taller group members and had no difficulty

seeing.

          109.   The following morning, on Wednesday July 17, 2019, Jane Doe No. 1’s body began

to shut down as she was experiencing the worst pain she had encountered in her life due to the




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condition of her feet and her slow breathing resulting from the summer heatwave. Still bleeding

through her socks; Jane Doe No. 1 decided to plead with Dr. Snow for sympathy and reasonable

accommodations. Jane Doe No. 1 messaged Dr. Snow that morning but was ignored and received

no response. Jane Doe No. 1 then left her sofa bed to find Dr. Snow at the hotel. Once she located

Dr. Snow, Jane Doe No. 1 asked to speak with her privately. The conversation did not go well.

When Jane Doe No. 1 explained that she was in pain; Dr. Snow responded by questioning Jane

Doe No. 1 and asking why Jane Doe No. 1 had come to the domestic program if she knew she had

health issues. Apparently suggesting that because of her disabilities Jane Doe No. 1 should be

excluded or otherwise denied access to the TCU-sanctioned summer program. Dr. Snow then

questioned how Jane Doe No. 1, was capable of getting around TCU. When Jane Doe No. 1

explained that she didn’t walk several miles a day at TCU; Dr. Snow responded that Jane Doe No.

1 knew there would be walking. Despite the fact that this was untrue, Jane Doe No. 1 remained

focused on the issues and attempted to offer Dr. Snow images of the sores and blisters on her feet.

Dr. Snow responded by putting her hand up to interrupt Jane Doe No. 1, and blamed Jane Doe No.

1’s injuries on Jane Doe No. 1.

       110.    When Jane Doe No. 1 explained that the extreme summer heatwave was only

exacerbating the health complications that Jane Doe No. 1 was experiencing; Dr. Snow questioned

if Jane Doe No. 1 “now had a problem with the sun.” Jane Doe No. 1 is asthmatic, a fact well-

known to TCU and its agents as Jane Doe No. 1 had registered her condition with TCU’s

Student Disabilities Services since her enrollment at TCU. Moreover, Jane Doe No. 1 included

this information in the health conditions and medications questionnaire TCU required her to fill

out prior to her departure for the domestic program. When Jane Doe No. 1 again tried to refocus

the issues and plead for sympathy and reasonable accommodations from Dr. Snow by explaining




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that she was experiencing difficulty breathing in addition to the pain of her blistered feet; Dr. Snow

replied that “she wished she had a wand to wave and fix” Jane Doe No. 1. Dr. Snow did not need

a wand or to “fix” Jane Doe No. 1. Dr. Snow only needed to respond as a decent human being and

exercise her duty to Jane Doe No. 1, individually and as an agent of TCU and comport with TCU’s

legal obligation to provide reasonable accommodations to Jane Doe No. 1.

       111.    Jane Doe No. 1 wanted to leave the program due to the pain and hostile treatment

she was experiencing. When she mentioned wanting to leave on this and other occasions, Dr.

Snow reminded Jane Doe No. 1 that she was “lucky to go” on the trip; and threatened to (1) make

her repay the partial program fee used to induce Jane Doe No. 1 to attend; (2) revoke Jane Doe

No. 1’s credit for the course; and (3) kick Jane Doe No. 1 out of both the Honors College and TCU.

Dr. Snow would make good on at least one of her threats, which were designed to willfully detain

Jane Doe No. 1 in Washington, without justification and without Jane Doe No. 1’s consent. Even

now Dr. Snow is hard at work continuing a severe and pervasive pattern of hostile treatment of

Jane Doe No. 1 to bring life to her remaining threats in constructive, if not literal form.

       112.    Left without recourse in Washington, Jane Doe No. 1’s grievances were

forwarded to Dr. Karen Bell Morgan, TCU’s Associate Dean of Campus Life, on July 17,

2019. Ms. Morgan was also sent the pictures of Jane Doe No. 1’s sore and blistered feet, which

Ms. Morgan forwarded to TCU’s Health Center professionals. TCU Health Center professionals

confirmed that Jane Doe No. 1 should seek immediate medical evaluation of her feet.

       113.    By now, TCU was fully aware of Jane Doe No. 1’s declining physical condition,

but rather than work to ameliorate Jane Doe No. 1’s condition, TCU and its agents doubled down.

On Thursday July 18, Dr. Snow tasked Jane Doe No. 1 with being the group leader for the day.

This meant that Jane Doe No. 1 was to help provide other students with directions. When Jane




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Doe No. 1 (who was still in pain but aware that Dr. Snow would not let her leave Washington

without making good on the aforementioned threats) briefly struggled with directions, Dr. Snow,

in an act of petty aggression, mocked Jane Doe No. 1—publicly calling Jane Doe No. 1 a bad

leader and belittling her in front of her peers. Jane Doe No. 1 had reached her end, but with Dr.

Snow’s repeated threats in mind and determined not to quit, she pressed on. Wearied from

enduring miles of walking with sore and blistered feet while being demeaned along the voyage

and offered no reasonable accommodations, Jane Doe No. 1 began taking Lyft car service, at her

expense, when she could, and sacrificed receiving academic information and course participation.

Each time Jane Doe No. 1 took Lyft rather than walk on her blistered feet Dr. Snow would scowl

and shake her head with clear disgust for Jane Doe No. 1.

       114.   Dr. Snow’s disdain for Jane Doe No. 1 was no secret. In addition to the clear verbal

and nonverbal conduct Dr. Snow fashioned to harass Jane Doe No. 1, Dr. Snow openly revealed

to other students that she “hates [Jane Doe No. 1].” When Jane Doe No. 1 later confronted Dr.

Snow about whether she told other students she hated Jane Doe No. 1, Dr. Snow smugly laughed

in Jane Doe No. 1’s face before coldly and indirectly dismissing the claim. And why would Dr.

Snow do otherwise? Afterall, the answer to Jane Doe No. 1’s inquiry was obvious as the evidence

of Dr. Snow’s hatred for Jane Doe No. 1 is indisputable. Even still, Dr. Snow’s hatred for, and

reckless behavior toward Jane Doe No. 1 had not yet reached its lowest point.

       115.   On or about July 18, 2019 several students, including Jane Doe No. 1, began to

notice bed bugs, spiders and mites in their hotel rooms. When one of Jane Doe No. 1’s

colleagues—a white male—complained to Dr. Snow about the issue, Dr. Snow did not abruptly

place her hand up to interrupt him. Rather, Dr. Snow took seriously the white male student’s

concern and allowed the student to show her images of the bites on his arm and genuinely




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examined the same. Though Dr. Snow initially incorrectly diagnosed the white male student’s bed

bug bites as spider bites, once the hotel confirmed that there was a bed bug infestation, immediate

measures were taken to place the white male student in more suitable accommodations. The very

next day, on July 19, 2019 when Jane Doe No. 1 noticed spiders falling from her ceiling and bed

bugs and other mites in her hotel room, she too sought Dr. Snow’s aid. Unsurprisingly, Dr. Snow

could not be bothered with Jane Doe No. 1 or her welfare. Dr. Snow told Jane Doe No. 1 that

“bugs live inside too” and to “stop talking about it” and did not bother to examine Jane Doe No.

1’s pictures of the bug bites on Jane Doe No. 1’s legs:




                Figure 12. Left tibia covered in bug bites.   Figure 13. Right tibia covered in bug bites.




       116.    The bug situation in Jane Doe No. 1’s hotel room had gotten so bad that her

roommates vacated the room, but not before removing all of their belongs from the infected closets

and double queen bedroom and placing them in Jane Doe No. 1’s already cramped sofa

bed/kitchenette combo. Realizing once again that Dr. Snow would not help Jane Doe No. 1, Jane

Doe No. 1 herself pleaded with hotel staff, who provided Jane Doe No. 1 with bug spray. During


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the early morning hours of July 20, 2019, Jane Doe No. 1, shaken at the sight of bugs seemingly

emerging from every crevice, began fumigating her hotel room with the bug spray provided by the

hotel. The fumes from the bug spray triggered Jane Doe No. 1’s asthma (which was already

agitated by miles long journeys in the summer heatwave); swelling her airways and tightening the

muscles that surround them until Jane Doe No. 1 had an asthma attack. Jane Doe No. 1 tried to

reach Dr. Snow or other TCU personnel at the onset of her attack only to learn that no program

facilitator was present, and that, upon reliable information and belief, Dr. Snow had taken an

impromptu trip to New York for the weekend. Jane Doe No. 1, in tears and in the midst of an

asthma attack once again pleaded with hotel staff for help. The hotel staff—not TCU personnel—

stayed with Jane Doe No. 1 as she implemented the emergency action plan developed by Jane Doe

No. 1, her parents and her physician. At all relevant times TCU was aware of Jane Doe No. 1’s

condition and of her emergency action plan. No TCU personnel were present at the hotel or in

Washington at all during Jane Doe No. 1’s life-threatening asthmatic episode. 145 Hotel staff

communicated with Jane Doe No. 1’s mother yet again to inform her of Jane Doe No. 1’s condition

and state of her hotel room and Jane Doe No. 1’s mother booked and paid for a different hotel

room for Jane Doe No. 1. Jane Doe No. 1 received no assistance from TCU. To the contrary,

when Dr. Snow returned from New York to learn Jane Doe No. 1 had vacated her hotel room, she

told Jane Doe No. 1 that it was against TCU policy for her to book her own room. Ultimately,

Jane Doe No. 1 was forced to return to the bug infested suite; the very suite already vacated by

Jane Doe No. 1’s roommates.




145
    TCU program facilitators, namely Drs. Gooding and Snow regularly left the student’s unattended during late
night/early morning hours, and at times, for days during the four-week summer program. Further, Drs. Gooding and
Snow were regularly visibly intoxicated in the presence of the students and/or upon arrival back to the hotel at any
late night/ early morning hour as evidenced by hotel footage.


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      XIX.     TCU’s present conscious hatred of racial minorities and women, like Jane
               Does Nos. 1, 2, 3, 4 and 5, is insatiable and life-threatening.

       117.    The harrowing extent of Jane Doe No. 1’s ordeal during the first two-weeks of the

program left her bloodied and bowed. But TCU and its agents, chiefly Dr. Snow, would not rest

until Jane Doe No. 1 was completely broken. As the program entered its third week, Jane Doe No.

1 was still in pain from walking and being in the summer’s heat, but alas Jane Doe No. 1, had

something to look forward to. The coming Friday, July 26, 2019 would mark the end of Jane Doe

No. 1’s teenage years. Jane Doe No. 1 was excited about her twentieth birthday because when

another student celebrated his birthday during the program Dr. Snow spared no expense; treating

the entire group to a lavish dinner at an expensive restaurant and allowing the student to pick out

his own cake without budget limitations.

       118.    As Jane Doe No. 1’s birthday approached, however, Dr. Snow was mum. When

one of the program participants—another racial minority female student—realized that Dr. Snow

intended to ignore Jane Doe No. 1’s birthday completely, the student herself set out to plan a

surprise birthday dinner for Jane Doe No. 1 on Friday, July 26, 2019. Prior to making a reservation

for the planned surprise dinner for Jane Doe No. 1 earlier that week, her colleague checked the

group itinerary to ensure there would be no conflict and confirmed that none existed. When Dr.

Snow learned of the surprise birthday plans for Jane Doe No. 1 on that same Friday afternoon,

however, she hurriedly created an all-expense paid “family dinner” and added it to the itinerary

for Friday night in honor of Aaron Chimbel, a professor at St. Bonaventure University and Dean

of its Jandoli School of Communication. Dr. Snow knew her “family dinner” was in direct conflict

with Jane Doe No. 1’s surprise birthday plans. Dr. Snow’s discriminatory treatment of Jane Doe

No. 1 was so pervasive and so public that another student even confronted Dr. Snow. The student

indicated that she was aware that Dr. Snow and/or the Honors College had paid for another



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birthday dinner in addition to paying for another celebratory dinner for a different student on a

separate occasion during the program; that she had examined the itinerary to be sure that there

were no conflicts on Jane Doe No. 1’s birthday prior to making dinner reservations for the same;

asked Dr. Snow to reschedule the “family dinner”; and asked Dr. Snow to honor her and/or the

Honors College’s prior practice and pay for Jane Doe No. 1’s birthday dinner as well. Dr. Snow

refused to reschedule the last-minute family dinner and responded that Jane Doe No. 1’s birthday

dinner was “not optimal” and “definitely over budget” all while simultaneously inviting everyone

to attend the family dinner, for which the Honors College paid. Dr. Snow also suggested that Jane

Doe No. 1 accept being celebrated at the family dinner meant to honor Professor Chimbel or in the

alternative that Jane Doe No. 1 pick a desert that she liked for everyone to share at the hotel after

the family dinner. Dr. Snow then texted Jane Doe No. 1 (who was unaware of the planned dinner)

about the same, to be sure to ruin the surprise. Due to the confusion caused by Dr. Snow’s

deliberate efforts to create a conflict with Jane Doe No. 1’s planned surprise dinner, Jane Doe No.

1’s surprise dinner was ultimately cancelled.

       119.    When Jane Doe No. 1 learned of her surprise party and Dr. Snow’s deliberate

efforts to quash the same, Jane Doe No. 1 became deflated. To twist the knife, Dr. Snow returned

from the family dinner to the hotel visibly intoxicated, with a random cake with sparklers—

sparklers which Dr. Snow had removed from the cake and performed an erratic dance with. When

Jane Doe No. 1 (visibly distraught by the outcome of her birthday) tried to speak with Dr. Snow

about the incident, she was again dismissed by Dr. Snow and lushly told “everything worked out

the way it was supposed to” and that it was “no big deal.” It was a big deal!

       120.    That night—when Jane Doe No. 1 should have been celebrating her life—Jane Doe

No. 1 returned to her vacant hotel room in tears and considered suicide. Her birthday would now




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be a reminder of the unconscionable depravity to which Dr. Snow would stoop to harm her. But

make no mistake, Jane Doe No. 1’s hopelessness and life-threatening despair was not about an

expensive birthday dinner or a cake. It was about TCU’s public displays of hatred, bigotry and

racism toward Jane Doe No. 1 from the moment she had stepped on its campus. It was about Jane

Doe No. 1’s inescapable second-class status at TCU and TCU-sanctioned activities. It was about

Jane Doe No. 1’s revoked merit-based scholarship. It was about TCU endorsing Jane Doe No. 1’s

segregation in its dorms and at the hotel. It was about the hostility and isolation Jane Doe No. 1

experienced on TCU’s Moot Court team and throughout TCU. It was about the shame associated

with being made a token by TCU’s Honors College. It was about the ignorant, racist and isolating

ideologies TCU endorsed in Jane Doe No. 1’s classes. It was about the apparent lack of concern

for Jane Doe No. 1’s welfare exhibited by nearly everyone at TCU. It was about the fact that TCU

sexualized, body shamed, insulted and belittled Jane Doe No. 1 in front of her peers on a daily

basis. It was about Jane Doe No. 1 being summoned like a lap dog in front of her peers nearly

every time she ate. It was about Jane Doe No. 1 witnessing TCU publicly insult and belittle her

mother all while welcoming Jane Doe No. 1’s peer’s mother’s with open arms. It was about TCU’s

subtle reminder that in the span of a short elevator ride Jane Doe No. 1 could be transformed back

to human cargo. It was about the repeated assaults Jane Doe No. 1 endured at the hands of TCU.

It was about stepping over unimaginable pain each day to earn a credit only to have it ripped away

by TCU’s indefensible legacy and present conscious contempt of racial minorities and women. It

was about the shame Jane Doe No. 1 felt for believing TCU’s self-aggrandizing DEI campaign in

the first place. It was that on her twentieth birthday, because of TCU’s acts and omissions, Jane

Doe No. 1 could no longer recognize herself.




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        121.      Thank God that in the midst of Jane Doe No. 1’s sorrow and lamenting over who

she had become at TCU, she remembered who she was before arriving on TCU’s campus. Jane

Doe No. 1 mustered the strength and courage to call the National Suicide Prevention Lifeline for

the first time.

        122.      Thereafter, on or about July 29, 2019 Jane Doe No. 1 informed TCU of her

mental state and complained to TCU’s “Chief Inclusion Officer” and Title IX Coordinator,

Dr. Turner, that she was being subjected to discriminatory treatment at the hands of TCU

and intended to file a formal complaint but would wait until the summer program ended to

avoid retaliation from Dr. Snow and other agents of TCU. Rather than assure Jane Doe No. 1

that retaliation was strictly prohibited and would not be tolerated by TCU, Dr. Turner—true to

form—did nothing. Unfortunately, as Dr. Turner likely knew, retaliation from Dr. Snow was

unavoidable.

        123.      After learning of Jane Doe No. 1’s reports to TCU’s Campus Life Dean’s Office

and Title IX coordinator, Dr. Snow became even more hostile toward Jane Doe No. 1. On

Wednesday July 31, 2019, while speaking with Jane Doe No. 1, Dr. Snow violently slammed the

door in Jane Doe No. 1’s face mid-conversation. Later that same day while in public and in the

presence of Jane Doe No. 1’s peers, Dr. Snow harshly and openly berated Jane Doe No. 1 for

asking a question about an assignment. Dr. Snow even had the gall to take off her jacket, fold her

arms, and advance towards Jane Doe No. 1 yet again assaulting Jane Doe No. 1; threatening bodily

injury of which Dr. Snow has proven herself capable. Like the other assaults Dr. Snow committed

this act in the presence of other students. After weeks of hateful, disparate, and hostile treatment

at the hands of TCU and its agents, chiefly Dr. Snow, Jane Doe No. 1 was glazed and numb.




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       124.    Miraculously, despite the unwavering hatred visited upon Jane Doe No. 1 by TCU

and its agents during the Washington program, Jane Doe No. 1 remained active and excelled

academically throughout. Jane Doe No. 1 even earned praise from program facilitators and

instructors evidencing her successful participation in the summer program despite her treatment.

Specifically, on July 22, 2019, Professor Russell Mack sent Jane Doe No. 1 the following message:

               Please keep your positive attitude and your interest in
               government. We need young people like you to be thoughtful
               and constructive. Now that you better understand government and
               how DC works, please use that knowledge to help educate others in
               a positive, constructive way. That way you will be able to enjoy
               these priceless freedoms for all of your life.

               I enjoyed getting to know you and I hope your next two weeks are
               also interesting ones. If I can ever offer any career advice, please
               always feel free to call on me….

       125.    Sadly, Mack reneged on his praise of Jane Doe No. 1 in support of Dr. Snow and

TCU’s continuing scheme to harass and demean Jane Doe No. 1. Instead, in an act of retaliation

Dr. Snow conspired with Professors Mack and Chimbel (of St. Bonaventure University), with

whom she had a meeting of the minds on or about August 3, 2019 and agreed to accomplish an

object or course of action designed to intentionally inflict emotional distress upon Jane Doe No. 1

as detailed herein. Jane Doe No. 1 has been proximately damaged as a result of said conspiracy,

including but not limited to the psychological and physiological damage caused to Jane Doe No.

1 thereby and, importantly, the loss of credit for the program course in retaliation for her reports

of her mistreatment—a threat Dr. Snow ultimately made good on. Dr. Snow set this conspiracy in

motion by committing several extreme and outrages acts designed to torment Jane Doe No. 1 in

Washington, DC and on or about August 3, 2019, Dr. Snow and Professors Mack and Chimbel,

had a meeting of the minds wherein Dr. Snow instructed Professors Gooding, Mack and Chimbel




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to reexamine Jane Doe No. 1’s work and find—though none existed—justifications for her

conduct.

       126.    On August 3, 2019, Dr. Snow summoned Jane Doe No. 1 to a “mandatory” one-

on-one meeting with her at the hotel. At this meeting Dr. Snow informed Jane Doe No. 1 that she

had determined that Jane Doe No. 1 had plagiarized numerous assignments during the program

and submitted them to herself and Professors Mack and Chimbel. Dr. Snow even suggested that

Jane Doe No. 1 had been plagiarizing all along; accusing Jane Doe No. 1 of plagiarizing her Honors

College admissions essay—a slap in the face to Jane Doe No. 1 who is an award-winning scholar.

Jane Doe No. 1, broken by Dr. Snow’s conduct including her most recent attacks against Jane Doe

No. 1’s character elected not to respond to Dr. Snow in the moment. With this news Dr. Snow

once again left Jane Doe No. 1 in Washington at the hotel alone. Jane Doe No. 1 was distraught.

       127.    On that day—eight days after Jane Doe No. 1’s birthday, when she first

contemplated suicide—because of the conduct of TCU and its agents, Jane Doe No. 1 once again

questioned the value of her life and considered that she would be better off dead. Alone in her

hotel room, Jane Doe No. 1 visualized her death; she contemplated reaching for the knife in the

kitchenette that had become her summer home and ending her persisting psychological and

physiological pain. Once again Jane Doe No. 1’s prior instincts prevailed, and Jane Doe No. 1

summoned the young woman she was before TCU to find the courage to again call the National

Suicide Prevention Lifeline. Jane Doe No. 1’s psychological and physiological pain was so great

that Jane Doe No. 1 would have another suicidal episode the next day and have to summon the

courage again to call the National Suicide Prevention Lifeline on August 4, 2019. Again, Jane

Doe No. 1 continues to struggle with suicidal ideations to this very day. To this day, Jane Doe No.

1 must keep the National Suicide Prevention Lifeline number close; calling them on several




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occasions and consulting with clergymen to assist her through her thoughts of self-harm developed

as a result of her treatment at TCU and TCU sanctioned activities.

       128.    When Jane Doe No. 1 returned home to her family prior to the start of TCU’s Fall

2019 semester, Jane Doe No. 1 was noticeably changed. The confident, warm, inviting, and

spirited young woman that arrived on TCU’s campus on Martin Luther King Jr. Day in 2018 had

disappeared. Only a shell of Jane Doe No. 1’s former self remained; still in physical and

psychological pain, replete with recurring nightmares of Dr. Snow assaulting her and publicly

humiliating her and her family. Jane Doe No. 1’s family began rotating responsibilities to monitor

her. For the first time Jane Doe No. 1 was on suicide-watch; a family burden which continues to

this day. Jane Doe No. 1’s TCU experience has forever altered herself and her family, including

Jane Doe No. 1’s (and her family’s) day-to-day activities. Indeed, Jane Doe No. 1 struggles with

her mental and physical health deficiencies caused by her TCU experiences and receives treatment

for the same. Jane Doe No. 1 has difficulty focusing at school and at home and her nightmares

regularly disrupt her sleep at night. In fact, Jane Doe No. 1’s hopelessness and fear caused at the

hands of Dr. Snow, among other members of TCU, have caused Jane Doe No. 1 to hurry off

campus when not in class and move out of her on campus housing and into a hotel room for fear

that her presence on campus will inspire additional harassing treatment.

       129.    Upon her return to campus, due to the severity and pervasiveness of TCU’s actions

(and at the advice and direction of Dr. Teresa Abi-Nader Dahlberg, TCU’s Provost and Vice

Chancellor of Academic Affairs, to whom Jane Doe No. 1 had reported her summer 2019 and

overall TCU experience) Jane Doe No. 1 began desperately seeking help from clinicians in TCU’s

Counseling and Mental Health Center (“CMHC”). Specifically, on August 22, 2019, Jane Doe

No. 1 first visited TCU’s CMHC. Jane Doe No. 1 also visited TCU’s CMHC several times




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thereafter including on August 30, 2019, and on September 4, 2019, before locating a mental health

professional offsite to continue her treatment. On each visit to TCU’s CMHC, TCU’s own

clinicians diagnosed Jane Doe No. 1 with (1) academic issues; (2) depression; (3) anxiety; and (4)

suicidal ideation or self-harm: “onset July 26th when she was on a school trip to Washington

[] with the Honors College.” TCU is fully aware of what it has done.

       130.    Upon her return to TCU’s campus Jane Doe No. 1 also began working to formalize

her complaints of discrimination and hostile treatment with TCU’s Title IX coordinator and

Campus Life Dean’s Office. Specifically, on August 16, 2019, Jane Doe No. 1 conducted a video

interview with Dr. Turner. Fighting back tears, Jane Doe No. 1 recounted her summer experience

to TCU’s Title IX coordinator. Again, on or about August 26, 2019, Jane Doe No. 1 spoke with

Leigh Holland, TCU’s Title IX investigator and Dr. Turner and emailed them a written Title IX

statement and a list of witnesses to the incidents that took place in Washington that summer. The

same correspondence was forwarded to Dr. Morgan in TCU’s Campus Life Dean’s Office. At all

relevant times TCU’s Provost, Title IX Coordinator and Dean of Campus Life were aware of Jane

Doe No. 1’s Washington experience; resulting ideations of suicide; and present resulting

requirement of medical treatment relating to the same. On September 23, 2019, at 9:00 a.m. over

a month after initiating her formal complaint to TCU’s Title IX coordinator, Jane Doe No. 1 met

with Dr. Turner. At this meeting Dr. Turner indicated that his office had already interviewed the

students Jane Doe No. 1 had identified as having knowledge of Jane Doe No. 1’s experience in the

Washington program and would be interviewing the professors the following week. Nevertheless,

Dr. Turner seemed to suggest that Jane Doe No. 1 should have pressed criminal charges against

Dr. Snow for her repeated assaults of Jane Doe No. 1 and stated that Jane Doe No. 1 “will be seeing




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some changes in staff.” No such changes in staff occurred. In fact, Dr. Turner and TCU did

nothing at all.

       XX.        TCU’s IX Office ignores, discourages and undermines reports of
                  discrimination from racial minorities and women like Jane Does Nos. 1, 2, 3,
                  4, and 5.

        131.      It was not until after the original filing of this lawsuit that Dr. Turner and/or TCU’s

Title IX office even bothered to follow-up with Jane Doe No. 1 regarding her official complaint.

First, On January 16, 2020 Dr. Turner sent Jane Doe No. 1 an email “Invitation to Review

Investigative Report.” Because Dr. Turner’s email indicated that TCU had prejudged its findings

and because this litigation had already begun, Jane Doe No. 1 requested that TCU forward a final

copy of the Investigative Report to her attorneys. Next, on March 23, 2020 TCU’s Title IX

Office—with this litigation in mind, no doubt— finally sent Jane Doe No. 1 a back-dated “Title

IX Decision Letter,” which declared that “Dr. [] Snow did not violate [TCU policy] on Prohibited

Discrimination, Harassment and Related Conduct” thereby ratifying Dr. Snow’s conduct described

herein. Bizarrely—and in an apparent attempt to misrepresent the facts to the Court—the “Title

IX Decision Letter,” authored by Leigh Holland, states that TCU’s Title IX office received Jane

Doe No. 1’s complaint on August 26, 2019 when, Ms. Holland contacted Jane Doe No. 1 on

July 31, 2020, “concerning [Jane Doe No. 1’s] incident in DC” after Dr. Turner had already

discouraged Jane Doe No. 1 from immediately “formalizing” her discrimination complaint and

when Jane Doe No. 1 had conducted a formal video interview with Dr. Turner on August 16, 2019.

Ms. Holland—like Dr. Turner—regularly manipulates Title IX investigations of reports of

discrimination, harassment and assault by racial minorities and women either at her own volition

or at the direction of TCU. TCU regularly deploys this tactic when confronted with reports of

discrimination and assault from African-American women.




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       132.    As previously demonstrated, TCU’s response to Title IX complaints received from

racial minorities and women—and particularly African-American women—exhibits deliberate

indifference. Even before Jane Doe No. 1’s initial report of discriminatory treatment, including

assault, TCU’s practices in handling reports of discrimination and assault—discouraging victims

from reporting their mistreatments and failing to investigate their claims or punish their

assailants—constitutes a policy of intentional discrimination that substantially increased Jane Doe

No. 1 and other racial minorities and women risk of suffering similar treatment. Indeed, on August

13, 2018 and again on May 1, 2019 an African-American woman and professor in the Honors

College filed a complaint with TCU, including Dr. Turner, reporting that she was being subjected

to both racial and sexual harassment that created a hostile work environment. As of the date of

the original filing of this lawsuit, the professor had not received so much as a follow-up response

from TCU.

       133.    On May 22, 2019, another professor—also a racial minority and woman—filed an

eleven-page detailed complaint with TCU’s Title IX Office reporting that she witnessed targeted

discrimination and harassment of African-American students and retaliation by TCU leadership

designed to degrade African-American students enrolled in TCU’s Honors College and deny them

equal access to educational opportunities and undermine their success. To date—nearly a year

later—TCU has failed to respond to the professor’s report.




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           a. TCU’s Title IX Office acts with deliberate indifference to Jane Doe No. 2’s
              report that she was sexually harassed and assaulted by Dr. Andrew
              Schoolmaster, former Dean of the AddRan College of Liberal Arts at TCU
              until pressured by Jane Doe No. 2 and then attempts to villainize Jane Doe No.
              2 before finally admitting the assault and merely slapping Dr. Schoolmaster
              on the wrist.

       134.     Indeed, the sexual harassment and assault of Jane Doe No. 2—an African-American

woman—highlights the truth behind TCU’s response to racial minorities and women’s reports of

mistreatment.

       135.     Jane Doe No. 2 is a graduate of TCU’s Honors College. Jane Doe No. 2 was aware

of TCU’s insidious history and had even been called a monkey by a white male TCU student,

however, as a non-traditional student who did not live on campus or frequent typical student

activities, Jane Doe No. 2 largely (and intentionally) attempted to avoid falling full victim to

TCU’s hateful campus culture. Until Dr. Andrew Schoolmaster, then Dean of the AddRan College

of Liberal Arts (the “AddRan College”) took notice of Jane Doe No. 2.

       136.     On or about April 16, 2018 as Jane Doe No. 2 was busy preparing for graduation,

when she visited Ida Hernandez, TCU’s Director of Degree Certification for AddRan College. Ms.

Hernandez expressed that she was very proud of Jane Doe No. 2’s accomplishments and insisted

on introducing her to Dr. Schoolmaster. Ms. Hernandez called Dr. Schoolmaster out of his

personal office and into the reception area of the AddRan College where she introduced Dr.

Schoolmaster to the only soon-to-be graduate with a 4.0 GPA in the entire AddRan College. Jane

Doe No. 2 and Dr. Schoolmaster met and briefly shook hands.

       137.     About one week later, on April 23, 2018, Jane Doe No. 2 visited the Political

Science Department office at TCU. While there, Jane Doe No. 2 had a seat and was conversing

with Darla Scroggins, an administrative assistant at TCU when Dr. Schoolmaster entered the office




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and directed Ms. Scroggins to fetch him budgetary data for the purpose of seizing the Civil Rights

Bus Tour budget to “take it away and give the funds to something else.”

       138.    Jane Doe No. 2 verbally greeted Dr. Schoolmaster (whom she had met the week

before) when he entered the Political Science Department office that day. As soon as Ms.

Scroggins turned her back to look for the budgetary information, Dr. Schoolmaster advanced

toward Jane Doe. No. 2 and when he reached her, Dr. Schoolmaster bent over and began caressing

her bare knee and stated, “I am sorry to interrupt your conversation.” At the time, Jane Doe No. 2

was wearing a dress that stopped just before her knee and her right leg was crossed over her left.

Jane Doe No. 2 was frozen in shock that Dr. Schoolmaster caressed her bare leg, but Dr.

Schoolmaster was not finished dehumanizing and degrading Jane Doe No.2. As Dr. Schoolmaster

continued caressing Jane Doe No. 2’s knee his fingers would trail downward, to Jane Doe No. 2’s

lower-inner-thigh and then to the crease where Jane Doe No. 2’s legs crossed before patting and

releasing Jane Doe No. 2’s body (and indeed her humanity) back to her.

       139.    When Jane Doe No. 2 finally swallowed her shock, humiliation and shame resulting

from these actions, all she was able to say to Dr. Schoolmaster was, “Dean, it is perfectly okay to

interrupt our conversation.” But Jane Doe No. 2, herself, was far from okay.

       140.    According to TCU’s account of the incident, Dr. Schoolmaster’s visit to the

Political Science Department office took approximately five minutes. That is, for five entire

minutes—300 dignity-stripping seconds—Jane Doe No. 2 shared space with and was sexually

harassed and assaulted by her very own Academic Dean.

       141.    Immediately following this incident Jane Doe No. 2 disclosed the occurrence to

two other TCU women staff members. Both women responded in a manner that led Jane Doe No.

2 to understand that this was Dr. Schoolmaster’s common behavior.




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       142.    A week later Jane Doe No. 2 was still in shock and troubled about the incident,

which she had now been replaying her head. On April 30, 2018, after much deliberation, Jane Doe

No. 2 reported the incident to Andrea Vircks in TCU’s Title IX Department but also informed

them that she was not immediately comfortable formalizing her complaint because she was aware

of TCU’s history and feared retaliation from Dr. Schoolmaster from which TCU would not protect

her. In an attempt to discourage her from filing her complaint, TCU’s Title IX office confirmed

that Jane Doe No. 2’s fears were valid, before facetiously stating retaliation was prohibited.

Unconvinced by this boilerplate response from TCU’s Title IX office, Jane Doe No. 2 delayed

formalizing her complaint several weeks during which time Jane Doe No. 2 lived and tried to cope

with the psychological ramifications of her encounter with Dr. Schoolmaster, including her

inability to focus on her schoolwork, while actively modifying her schedule so that she might avoid

Dr. Schoolmaster and retaliation in the form of further harassment, including the further denial of

educational opportunities. Avoiding Dr. Schoolmaster proved to be impossible when Jane Doe

No. 2 was forced to shake his hand as she received her diploma at graduation.

       143.    On May 1, 2018, Jane Doe No. 2 hand delivered a typed statement recounting the

incident. The letter was post-dated to May 14, 2018—two days after graduation—when Jane Doe

No. 2 could be sure that she would not have to encounter Dr. Schoolmaster.

       144.    On or about May 14, 2018, Dr. Turner began his inquiry into Jane Doe No. 2’s

report of sexual harassment and assault by Dr. Schoolmaster by first, doubting and next attempting

to villainize and discredit Jane Doe No. 2. Specifically, rather than work to provide some recourse

for the traumatic encounter suffered by Jane Doe No. 2, Dr. Turner contacted TCU staff members

to question Jane Doe No. 2’s character and ask if she were “believable.”




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         145.   In late May 2018, having heard nothing from TCU except that Dr. Turner had

questioned her character and believability to other TCU staff, Jane Doe No. 2 feared nothing was

being done about her Title IX complaint. So, Jane Doe No. 2 followed up with TCU’s Title IX

office regarding progress of her report of sexual harassment and assault by Dr. Schoolmaster. In

response, Ms. Vircks informed Jane Doe No. 2 that Dr. Turner, and Dr. Kathy Cavins-Tull, TCU’s

Vice Chancellor for Student Affairs, would meet with Dr. Schoolmaster regarding her report on

June 5, 2018. TCU and/or Dr. Turner failed to even contact Dr. Schoolmaster regarding Jane Doe

No. 2’s Title IX complaint by that date.

         146.   On June 12, 2018, Jane Doe No. 2 again contacted TCU’s Title IX office to check

on the status of her report and was informed that TCU had still not yet notified Dr. Schoolmaster

of her report of sexual harassment and assault.

         147.   On the morning of June 20, 2018, still unsatisfied with TCU Title IX office’s

apparent and deliberate indifference toward her report of sexual harassment and assault at the

hands of Dr. Schoolmaster, Jane Doe No. 2 met with then Provost Nowell Donovan and reported

the incident again. Upon learning of Dr. Schoolmaster’s sexual harassment and assault of Jane

Doe No. 2, in the form of caressing her knee and inner-lower-thigh Provost Nowell informed Jane

Doe No. 2 that he “wouldn’t touch [his] wife in that manner,” asked Jane Doe No. 2 for a copy of

her report (which she delivered to him next day) and assured her that he would contact the Title

IX office to escalate her report. Specifically, Provost Nowell stated that immediately after his

meeting with Jane Doe No. 2 he would “call Darron and find out why [Title IX is] dragging their

feet.”

         148.   After Jane Doe No. 2’s meeting with then Provost Nowell, Dr. Kavins-Tull

informed Dr. Schoolmaster of Jane Doe No. 2’s Title IX report that same morning.




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       149.    That same afternoon—in an apparent attempt to further harass and intimidate Jane

Doe No. 2—Dr. Schoolmaster crashed the party held to celebrate Jane Doe No. 2’s graduation and

going-away in the Political Science Department office. Jane Doe No. 2 was already uncomfortable

returning to the very place that her Academic Dean had violated her, and Dr. Schoolmaster’s

presence confirmed her worse fears and triggered the stress and anxiety that resulted from Dr.

Schoolmaster’s sexual harassment and assault. Dr. Schoolmaster achieved his intended result:

intimidating Jane Doe No. 2.

       150.    Dr. Schoolmaster feigned ignorance of Jane Doe No. 2’s party and pretended his

visit was to ask a simple question. In reality, however, Dr. Schoolmaster was visibly upset, and it

was clear that Dr. Schoolmaster intended to and did intimidate Jane Doe No. 2 by showing up

unannounced and with his arms folded at Jane Doe No. 2’s going away party, in the very place he

sexually harassed and assaulted her.

       151.    Immediately after this encounter with Dr. Schoolmaster, Jane Doe No. 2 again

contacted TCU’s Title IX office. Specifically, Jane Doe No. 2 called TCU’s Title IX office, where

Leigh Holland the so-called “Title IX Investigator” answered Jane Doe No. 2’s call on

speaker. Jane Doe No. 2 was shocked by the lack of professionalism, sensitivity and privacy

exhibited by Ms. Holland’s conduct in answering her call on speaker. Jane Doe No. 2 expressed

her shock and disappointment with Ms. Holland, whom had no prior experience as a Title IX

investigator and was apparently learning on-the-job. Thereafter, Ms. Holland—still on speaker—

haughtily asked Jane Doe No. 2, “is this regarding your matter, is there something I can do for

you?” Jane Doe No. 2 again pleaded with Ms. Holland to remove her from speaker so that the two

might speak privately. When Ms. Holland finally took the call off speaker, Jane Doe No. 2

informed her of her most recent and intentionally intimidating encounter with Dr. Schoolmaster.




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Though she felt compelled to immediately report the incident, Jane Doe No. 2 ultimately

concluded her conversation with Ms. Holland only feeling violated yet again by TCU. Indeed,

Jane Doe No. 2 was apprehensive about speaking with Ms. Holland altogether due to Ms.

Holland’s reputation as a gossip.

       152.    On June 21, 2018—nearly two months after Jane Doe No. 2 first reported her

incident of sexual harassment and assault by Dr. Schoolmaster and only after constant pressure to

act from Jane Doe No. 2—Ms. Holland sent Jane Doe No. 2 a Title IX e-mail across TCU’s open

network rather than via secure/certified mail. In this email, Ms. Holland attached a letter from Dr.

Turner indicating that TCU had finally concluded that Jane Doe No. 2’s report contained “enough

information to warrant an investigation into the complaint.” Worse still, this communication

confirmed that Dr. Turner’s mid-May conversations with staff regarding Jane Doe No. 2 were not

at all a part of TCU Title IX office’s investigation, but rather a failed attempt at throttling Jane

Doe No. 2’s report by calling into question her credibility and character.

       153.    On July 19, 2018, Jane Doe No. 2 met with TCU’s Title IX office via phone to

review TCU’s investigative report of her sexual harassment and assault by Dr. Schoolmaster. It is

TCU policy not to provide copies of investigative reports to victims and reporters of incidents at

TCU or TCU sanctioned events.

       154.    According to the investigative report, Dr. Schoolmaster admitted that he

inappropriately touched Jane Doe No. 2 but asserted that caressing and patting Jane Doe No. 2’s

knee and lower-inner-thigh was intended to be “respectful or courteous.” Dr. Schoolmaster then

contradicted himself by asserting the touching was unplanned and spontaneous. Dr. Schoolmaster

also asserted that Jane Doe No. 2’s report was “frivolous and ridiculous.” Notwithstanding Dr.

Schoolmaster’s statements, they are implausible, if not laughable, when considering that Dr.




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Schoolmaster, who stands over six feet tall could have accidentally caressed and then patted Jane

Doe No. 2’s knee and lower-inner-thigh, while she was seated.

       155.    On Friday August 3, 2018, Dr. Turner e-mailed Jane Doe No. 2 (again on TCU’s

open network rather than via secure/certified mail) and attached a formal letter that, in relevant

part, stated “[a]fter conducting a thorough and impartial investigation, it has been determined that

Dr. Schoolmaster inappropriately touched your leg” and that “Dr. Schoolmaster violated TCU’s

1.005 Discrimination, Harassment, and Related Conduct Policy.” As his punishment for sexually

harassing and assaulting Jane Doe No. 2—the only student with a 4.0 GPA in the AddRan College

of Liberal Arts—Dr. Schoolmaster was made to attend a mere one-hour, in person, one-on-one

Title IX training/education and also complete an online Title IX training prior to the start of the

following semester.     In reality, every professor at TCU was assigned to complete the

aforementioned online Title IX training, therefore Dr. Schoolmaster’s only true sanction was a

mere one-hour conversation—a slap on the wrist; or better still a message to Jane Doe No. 2 and

every racial minority and woman that at TCU sexual harassment and assault will be met with

deliberate indifference. TCU’s conduct indeed exhibits that TCU’s “policies” and “protections” of

racial minorities and women are just lip service to mandated federal law.

       156.    Shocked and dejected that TCU and/or Dr. Turner had reduced the sexual

harassment and assault she suffered to a “touch” on her leg and at the lack of punishment of Dr.

Schoolmaster, Jane Doe No. 2 immediately appealed TCU’s finding. Specifically, on August 6,

2018, Jane Doe No. 2 wrote Dr. Turner expressing her disappointment with the lack of seriousness

given her report as evidenced by the non-sanction(s) given to Dr. Schoolmaster and further

informed TCU that its response to her report was inadequate. Ultimately, and unsurprisingly, TCU

denied Jane Doe No. 2’s appeal. To date, Jane Doe No. 2 has not even received an apology from




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TCU or Drs. Turner and Schoolmaster. Rather, by failing to appropriately reprimand his conduct

TCU has ratified Dr. Schoolmaster’s sexual harassment and assault.

            b. TCU’s Title IX Office discourages Jane Doe No. 3 from reporting multiple
               incidents of discriminatory treatment at the hands of TCU, which were severe
               and pervasive enough to cause Jane Doe No. 3 psychological stress and anxiety
               and trigger type 1 diabetes and then deteriorate her diabetes control.

        157.    Jane Doe No. 3 is a Chancellor Scholar at TCU, who receives a full merit-based

scholarship and is enrolled in TCU’s Honors College. From the moment Jane Doe No. 3 arrived

on campus in the Fall of 2016 she was smacked with TCU’s well-preserved legacy of hate. Shortly

after she moved into TCU’s Honors College dorm Jane Doe No. 3, while studying,                was

approached by a white male student who announced to Jane Doe No. 3 that she “was only [at TCU

and the Honors College] to fill the black girl quota.” In TCU’s Honors dorm Jane Doe No. 3

would regularly encounter white students referring to Jane Doe No. 3 and other African Americans

at TCU as “niggers”. Jane Doe No. 3 confronted the students, but nothing changed. Jane Doe No.

3 was regularly subjected to racist, sexist, and bigoted remarks in the Honors College dorm. The

only space where Jane Doe No. 3 could escape such treatment was in her shared room, where TCU

assigned her to room with two other racial minority women.

        158.    In class, Jane Doe No. 3 was regularly treated to the same conduct. Her professors

facilitated racist and bigoted conversation and assigned course work, not intended to educate, but

rather to reinforce and/or excuse white supremacy. In fact, Jane Doe No. 3’s upper-level courses

taught by the Criminal Justice Department and CRES department chairs donned topics like “Are

people of color discriminated against or do they just commit more crimes?” and “Everyone is a

little bit racist,” respectively, to name a few.

        159.    On campus Jane Doe No. 3’s treatment was equally jarring. At one point she sought

solace by joining a Christian small group on campus, which was facilitated by Kimber Crumrine,



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a campus minister at TCU who regularly invited Jane Doe No. 3 to her home. Jane Doe No. 3 had

never visited Crumrine’s home and once Ms. Crumrine disclosed to Jane Doe No. 3 that

“[Crumrine’s] dog is racist and does not like when [people of color] come to her home,” Jane Doe

No. 3 was glad she had declined the invitation. Following this and other similar interactions with

TCU’s religious staff Jane Doe No. 3 stopped attending TCU programs facilitated by TCU’s

Religious and Spiritual Life office.

       160.    When Jane Doe No. 3 attempted to find another distraction from this conduct by

serving as an ambassador in her academic department, and as a faculty assistant to her Honors

College professor from 2016 to 2019 she was degraded, berated and met with open hostility. Jane

Doe No. 3’s faculty mentor, for whom she worked as an assistant, would regularly demand that

Jane Doe No. 3 perform non-academic/TCU- related work at all hours of the day and night. When

the faculty mentor believed that Jane Doe No. 3 responded untimely, she regularly bombarded her

with dozens of harassing and insulting text messages. Jane Doe No. 3’s faculty mentor even

pilfered resources Jane Doe No. 3 had earned and purchased with Honors College grant money to

support her own research. Indeed, Jane Doe No. 3’s faculty mentor appropriated recording

supplies for focus groups, transcription services, as well as gift cards to compensate the

participants in her own faculty required research from those resourced purchased via Jane Doe No.

3’s grant—all without Jane Doe No. 3’s consent.

       161.    Despite such treatment, TCU regularly solicited Jane Doe No. 3’s participation in

school activities, because as stated by TCU, as a racial minority and woman Jane Doe No, 3 “can

speak eloquently about the impact of receiving a Chancellor’s Scholarship.” Jane Doe No. 3

deeply resents being utilized as yet another minority show piece by TCU. Because she is a

scholarship recipient, however, she feels compelled to do so. Without fail after each event, Jane




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Doe No. 3 is approached by white faculty, alumni, and donors and told that she “speaks well” or

is “articulate.” At one such event on April 26, 2019, after Jane Doe No. 3 spoke on behalf of the

Honors College, she was approached by a white man that had been drinking heavily, who told her

she “spoke well” and reminded him of Oprah. Next, without Jane Doe No. 3’s consent and in the

presence of TCU faculty and staff, the same drunk white man kissed Jane Doe No. 3. No one said

a word or otherwise defended Jane Doe No. 3.

       162.    The discriminatory and bigoted treatment to which Jane Doe No. 3 was subjected

was so severe and pervasive that Jane Doe No. 3 found herself calling her mother in tears nearly

every night as a result of the foray of hate she experienced at TCU each day. Soon the stress and

anxiety of her TCU experience had negatively impacted her mental and physical health. So great

was the stress that during her first semester Jane Doe No. 3 visited an endocrinologist who

diagnosed her with type 1 diabetes, which he stated was triggered by her experiences at TCU and

which Jane Doe No. 3 must manage for the rest of her life. TCU’s continued discriminatory

treatment of Jane Doe No. 3 has exacerbated her condition and required more stringent measures

to control it, including both psychological and physiological treatment.

       163.    On May 1, 2018, Jane Doe No. 3 met with Chancellor Boschini to share her

experiences and was candid about the openly hostile racist and sexist environment within her

academic department. Chancellor Boschini did not encourage Jane Doe No. 3 to file a report with

TCU’s Title IX office or otherwise direct her to TCU resources.

       164.    TCU’s Student Disability Services was also of no assistance to Jane Doe No. 3

when she requested accommodations based upon her diabetes management/control. In January

2019, Jane Doe No. 3 reached out to Laurel Cunningham, Interim Leader of Student Disability

Services, begging for accommodations as it had become increasingly difficult for her to manage




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her diabetes and schoolwork amidst the stress and trauma and treatment that goes along with being

an African-American woman at TCU as described herein. Ms. Cunningham responded by asking

Jane Doe No. 3 for more information, but when Jane Doe No. 3 replied providing such information,

Ms. Cunningham went dark. To date, Jane Doe No. 3 has not received any further communication

from TCU’s Student Disability Services.

       165.    On June 6, 2019, Jane Doe No. 3 sent a detailed nine-page written report to TCU’s

Title IX Coordinator, Dr. Turner detailing some of her harrowing experiences and the

physiological and physical injuries that resulted, including type 1 diabetes and/or worsening

diabetes control. Puzzlingly, Dr. Turner responded by asking Jane Doe No. 3 if she really wanted

to file a formal complaint, placing emphasis on an investigation as though it would be a hassle,

suggesting that she should rather just place her grievances “on record,” and hurried her to discuss

another unrelated topic in an attempt to discourage Jane Doe No. 3 from reporting discriminatory

treatment. Other than Dr. Turner’s apparent dismissal of her report upon its receipt, as of the

original filing of this lawsuit, Jane Doe No. 3 has received no response from TCU regarding the

hateful and discriminatory experience she has been made to endure.

       166.    Returning to TCU in the Fall of 2019 was traumatic for Jane Doe No. 3 because

she knew how difficult it is for an African-American woman to learn, live, and work in TCU’s

discriminatory environment. Jane Doe No. 3 was spiraling emotionally, she struggled to turn

assignments in on time, and even to go to class on most days. Jane Doe No. 3 also quit her job as

a Honors College Faculty Assistant to avoid the harassment from her faculty mentor and campus

altogether. Jane Doe No. 3 also decided that she was no longer mentally capable of attending

graduate school after graduation due to the stress and anxiety that she experienced at TCU so she

cut the graduate application process short in late October. Today, Jane Doe No. 3 has very little




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motivation for school and life. Though she thought about leaving TCU, as a recipient of a full

scholarship and without the financial resources to attend college elsewhere Jane Doe No. 3

remained at TCU. Her Chancellor’s Scholarship had become a noose around her neck. Jane Doe

No. 3 now seeks therapy outside of TCU as the TCU Counseling Center has a reputation for not

being diverse, sympathetic or helpful to African-American women.

           c. TCU’s Title IX Office ignores years of complaints of discrimination against
              racial minorities and women in TCU’s Department of English and instructs
              Jane Doe No. 4 that she must waive and forfeit her complaints in order to
              accept an on-campus employment position at TCU and offers Jane Doe No. 5
              an on-campus employment position in response to her direct complaints to
              Chancellor Boschini.

       167.   Jane Doe No. 4 is an award-winning African-American woman who was previously

enrolled in the PhD program in TCU’s Department of English. As a native of Louisiana and a

survivor displaced by Hurricane Katrina, who now holds undergraduate and graduate degrees,

including a graduate degree from another predominantly white institution in the deep south, Jane

Doe No. 4 is no stranger to hard work and perseverance in the face of adversity. But none of the

experiences Jane Doe No. 4 previously encountered could have prepared her for the unique brand

of hatred and bigotry endorsed by—and to which she was subjected at—TCU.

       168.   Even prior to her enrollment, Jane Doe No. 4 received a quiet warning against

attending TCU. During TCU’s Department of English Visit Day in Spring 2015, the only other

African-American student enrolled in the PhD program in TCU’s Department of English asked if

Jane Doe No. 4 really wanted to attend a university that was “very white.” Jane Doe No. 4 had

not known of TCU’s long history of bigotry and racism, including its failure to graduate even

one African-American woman from its English PhD program, to date—and not for want of

trying. During that same visit then professor Dr. Cedric May, an African-American male, also

curiously kneeled down to earnestly express to Jane Doe No. 4 that he would be available to help



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in any way that he could if she attended TCU. Jane Doe No. 4 did not know what to make her

interactions on Visit Day, however, she had attended and received adequate education, support

and encouragement and was successful at other “very white” graduate programs, so she believed

TCU would be no different. Jane Doe No. 4 was wrong.

       169.    By the time Jane Doe No. 4 enrolled in the PhD program in TCU’s Department of

English in the Fall of 2015, the only other African-American PhD student had transferred to the

University of Texas at Austin citing racially discriminatory treatment as cause for her departure.

To add insult to injury, as a result of TCU’s racist environment, Dr. May also resigned from the

TCU’s Department of English citing concerns regarding the same. And over the next four years

Jane Doe No. 4 was subjected to rank hostility and harassment at the hands of her peers and

professors.

       170.    Indeed, Jane Doe No. 4—like many other racial minorities and women at TCU—

learned very quickly that TCU was not a welcoming environment to African-American women.

In her classes, Jane Doe No. 4 was subjected to offensive and disgusting racist jokes, commentary

and course materials, like “all black men hate gay people and that is why there are so many

homeless black gay youths” and equally racist assignments. When Jane Doe No. 4 participated in

class discussions or made presentations, she was regularly publicly belittled and berated, if not

boldly cut off mid-speech, especially in courses taught by then Chair of the Department of English,

Karen Steele, who regularly demeaned Jane Doe No. 4 for simply daring to participate in class.

One of Jane Doe No. 4’s white classmates even violated her person by touching—without

permission—Jane Doe No. 4’s hair. Jane Doe No. 4’s classmates were no doubt emboldened by

the behavior of their professors, who by their conduct, demonstrated that Jane Doe No. 4 was fit

to be dehumanized. When Jane Doe No. 4 attempted to address the racist environment to which




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she was regularly subjected, Jane Doe No. 4’s professors were often unprepared or seemingly

unwilling to address her concerns about the racist conversations, text and conduct entertained in

her PhD program. Not surprisingly, TCU did little, if anything at all to correct Jane Doe No. 4’s

professors and classmates’ racist and inaccurate commentary and behavior.

        171.    Jane Doe No. 4 ended her first year at TCU feeling isolated and shutdown. In fact,

in Jane Doe No. 4’s First Year Review—a requirement of TCU’s English PhD program—she made

clear her complaints and extensively detailed the anxiety, stress and trauma that resulted from her

experiences at TCU. In response, in a letter dated May 7, 2016 Jane Doe No. 4’s professors

acknowledged “the challenges of adjusting to TCU’s largely homogenous culture and, at times,

racially insensitive—and at times offensive—treatment from her peers” and stated that they were

“earnestly concerned about her treatment by other graduate students and attuned to the need for

her coursework to include ample, and equitable, opportunities for her scholarly pursuits in a

supportive professional environment.” Despite commending Jane Doe No. 4 for her “forthright

and thoughtfulness in addressing the need for productive spaces of learning and growth in the

program”, TCU and its agents did nothing to stop the onslaught of hate and racism Jane Doe No.

4 was treated to on campus and in the classroom in the form of “petty behaviors” and

“unproductive interactions” by her classmates and professors designed to relegate Jane Doe No. 4

to a status of second class citizen.

        172.    The anxiety and trauma resulting from Jane Doe No. 4’s first year at TCU

manifested itself in sleeplessness, inability to complete coursework, and a diminished sense of

self-worth, to name a few of the debilitating repercussions of simply existing as an African-

American woman on TCU’s campus. Jane Doe No. 4 vowed to TCU’s English Department, in

writing, that her experience at TCU was not one she would wish on her worst enemy, much less




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another unknowing African-American woman. So, when Jane Doe No. 5, another award-winning

African-American woman attended TCU’s Visit Day in Spring 2016, Jane Doe No. 4 extended

Jane Doe No. 5 the same quiet courtesy and warning given to her a year earlier. During 2016 Visit

Day, Jane Doe No. 4—the only African-American student in TCU’s English PhD program—

warned Jane Doe No. 5 that her experience at TCU had been very hard because of her race and

gender.

          173.   Armed with this warning Jane Doe No. 5 visited then Director of Graduate Studies,

Dr. Mona Narian and candidly expressed her reservations about attending TCU because of its

hateful legacy and its failed attempts at diversity, equity and inclusion. Despite being fully aware

of Jane Doe No. 4’s ongoing distress at the hands of her professors and peers, Dr. Narian touted

TCU’s recent DEI campaign as evidence that TCU had made the necessary changes to ensure a

productive environment for its racial minorities and women and urged Jane Doe No. 5 to attend

TCU and experience and take part in said change. Dr. Narian was wrong. TCU had not changed.

In fact, as detailed above TCU’s racist fabric has remained unchanged since its founding and

throughout its history.

          174.   Jane Doe No. 5 knew all too well of TCU’s history. Indeed, though she had been

married and living in Berlin, Germany for years at the time she applied to TCU, Jane Doe No. 5’s

grandmother was from and lived in Fort Worth’s “Stop Six” neighborhood. Jane Doe No. 5 had

learned of TCU and its racist history in Fort Worth through stories of the racist conduct of TCU’s

students, faculty and staff, which her grandmother and other African-American residents directly

experienced. Jane Doe No. 5 even recalled vividly that as a child visiting her grandmother,

there was a clear line of demarcation where African-Americans were safe or allowed on

Berry Street—the street leading directly to TCU from Stop Six. These stories would become




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the basis of Jane Doe No. 5’s research and sadly forecast her own plight at TCU. Having attended

predominately white institutions for undergraduate and graduate school and having received

adequate support and fair treatment from those institutions, (which facilitated her successful

completion of the same) however, Jane Doe No. 5 assumed that TCU too was capable of

overcoming its past and promoting an equitable learning environment. Jane Doe No. 5 soon

learned that she had incorrectly assumed that TCU was capable of fair and equitable treatment of

African-American women.

       175.    Almost immediately after enrolling in the PhD program in TCU’s Department of

English, Jane Doe No. 5 experienced the same racist and isolating treatment Jane Does Nos. 1, 2,

3 and 4 and other racial minorities and women received at TCU. In class, Jane Doe No. 5 was

treated to insensitive remarks and condescending directives from her professors who regularly

casually berated Jane Doe No. 5 and questioned her intelligence, ability and creativity during class

discussions and presentations, especially at the hands of then Chair of the Department of English,

Dr. Steele. Jane Doe No. 5’s treatment by Dr. Steele was so jarring that even her fellow non-

African-American classmates took notice of Steele’s hostile behavior. By the end of her first year

in TCU’s English PhD Program, Jane Doe No. 5—like Jane Doe No. 4—was left feeling dejected,

isolated and questioned her self-worth because of her experiences at TCU.

       176.    On the afternoon of December 1, 2016, Jane Doe No. 5 reached her tipping point.

That day—feeling alone and openly attacked solely because of her race—Jane Doe No. 5 skipped

class to visit TCU’s Title IX Office to see what recourse she had in making a formal complaint

against Dr. Steele for the harassing treatment she was receiving in her Introduction to Graduate

Studies course, among other hostile experiences she had encountered in her first semester at TCU.

While there, Jane Doe No. 5 met with Leigh Holland and detailed her experience fully. While Ms.




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Holland performed what appeared to be empathy towards Jane Doe No. 5 at the time, she

ultimately discouraged Jane Doe No. 5 from formalizing her complaint and even explicitly

instructed Jane Doe No. 5 to hold off on filing a complaint until grades were issued as that would

be the measure of whether Jane Doe No. 5 was adversely impacted by the obvious racist behavior

from Dr. Steele. Jane Doe No. 5 was shocked by this response because her reason for visiting the

Title IX Office was to report the racist and dehumanizing treatment she had been subject to and

not concern for her grades. Apparently, Ms. Holland, and/or TCU believes that discriminatory

treatment or impact towards a student may only occur if that student’s grades fall below a certain

standard. That is, Ms. Holland and/or TCU have determined that complaints of African-American

women students to TCU’s Title IX Office, regardless of their nature, are not valid or ripe unless

said students’ grades have been negatively impacted as a result. Ms. Holland and/or TCU could

not be more incorrect.

       177.    Jane Doe No. 5 left her meeting with Ms. Holland feeling more physically and

emotionally drained and let-down than when she had arrived.       Ms. Holland was successful in

fielding Jane Doe No. 5’s valid Title IX complaint. Of course, neither Ms. Holland nor anyone

from the Title IX office or TCU at all ever followed up with Jane Doe No. 5. And of course, Jane

Doe No. 5’s racist encounters worsened.

       178.    In Spring of 2017, Jane Does Nos. 4 and 5 enrolled in a rhetoric and composition

course titled Protest and Violence taught by Dr. Brad Lucas. Jane Does Nos. 4 and 5 purposefully

enrolled in this class because the topic was civil rights, thus they assumed that the course work

might shield them from the racist undertones of the Department. Jane Does Nos. 4 and 5 were

wrong. In fact, said class would become one of the most contentious and hostile environments the

pair would experience at TCU.




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       179.    Throughout the course Dr. Lucas not only assigned racist rhetoric but also

facilitated racist discussions and presentations. When Jane Does Nos. 4 and 5 spoke against the

course readings and conduct they were immediately slapped-down. Instead—in a PhD level civil

rights course—the onus was on Jane Does Nos. 4 and 5 to not make their white classmates uneasy

or uncomfortable by discussing race. Where Jane Does Nos. 4 and 5’s white classmates did take

comfort, however, was in berating and belittling the work that Jane Does Nos. 4 and 5 conducted

in the course. On occasion, in this course, Jane Does Nos. 4 and 5 found themselves—with no

help from Dr. Lucas—explaining and arguing the most basic tenants of how the ramifications of

slavery and systematic oppression still impact African Americans today. In another instance, when

Jane Doe No. 4 expressed interest in researching and writing about the connection between civil

rights and African-American health, Dr. Lucas became irate and berated Jane Doe No. 4;

simultaneously ushering in racist commentary from Jane Does Nos. 4 and 5’s classmates, who

questioned the value and validity of such a project. At a point, Jane Doe No. 5 began fielding the

onslaught of derogatory questions and remarks from her classmates in order to offer Jane Doe No

4, who was becoming visibly shrunken, some reprieve. Dr. Lucas did nothing to stop Jane Does

Nos. 4 and 5’s classmates from belittling and demeaning Jane Does Nos. 4 and 5’s work. During

that same class, however, Dr. Lucas shielded and even stopped aggressive discussions of a white

student’s work in order to defend said student against the commentary.

       180.    Ultimately, Jane Does Nos. 4 and 5 emailed Dr. Lucas expressing concern over

their experience in his course, including the overwhelming feeling of having to defend themselves

(and indeed the African-American race) in order to contradict the intensely racist course materials

featured in class. In response, Dr. Lucas admitted that his course was not doing a good job of




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engaging with racism in the works assigned, but did nothing to change his or the behavior of Jane

Does Nos. 4 and 5’s classmates.

       181.   Later that semester Jane Doe No. 4 visited then Director of Graduate Studies, Dr.

Narian to complain about her experience in Dr. Lucas’s class and express her concerns that Dr.

Lucas was on her exam committee given the experiences she had encountered with him. Dr.

Narian warned Jane Doe No. 4 that removing Dr. Lucas from her exam committee would likely

result in retaliation from Dr. Lucas, who was the incoming Director of Graduate Studies for the

following academic year.

       182.   That same semester, Jane Doe No. 5 also made Dr. Narian aware of the

discriminatory treatment she had experience in her first year at TCU. At no time did Dr. Narian

or anyone else from TCU direct Jane Does Nos. 4 and 5 to Title IX to formalize their many

complaints.

       183.   Jane Does Nos. 4 and 5 were also discriminated against for daring to participate in

co-curricular activities. In one instance, Jane Doe No. 5 was unable to attend a Women of Color

in the Academy conference because the only way TCU’s English PhD program would fund the

trip was if she agreed to recruit for TCU. Given the hostile and discriminatory experiences she

had survived, Jane Doe No. 5’s conscience would not allow her to knowingly participate in

subjecting another African-American woman to her experience. In another instance, then Chair

Dr. Steele, allocated funding for Jane Doe No. 5 to attend a conference, but not before publicly

announcing that “[Jane Doe No. 5] doesn’t have a credit card that she can put this on” so as to

demean Jane Doe No. 5 in the presence of persons with whom she had to interact with in the

Department.




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       184.    When Jane Does Nos. 4 and 5 attempted to introduce their colleagues to diverse

perspectives in a manner sanctioned by TCU, they were shunned and discriminated against by

TCU’s Department of English and her students. Specifically, in Fall 2017, Jane Does Nos. 4 and

5 co-founded a Reading Group for American and African-American literature. Reading Groups

are a required form of participation for PhD students in TCU’s Department of English, which

students regularly and robustly attend. In fact, as a required exercise, TCU Department of English

staff closely monitor the attendance and equitable sharing of ideas that take place in Reading

Groups.

       185.    Prior to Jane Does Nos. 4 and 5 Reading Group, all such groups primarily focused

on white and Eurocentric topics. Not surprisingly, despite providing seemingly unlimited funding

to the other reading groups for lunch, snacks and other items for attendees, Jane Doe Nos. 4 and

5’s Reading Group was given a $75.00 budget to cover the cost of lunch, snacks and other items

for attendees for the entire year, leaving Jane Does Nos. 4 and 5 to self-fund their Group. Along

with being given less funding for the Afrocentric Reading Group, despite the fact that Jane Does

Nos. 4 and 5 regularly attended other Reading Groups, only two faculty members and few students

attended any of the Afrocentric Read Group’s meetings the entire year.

       186.    Jane Does Nos. 4 and 5 were discouraged and dismayed but remained committed

to promoting accurate depictions of the African and African-American experience to their

professors and colleagues to combat the negative, stereotypical, insensitive and inaccurate

representations of African Americans promoted by TCU. Jane Does Nos. 4 and 5 also continued

to report and complain of their experiences with racism and lack of diversity to Dr. Narian.

       187.    At the end of Fall 2017, rather than sincerely address Jane Does Nos. 4 and 5’s

concerns, or refer their complaints to TCU’s Title IX Office or investigate the same, Jane Does




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Nos. 4 and 5 were instructed to include their complaints on course evaluations and treated to a

series of hurried conferences on diversity, which were placating, unproductive and did little more

than advance the flawed logic that racial minorities and women, like Jane Does Nos. 4 and 5 should

change themselves in order to peacefully coexist within TCU’s racist environment.

       188.    Indeed, on December 8, 2017, at one such conference Professor David Colon yelled

at Jane Doe No. 4 for asserting that the racial minority faculty had not done enough to address the

anti-African-American racism endured by African-American students within the department.

Though several members of TCU faculty and staff were present and openly agreed with Jane Doe

No. 4’s sentiment, it was not until after said conference that Jane Doe No. 4 was apologized to and

told that Dr. Colon was out-of-line. Dr. Colon’s conduct in yelling at Jane Doe No. 4 and the tone

of the meeting generally was so oppressive and jarring that many of the racial minority students in

attendance, including Jane Does Nos. 4 and 5, left said meeting feeling more isolated than before

and psychologically and physiologically unable to return to class and/or complete assignments.

       189.    At that very meeting, for the first time, a TCU professor informed Jane Does Nos.

4 and 5 that they should contact TCU’s Title IX Office with their many complaints. Jane Doe No.

5 recalled her conversation with Ms. Holland two years prior and thus had little hope that doing so

would make any difference at all. Jane Doe No. 5 was right, as was confirmed by Dr. Narian when

she informed Jane Doe No. 4 that the reason she had not previously recommended that Jane Does

Nos. 4 and 5 forward their complaints to TCU’s Title IX Office was because she “knew that Title

IX would not do anything.”

       190.    But when Jane Doe No. 5 followed Dr. Narian’s instruction to include complaints

of discrimination in course evaluations, that too backfired. Specifically, in December of 2017,




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Jane Doe No. 5 complained about the unfair treatment she experienced in her Teaching College

Composition course taught by Dr. Carrie Leverenz.

       191.    Upon her return from winter break in January of 2018, Jane Doe No. 5 learned that

Dr. Leverenz had embarked on a witch hunt to publicly identify which racial minority student had

given her a negative review. Dr. Leverenz had even tearfully talked to other racial minorities in

TCU’s Department of English about the review to ask if they agreed. Jane Doe No. 5 believed, as

Dr. Narian had told her, that course evaluations were anonymous and would not be publicly

discussed. As a result, Jane Doe No. 5 was left knowing that there was no real recourse for her

treatment at TCU and yet again felt alone, rejected, and as though her life was of little value at

TCU. Jane Doe No. 5 was psychologically drained by her experience at TCU and developed a

sense of ambivalence towards her decision to attend TCU in the first place. Soon, Jane Doe No.

5’s psychological state manifested physiologically as she began to experience tension headaches

and general health decline. To tend to her health, Jane Doe No. 5 began limiting her participation

in, and attendance at TCU, including required program activities.

       192.    On January 18, 2018, Jane Doe No. 5 reached her breaking point. On that day, Jane

Doe No. 5 was tired of feeling empty and spurned by the constant onslaught of hate visited upon

her at the hands of TCU, and so—in search of some semblance of peace for the first time since her

enrollment at TCU—she penned a farewell note for her husband and visualized her own death.

Fortunately, this visualization did not materialize.

       193.    Ironically, on that very same day—January 18, 2018—after submitting a formal

complaint, and against the advice of Dr. Narian, Jane Doe No. 4 met with Dr. Turner in TCU’s

Title IX office to inform him of her and other African-American women’s experience at TCU and

to plead with him to take seriously the real harm that resulted from the hateful and bigoted practices




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and disparate racial treatment and impact at TCU. True to form, Dr. Turner did not open an

investigation into Jane Doe No. 4’s complaints.

       194.   Instead, nearly four months later, and after continued complaints, on April 6, 2018,

Dr. Turner and Ms. Holland treated Jane Does Nos. 4 and 5 and other racial minorities in the PhD

program in TCU’s Department of English to lunch, where they again recounted the same hateful

experiences and racist classroom and campus environment of which that they first informed his

office in Fall 2016. Dr. Turner and Ms. Holland assured Jane Does Nos. 4 and 5 they had been

heard and that TCU would “work to help rectify the problems” they faced. But again, Dr. Turner

and Ms. Holland and/or TCU did nothing.

       195.   Predictably, Jane Does Nos. 4 and 5 experience only continued to worsen. In fact,

Jane Does Nos. 4 and 5 were also openly and blatantly discriminated against as professors in the

TCU’s Department of English. Specifically, Jane Does Nos. 4 and 5 were required to hold

office hours in shared space in Reed Hall, where their white colleagues would berate, demean

and bully them out of the office. Ultimately, both Jane Does Nos. 4 and 5 were forced to hold

office hours with their students in the TCU Library, Bookstore or even the hallway outside

of classrooms. TCU was aware of this conduct and again did nothing.

       196.   On October 4, 2018, when Jane Doe No. 4 was interviewing for an employment

position in TCU’s Title IX Office, yet another professor in TCU’s Department of English joined

in on the parade of hatred that encapsulated Jane Does Nos. 4 and 5’s experience. That day, Dr.

Richard Enos sent an email to the entire English Department belittling Jane Doe No. 4 and—

ironically—calling her unprofessional. Jane Doe No. 4 showed the email exchange to personnel

in TCU’s Title IX office during her employment interview. Ultimately, Dr. Enos begrudgingly




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apologized for his behavior, but again nothing was done to change the environment of hate and

bigotry to which Jane Does Nos. 4 and 5 were subjected to daily.

        197.   On November 8, 2018, after learning of the numerous unanswered complaints of

discrimination reported by Jane Does Nos. 4 and 5, Dr. Joddy Murray, the newly appointed Chair

of TCU’s Department of English tellingly sent an email apology to the Department explaining

that:

               When longstanding injustices have been part of an institutional
               culture, acknowledging the truth and apologizing for the impact
               on individuals in the community can be an important step for
               moving forward. With that in mind, I write to you all today.
               Individuals in the department of English, both faculty and students,
               have behaved in a racist, homophobic, misogynistic, and
               disrespectful manner both in public and semi-public spaces on
               campus —TCU compliance officers are aware of these reported
               complaints. Faculty and students of underrepresented groups have
               had the burden of first experiencing these behaviors and
               conversations as microaggressions and outright aggressions, and
               then, in the reporting or retelling of these behaviors, had to perform
               these traumas and aggressions again. Even now, it is likely that
               some continue to experience these traumatic events repeatedly,
               affecting their mental and physical health and, consequently,
               resulting in having to try and learn and teach in what becomes, for
               them, a toxic climate in our department.
               As Chair of the Department of English, I apologize that this
               happened. We cannot allow the learning and working environment
               to continue to be toxic. We must do better, together. We need to
               educate ourselves, listen to others, and collectively do the work
               to both acknowledge these problems and take additional
               concrete steps to make constructive change. We need to check
               our own behavior and be aware of our prejudices, our biases,
               our microaggressions. No one person can do this. We all must
               do this together.

        198.   Dr. Murray was correct and as he poignantly noted; the centuries of racial animosity

nurtured at TCU requires immediate and intentional action. Unfortunately, however, Drs. Turner

and Boschini do not see the problem as clearly as Dr. Murray.




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       199.    On December 5, 2018, during her final employment interview with TCU’s Title IX

Office, Ms. Aisha Torrey Sawyer informed Jane Doe No. 4 that if she accepted the position, she

“would have to forfeit all of her prior Title IX complaints of discrimination at TCU.” Jane

Doe No. 4 was in disbelief and declined the position. By now, the unyielding racist conduct of

TCU and its agents had taken its toll on Jane Doe No. 4, and she experienced psychological and

physiological pain and injuries as a result.

       200.    Now battling constant bouts of anxiety and stress stemming from the harassment

and humiliation being perpetrated against her, and at the advice of her physician, Jane Doe No. 4

decided that she could no longer allow her mind and body to continue to be destroyed as a result

of TCU’s collective racial immaturity. On January 16, 2019, Jane Doe No. 4 quit TCU’s PhD

program in the Department of English.

       201.    With Jane Doe No. 4’s departure, Jane Doe No. 5 was left to decide how much

more of TCU’s racism she could reasonably endure, especially knowing that all African-American

women students before her were constructively removed from the PhD program in the Department

of English. Jane Doe No. 5’s physiological and psychological state also continued to decline as

she experienced the stress and resulting emotional breakdowns and panic attacks associated

therewith.

       202.    On March 26, 2019, Jane Doe No. 5 again visited TCU’s Title IX Office and spoke

with Ms. Holland to report the onslaught of issues she continued to face in her years at TCU. Ms.

Holland again focused on whether or not Jane Doe No. 5’s grades were impacted, rather than the

treatment Jane Doe No. 5 was experiencing. When Jane Doe No. 5 noticed that Ms. Holland was

recording her latest complaint in pencil and on scrap paper, while seemingly dismissing her

complaints, Jane Doe No. 5 asked directly, “are they going to have to call me ‘nigger’ before




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y’all will do anything.” Ms. Holland responded by telling Jane Doe No. 5 that she would need

to submit yet another complaint in writing to formalize her complaint. Again, no investigation

into Jane Doe No. 5’s complaints was opened.

       203.     Instead, on May 3, 2019, Dr. Turner held a meeting with the entire Department of

English where he had the effrontery to—without investigation—announce to Jane Doe No. 5 and

other racial minorities that their civil rights had not been violated. At that same meeting Dr. Turner

also announced that an external investigation of the racist climate in TCU’s Department of English

would soon commence. Per usual, this too was a lie.

       204.     Jane Doe No. 5 was so frustrated with Dr. Turner’s empty promises that on

November 1, 2019, she met with Chancellor Boschini to detail her complaints. Bizarrely, rather

than work to ameliorate Jane Doe No. 5’s experience, Chancellor Boschini asked Jane Doe No. 5

“if there were a job at TCU for you, would you take it?” Jane Doe No. 5—like Jane Doe No. 4—

declined the apparent offer to waive her complaints in exchange for a job and presumably

compensation.

       205.     On January 13, 2020—after having been notified of this impending lawsuit—TCU

finally commenced its external investigation of the complaints first made by Jane Does Nos. 4 and

5 as early as Fall 2016.

       206.     Jane Doe No. 5 did not mince any words when challenging Ms. Holland and TCU’s

failure to address the issues that they were aware of for several years and even correctly informed

Ms. Holland that some of the psychological and physiological damage that had been caused by

enduring the overt and covert racism and racial oppression at TCU could have likely been quelled

by Ms. Holland, Dr. Turner and others at TCU had they taken the complaints of African-American

women seriously years ago, when such incidents were initially reported.




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          207.   Even Department of English professors Dr. Narian, Linda Hughes, Charlotte Hogg,

Alex Lemon, Jason Helms, Stacie McCormick, Rima Abunasser, Ariane Balizet and Theresa Gaul

finally summoned the courage to stand up for their racial minority and women students that were

met with deliberate indifference when they submitted their complaints to TCU’s Title IX office.

On May 29, 2020, the aforementioned professors sent the following collective message to Dr.

Turner:

                 We are writing as members of the English Department Advisory
                 Committee and department leadership about the delay in concluding
                 the inquiry conducted by Segal Consulting into the English
                 Department’s climate and culture regarding bias and discrimination
                 along lines of race, ethnicity, gender, sexuality, age, and ability.
                 This inquiry, which was announced in April of 2019, was deferred
                 until January of 2020. Our understanding was that the consultants’
                 report was to be delivered after spring break. With the upheaval
                 brought about by COVID-19, we have not received that report, and
                 thus the academic year has ended without resolution on this matter.
                 Because we are invested in ensuring a working environment that
                 supports everyone in our department, we urge you to bring this
                 inquiry to a conclusion and move forward towards resolving any
                 open Title IX complains within the English Department as speedily
                 as possible. We understand that the global pandemic has made all
                 processes challenging and difficult in the latter half of the spring
                 semester. However, prolonging resolution on matters at the heart of
                 the inquiry only exacerbates collective anxieties and concerns. As
                 members of the department’s leadership, we recognize the urgent
                 need to provide an equitable and inclusive departmental climate and
                 culture to sustain a positive learning and working environment for
                 students and faculty. Without resolution of any outstanding
                 complaints, we are substantially hampered in moving forward to
                 take action and make change. Because of confidentiality, we are not
                 informed as to the number, content, or individuals named in any
                 complaints to your office. Based on the fact that the Segal inquiry
                 was initiated, however, we presume that there are students and
                 faculty members who have made complaints and we believe it is
                 possible that some complaints were made as early as 2016. The lack
                 of resolution to any complaints has exacerbated feelings of distrust
                 and disillusionment within our department. The deferral of the
                 inquiry from April to December further heightened concerns among
                 students and faculty in the department. As we conclude this year
                 and move into a new year in August, we urgently need your office



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               to move the process of investigating and resolving these complaints
               to conclusion. We have undertaken substantial efforts within the
               department in the last year to address areas of concern. However,
               students and faculty members who have made complaints deserve
               to have a definitive response to these complaints and the department
               needs to be able to either take action based on the complaints or
               move on from them in order to ensure equitable working and
               learning conditions and to heal. Ongoing confidentiality constraints
               related to legality in regards to complaints severely hamper our
               ability to do this important work in line with the university’s
               Diversity, Equity, and Inclusion goals and mission.

       208.    Had TCU taken seriously the reports of discrimination and assault it received from

other racial minorities and women like Jane Doe Nos. 1, 2, 3, 4 and 5, perhaps they would never

have been subjected to the treatment detailed herein. Indeed, had TCU ever responded adequately

at all to reports of discrimination and assault of racial minorities and women, Jane Doe Nos. 1, 2,

3, 4 and 5 would not have had to resort to litigation to remedy TCU’s deprivation of educational

opportunities and benefits and TCU’s policy of intentional discrimination that substantially

increased their risk of and exposure to discrimination and assault.

       209.    Instead, TCU endorses a policy and practice that discourages racial minorities and

women from reporting racial and sexual harassment and assault and retaliates against them for

daring to speak out against it as it did with Jane Doe No. 1 during the 2019-2020 school year.

      XXI.     TCU retaliates against Jane Doe No. 1 for daring to report mistreatment.

       210.    While Jane Doe No. 1 was busy working desperately to rehabilitate her physical

and mental state resulting from her treatment at TCU and seeking justice for herself and other

racial minorities and women relating to the same, Drs. Snow, Mack, Chimbel and Garnett—who

were all aware of Jane Doe No. 1’s complaints regarding discrimination—were also busy

continuing to conspire against Jane Doe No. 1, and directing allegations to TCU administrators

in retaliation for speaking out against her treatment. On August 27, 2019—in a conspired act of




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retaliation—Professor Mack emailed Jane Doe No. 1 to inform her that he had determined that she

committed plagiarism and was recommending that Jane Doe No. 1 receive no credit for the summer

course. On September 4, 2019 Dr. Rob Garnett, Associate Dean of the Honors College, sent a

follow up email to Jane Doe No. 1 indicating that Jane Doe No. 1 “had earned a grade of ‘no-

credit’ (NC) for the course, i.e., a grade below 70%” based on Professor Mack’s recommended

sanctions of “a zero for the two assignments that were [allegedly] plagiarized.” Dr. Garnett’s

correspondence further indicated that:

               The NC grade was based on your performance in all three areas of
               evaluation for the course, as stated on the syllabus, and based on the
               assessments provided to me by all four participating instructors. In
               part it was the result of you earning grades of 0 on three of the four
               writing assignments (two due to academic misconduct, the third due
               to your failure to submit a paper); but it was also due to your low
               scores for “class participation” (58%) and “questions and interaction
               with guest speakers and tour guides” (61%).

       211.    Though Jane Doe No. 1 was still attempting to recover from the injuries she

survived during the Washington summer program and reengage into her normal life and academic

course load, Jane Doe No. 1 once again had to step over her pain to address the hateful and

disparate treatment she continues to suffer at the hands of the Honors College. Jane Doe No. 1

initiated a formal appeal with Dr. Garnett to dispute the NC grade she was given for the

Washington program. Besides the fact that, unsurprisingly, TCU blew nearly every protocol

relating to its published academic appeal procedures, Jane Doe No. 1 focused on the facts. On

September 17, 2019, Jane Doe No. 1 emailed Dr. Garnett to request a breakdown of the grades she

received during the Washington summer program prior to her appeal hearing. On September 19,

2019 Dr. Garnett responded with the following:

               Grades for [Jane Doe No. 1]
               Class participation (50% of course grade)
               Dr. Gooding: 90 out of 100



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              Dr. [sic] Chimbel: 70 out of 100
              Dr. Mack: 20 out of 100
              Dr. Snow: 60 out of 100
              Average score: 60 out of 100

              Written exercises (25% of course grade)
              Dr. Gooding: 90 out of 100
              Dr. [sic] Chimbel: 0 out of 100
              Dr. Mack: 0 out of 100
              Dr. Snow: 0 out of 100
              Average score: 22.5 out of 100

              Questions and interaction with guest speakers and tour
              guides (25% of course grade)
              Dr. Gooding: 94 out of 100
              Dr. [sic] Chimbel: 60 out of 100
              Dr. Mack: 40 out of 100
              Dr. Snow: 60 out of 100
              Average score: 63.5 out of 100

              Overall average for the course
              (60*50%) + (22.5*25%) + (63.5*25%) = 51.5%

       212.   Dr. Garnett also sent statements from each of the aforementioned Honors College

faculty members/program facilitators. Of note, Dr. Gooding, finally found his conscience and

within his statement admitted the truth of Jane Doe No. 1’s academic capabilities and the truth

behind Jane Doe No. 1’s summer program experience:

              [Jane Doe No. 1’s] class participation was commensurate with that
              of the “Excellent Participation” rating during the first week. During
              our group discussions she made contributions and always answered
              when called upon. Of note is that after the first full day, she and three
              other classmates took advantage of my ability to secure free tickets
              for an evening performance at the Kennedy Center. The rest of the
              group declined, citing fatigue.

              [Jane Doe No. 1] readily interacted with guest speakers and tour
              guides during the first week, with the exception of perhaps the more
              structured Brazilian Embassy visit. Of note was after our group visit
              with Georgetown University Law Center Professor Anthony Cook,
              she and [another student] elected to skip the group lunch portion in
              order to spend additional time engaging this engaging individual.
              Based upon her possible future law school plans of which she



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               disclosed to me, I thought it prudent for her to take advantage of this
               window of opportunity so long as she agreed to reunite with the
               group for the afternoon walking tour (of which, to my knowledge,
               she did so timely).

               In her daily journaling, [Jane Doe No. 1] employs a “stream of
               consciousness” approach where she will not employ traditional
               paragraph spacing and thoroughly expresses herself, flowing from
               one thought to another. While this style may not “answer” all of the
               sub-questions posed from the reflective writing prompts, they do
               often reveal a deeper connection to the material on a much more
               personal level.

               Overall, [Jane Doe No. 1] performed well during the first week.
               Towards the end of the first week I did notice an increase of personal
               spacing from other members of the general group, especially during
               transitions, but I interpreted this as a healthy means of “pacing
               oneself” given the unspoken dynamic of her being the only African
               American female on the trip. While I personally did not witness
               anyone of any ill will in an impolite exchange with [Jane Doe No.
               1], I speculated that after the first few days of excitement wore
               off, the reality of possibly being socially isolated in subtle yet
               invisible ways was starting to seep in.


       213.    Jane Doe No. 1’s other professors, however, could not be bothered with the truth.

Chimbel provided only four short sentences in support of the failing grades he issued to Jane Doe

No. 1. In addition to accusing Jane Doe No. 1 of plagiarism and scoring Jane Doe No. 1 zero for

all written assignments, Dr. Snow and Professors Chimbel and Mack also heavily docked Jane

Doe No. 1 for “class participation” and “questions and interactions with tour guides” citing

subjective and arbitrary bases for Jane Doe No. 1’s grade determination. Jane Doe No. 1 was

shocked by the grade break down and statements because they were in direct contravention with

the praise Professors Chimbel and Mack had given her during the trip. Jane Doe No. 1 pointed

out this disparity to Dr. Garnett during her appeal hearing on October 22, 2019 and even Dr.

Garnett was unable to reconcile the change in his colleagues’ attitudes and opinions regarding Jane

Doe No. 1’s performance, or justify the inadequate responses provided to Jane Doe No. 1 regarding



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her revoked credit. Jane Doe No. 1 believed that the allegations of misconduct made against her

were as much a sham as the appeals proceeding she had just concluded. In addition, based on

conversations with other students, Jane Doe No. 1 learned that she had been subjected to

discriminatory grading standards that other students were not subjected to that summer and

resulting in the events detailed herein. (in conjunction with hostile and welfare-endangering

conduct from TCU staff). In fact, shortly after filing this lawsuit another student enrolled in the

course informed Jane Doe No. 1 that she had submitted pages with incomprehensible doodles—

not words—for her written assignments and received credit for the course.

       214.    On November 5, 2019, Jane Doe No. 1 was notified that the Honors College had

denied Jane Doe No. 1’s grade appeal continuing the retaliatory treatment against her. Still, for a

scholar as decorated as Jane Doe No. 1 the ongoing hostile treatment and now character

assassination of Jane Doe No. 1 weighed heavily. On November 6, 2019, left hopeless yet again

by the acts and omissions of TCU, Jane Doe No. 1 disappeared. When Jane Doe No. 1’s family

could not reach her for several hours, they panicked and began calling everyone they could think

of, including the police to see if a report had been made. Jane Doe No. 1’s mother and uncle even

began driving from their homes—each respectively hundreds of miles away—towards TCU’s

campus fearful of the worst. Eventually, Jane Doe No. 1’s family contacted Onstar®, Jane Doe

No. 1’s remote vehicle location service. Jane Doe No. 1’s family found Jane Doe No. 1 sitting

alone in her car expressionless. Jane Doe No. 1 had been sitting in her car for hours after once

again calling the National Suicide Prevention Lifeline.

       215.    TCU’s discriminatory conduct is unyielding.        And TCU’s present conscious

disparate treatment of racial minorities and women, like Jane Doe Nos. 1, 2 and 3, is life-altering

and life-threatening. In fact, another racial minority student at TCU recently confided in Jane Doe




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No. 1 that she too had suicidal ideations resulting from her treatment as second-class at TCU. Jane

Doe No. 1 provided said student with the phone number for the National Suicide Prevention

Lifeline.

                                             COUNTS

              COUNT I—TCU violated Title VI of the Civil Rights Act of 1964

       216.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate by reference the allegations

contained in the previous paragraphs as if fully set forth herein.

       217.    At all relevant times TCU faculty, staff, administration, and other employees and/or

affiliates (“TCU agents”) were acting within the scope of their employment and/or at the direction

and under the control of TCU. Moreover, at all relevant times appropriate TCU agents were made

aware of and took no action against the conduct of its agents, thereby ratifying their conduct and

rendering TCU vicariously liable for the conduct of their agents via the doctrine of Respondeat

Superior.

       218.    TCU violated Title VI of the Civil Rights Act of 1964 by subjecting Jane Does Nos.

1, 2, 3, 4 and 5 to a series of intentional hostile acts and adverse actions designed to deprive them

of the benefits of education at TCU and derail their academic pursuit because of their race.

       219.    Title VI of the Civil Rights Act of 1964 provides: “No person in the United States

shall, on the ground of race, color, or national origin, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance.” 42 U.S.C. § 2000d.

       220.    Jane Does Nos. 1, 2, 3, 4 and 5 are African-American young women who were

discriminated against because of their race. Accordingly, Jane Does Nos. 1, 2, 3, 4 and 5 are

members of a protected class.




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       221.    TCU receives federal financial aid and assistance and is therefore subject to the

provisions of Title VI of the Civil Rights Act of 1964.

       222.    As detailed extensively herein, as a direct result of TCU’s acts or omissions, Jane

Does Nos. 1, 2, 3, 4 and 5 were intentionally made to endure hostile and harassing treatment in

their educational pursuit, including but not limited to: Jane Doe No. 1’s repeated segregation,

discrimination and disparate treatment at or in TCU and in TCU-facilitated housing, TCU

academic programs, and TCU-sanctioned activities as detailed in paragraphs 59 through 133 and

169 through 174; TCU’s deliberate indifference and/or inadequate investigation and response to

Jane Doe No. 2’s reports of sexual harassment and assault as detailed in paragraphs 134 through

156; TCU’s deliberate indifference and/or inadequate investigation and response to Jane Doe No.

3’s reports of racially hostile treatment at TCU as detailed in paragraphs 157 through 166; and

TCU’s deliberate indifference and/or inadequate investigation and response to Jane Does Nos. 4

and 5’s complaints of discrimination at TCU as detailed in paragraphs 167 through 207. Jane Doe

Nos. 1, 2, 3, 4 and 5 were subjected to a racially hostile educational environment created by TCU’s

lack of appropriate policies and procedures to remedy the same and its failure to properly

investigate and/or address reports of discrimination from racial minorities and women.

       223.    Additionally, TCU and its officials had actual knowledge of the discrimination

faced by Jane Does Nos. 1, 2, 3, 4 and 5 because of their race and the resulting harm created by

TCU’s failure to investigate and discipline their attackers and harassers in a timely manner and

consistent with federal and state law.

       224.    TCU’s failure to promptly and appropriately respond to the discrimination reported

by Jane Does Nos. 1, 2, 3, 4 and 5 resulted in their exclusion from participation in, denial of the

benefits of, and further discrimination in TCU's education program in violation of Title VI.




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        225.    TCU failed to take immediate, effective remedial steps to resolve the complaints of

racial discrimination and instead acted with deliberate indifference toward Jane Does Nos. 1, 2, 3,

4 and 5.

        226.    TCU persisted in its actions and inaction even after it had actual knowledge of the

harm suffered by Jane Does Nos. 1, 2, 3, 4 and 5.

        227.    TCU engaged in a pattern and practice of behavior designed to discourage and

dissuade students who have been racially discriminated against from seeking prosecution and

protection and from seeking to have discrimination reports fully investigated.

        228.    This policy and/or practice constituted disparate treatment of racial minorities, and

specifically African-Americans, and had a disparate impact on African-American students.

        229.    Jane Does Nos. 1, 2, 3, 4 and 5 have suffered, and continue to suffer emotional

distress and psychological damage as well as physiological harm as a direct and proximate result

of TCU’s conduct, including the facts detailed herein, and namely TCU’s deliberate indifference

to their rights under Title VI.

                  COUNT II—TCU violated Title VII of the Civil Rights Act of 1964

        230.    Jane Doe No. 1 reallege and incorporate by reference the allegations contained in

the previous paragraphs as if fully set forth herein.

        231.    At all relevant times TCU faculty, staff, administration, and other employees and/or

affiliates (“TCU agents”) were acting within the scope of their employment and/or at the direction

and under the control of TCU. Moreover, at all relevant times appropriate TCU agents were made

aware of and took no action against the conduct of its agents, thereby ratifying their conduct and

rendering TCU vicariously liable for the conduct of their agents via the doctrine of Respondeat

Superior.




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       232.    TCU violated Title VII of the Civil Rights Act of 1964 by subjecting Jane Doe No.

1 to a series of intentional hostile acts and adverse actions designed to derail equal opportunities

and equal pay because of her race.

       233.    Title VII of the Civil Rights Act of 1964 provides: “ It shall be an unlawful

employment practice for an employer to fail or refuse to hire or to discharge any individual, or

otherwise to discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual's race, color, religion, sex, or

national origin.” 42 U.S.C. § 2000e-2.

       234.    Jane Doe No. 1 is African-American young woman who was discriminated against

because of her race. Accordingly, Jane Doe No. 1 is members of a protected class.

       235.    As detailed extensively herein, TCU discriminated against Jane Doe No. 1 by: (1)

failing or refusing to pay that were equal to white female student worker performing the same

assignments because of her race and (2) treating her less favorably than her white counterparts.

All such actions are in direct violation of Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2. Jane

Doe No. 1 was intentionally made to endure discriminatory behavior in her working environment,

including but not limited to: Jane Doe No. 1’s being subjected to overly strenuous physical labor

and specifically used to gain African-American students as detailed in paragraphs 77 through 83.

       236.    The effect of the practice of TCU and TCU agents complained of above has been

to deprive Jane Doe No. 1 of equal opportunities and equal pay and others adversely affected her

status as a student worker.

       237.    The unlawful employment practices complained of herein were intentional or done

with malice or reckless indifference to federal protected rights of Jane Doe No. 1.




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         COUNT III—TCU violated Title IX of the Education Amendments of 1972

       238.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate by reference the allegations

contained in the previous paragraphs as if fully set forth herein.

       239.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       240.    TCU violated Title IX of the Education Amendments of 1972 by subjecting Jane

Does Nos. 1, 2, 3, 4 and 5 to a series of intentional hostile acts and adverse actions designed to

derail their academic pursuit based upon their sex.

       241.    Title IX of the Education Amendments of 1972 provides, in relevant part, that: “No

person in the United States shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.” 20 U.S.C. § 1681(a).

       242.    Jane Does Nos. 1, 2, 3, 4 and 5 are African-American young women who were

discriminated against because of their sex. Accordingly, Jane Does Nos. 1, 2, 3, 4 and 5 are

members of a protected class.

       243.    TCU receives federal financial aid and assistance and is therefore subject to the

provisions of Title IX of the Education Amendments of 1972.

       244.    As detailed extensively herein, as a direct result of TCU’s acts or omissions, Jane

Does Nos. 1, 2, 3, 4 and 5 were intentionally made to endure hostile and harassing treatment in

their educational pursuit, including but not limited to: Jane Doe No. 1’s repeated segregation,




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discrimination and disparate treatment at or in TCU and in TCU-facilitated housing, TCU

academic programs, and TCU-sanctioned actives as detailed in paragraphs 59 through 133 and

169 through 174; TCU’s deliberate indifference and/or inadequate investigation and response to

Jane Doe No. 2’s reports of sexual harassment and assault as detailed in paragraphs 134 through

156; and TCU’s deliberate indifference and/or inadequate investigation and response to Jane Doe

No. 3’s reports of racially hostile treatment at TCU as detailed in paragraphs 157 through 166; and

TCU’s deliberate indifference and/or inadequate investigation and response to Jane Does Nos. 4

and 5’s complaints of discrimination at TCU as detailed in paragraphs 167 through 207.        Jane

Doe Nos. 1, 2, 3, 4 and 5 were subjected to an educational environment that was hostile toward

women, and specifically African-American women created by TCU’s lack of appropriate policies

and procedures to remedy the same and its failure to properly investigate and/or address reports of

assault and harassment from African-American women.

        245.    Additionally, TCU and its officials had actual knowledge of the harassment and/or

assault faced by Jane Does Nos. 1, 2, 3, 4 and 5 because of their gender and the resulting harm

created by TCU’s failure to investigate and discipline their attackers and harassers in a timely

manner and consistent with federal and state law.

        246.    TCU’s failure to promptly and appropriately respond to the harassment and/or

sexual assault reported by Jane Does Nos. 1, 2, 3, 4 and 5 resulted in their exclusion from

participation in, denial of the benefits of, and further discrimination in TCU's education program

in violation of Title IX.

        247.    TCU failed to take immediate, effective remedial steps to resolve the complaints of

gender-based discrimination and instead acted with deliberate indifference toward Jane Does Nos.

1, 2, 3, 4 and 5.




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        248.    TCU persisted in its actions and inaction even after it had actual knowledge of the

harm suffered by Jane Does Nos. 1, 2, 3, 4 and 5.

        249.    TCU engaged in a pattern and practice of behavior designed to discourage and

dissuade students who have been sexually discriminated against or assaulted from seeking

prosecution and protection and from seeking to have reports of sexual discrimination and assault

fully investigated.

        250.    This policy and/or practice constituted disparate treatment of racial minorities, and

specifically African-Americans, and had a disparate impact on African-American students.

        251.    Jane Does Nos. 1, 2, 3, 4 and 5 have suffered, and continue to suffer emotional

distress and psychological damage as well as physiological harm as a direct and proximate result

of TCU’s conduct, including the facts detailed herein, and namely TCU’s deliberate indifference

to their rights under Title IX.

          COUNT IV—TCU violated Section 504 of the Rehabilitation Act of 1973

        252.    Jane Does Nos. 1 and 3 reallege and incorporate by reference the allegations

contained in the previous paragraphs as if fully set forth herein.

        253.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

        254.    TCU violated Section 504 of the Rehabilitation Act of 1973 by excluding Jane Does

Nos. 1 and 3 from the participation in, denying them the benefit of, and subjecting them to

harassment in a program or activity receiving financial assistance because of Jane Doe No. 1’s




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asthma—a qualified disability of which TCU was fully aware as detailed in paragraphs 100

through 113 and Jane Doe No. 1’s resulting psychological and physiological injuries; and Jane

Doe No. 3’s type 1 diabetes which she reported to TCU and for which she sought and was denied

accommodations as detailed in paragraphs 157 through 168.

        255.    The Rehabilitation Act defines “program or activity” to “mean[] all of the

operations of…a college, university, or other postsecondary institution.” 29 U.S.C. § 794(b)(2)(A);

34 C.F.R. § 104.3(k). TCU is a “college, university, or other postsecondary institution.” 29 U.S.C.

§ 794(b)(2)(A); 34 C.F.R. § 104.3(k). TCU and TCU-sanctioned activities and programs, including

the Washington summer program are therefore a “program or activity” of TCU within the meaning

of the Rehabilitation Act.

        256.    TCU has engaged in illegal disability discrimination, as defined by the

Rehabilitation Act, including without limitation (1) limiting Jane Does Nos. 1 and 3 in the

enjoyment of rights, privileges, advantages, and/or opportunities enjoyed by others receiving

TCU’s aids, benefits or services; (2) utilizing methods of administration and course instruction,

etc. that have the effect of subjecting Jane Does Nos. 1 and 3 to discrimination on the basis of

handicap, and that have the purpose or effect of defeating or substantially impairing

accomplishment of the objectives of TCU’s programs and activities with respect to people with

disabilities; (3) failing to provide an auxiliary aid or service where necessary to ensure that students

with disabilities, like Jane Does Nos. 1 and 3 are not excluded, denied services or otherwise treated

differently than others; and/or (4) failing to make reasonable modifications in policies, practices

or procedures where necessary to afford its services, privileges, advantages or accommodations to

persons with disabilities.




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       257.    TCU has violated the Rehabilitation Act by, without limitation, failing to provide

reasonable alternatives to Jane Does Nos. 1 and 3 who each reported their disability and requested

accommodations for the same. TCU failed to accommodate Jane Does Nos. 1 and 3’s disability.

       258.    TCU further retaliated against Jane Doe No. 1 for reporting the lack of concern with

which her reports and request were met.

       259.    TCU’s violations of Section 504 have caused and continue to cause psychological

and physiological harm to Jane Does Nos. 1 and 3.

     COUNT V—TCU violated Title III of the Americans with Disabilities Act of 1990

       260.    Jane Does Nos. 1 and 3 reallege and incorporate all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       261.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       262.    TCU’s conduct also violated Title III of the Americans with Disabilities Act of

1990, 42 U.S.C. § 12181 et seq.

       263.    Title III provides that “[n]o individual shall be discriminated against on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns…

or operates a place of public accommodation.” 42 U.S.C. § 12182(a); 28 C.F.R. § 36.201(a).

       264.    TCU operates an “undergraduate, or postgraduate private school, or other place of

education,” which is a place of public accommodation pursuant to 42 U.S.C. § 12181(7)(J).




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        265.    TCU has engaged in illegal disability discrimination, as defined by the

Rehabilitation Act, including without limitation (1) limiting Jane Does Nos. 1 and 3 in the

enjoyment of rights, privileges, advantages, and/or opportunities enjoyed by others receiving

TCU’s aids, benefits or services; (2) utilizing methods of administration and course instruction,

etc. that have the effect of subjecting Jane Doe Nos. 1 and 3 to discrimination on the basis of

handicap, and that have the purpose or effect of defeating or substantially impairing

accomplishment of the objectives of TCU’s programs and activities with respect to people with

disabilities; (3) failing to provide an auxiliary aid or service where necessary to ensure that students

with disabilities, like Jane Does Nos. 1 and 3 are not excluded, denied services or otherwise treated

differently than others; and/or (4) failing to make reasonable modifications in policies, practices

or procedures where necessary to afford its services, privileges, advantages or accommodations to

persons with disabilities.

        266.    TCU has violated Title III by, without limitation, failing to provide reasonable

alternatives to Jane Does Nos. 1 and 3 who each reported their disability and requested

accommodations for the same. TCU failed to accommodate Jane Does Nos. 1 and 3’s disability.

        267.    TCU’s violations of Title III have caused and continue to cause psychological and

physiological harm to Jane Doe Nos. 1 and 3.

                              COUNT VI—TCU Committed Fraud

        268.    Jane Does No. 1 and 4 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

        269.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,




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thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       270.    TCU’s conduct also constitutes Texas common law fraud.

       271.    As detailed extensively herein, TCU’s self-aggrandizing DEI campaign and

accompanying promotional activities were specifically designed to market to young people like

Jane Does Nos. 1 and 4 and represented to Jane Does Nos. 1 and 4 that TCU fostered an inclusive

environment and had taken necessary steps to ensure an egalitarian academic experience as

detailed fully in paragraphs 58 through 59, 69 through 70 and 167 through 207.

       272.    TCU continuing false representation of its academic and social environment is not

only gross but also an intentional material misrepresentation designed to induce racial minorities

and women to enroll in TCU despite its hateful legacy and present conscious contempt for racial

minorities and women.

       273.    Such representations are false.

       274.    TCU—given its extensive discriminatory history and present as detailed herein—

knew such representations were false at the time they were made.

       275.    TCU cannot seriously contend that they did not know such representations were

false, but even if they do, TCU made such representations recklessly, as a positive assertion and

without knowledge of its truth.

       276.    TCU explicitly published that such representations were made with the intent that

racial minorities and women, like Jane Does Nos. 1 and 4 would act on it.

       277.    Jane Does Nos. 1 and 4 did indeed rely on said representations and applied to and

enrolled in TCU, where she was harassed and discriminated against on a continuing basis over the

course of two years.




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       278.    Jane Does Nos. 1 and 4 has suffered psychological and physiological harm as a

direct result of TCU’s misrepresentations.

 COUNT VII—TCU Acted Negligently. Further and in the Alternative if Necessary, Drs.

Snow, Garnett, Turner and Professors Mack and Chimbel, Individually Acted Negligently.

       279.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate all the allegations contained

in preceding paragraphs of this Complaint as though fully rewritten herein.

       280.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU faculty, staff administration, etc. were made aware of and took no action against

the conduct of its agents, thereby ratifying their conduct and rendering TCU vicariously liable for

the conduct of their agents via the doctrine of Respondeat Superior.

       281.    TCU’s conduct also constitutes gross negligence.

       282.    TCU owed Jane Does Nos. 1, 2, 3, 4 and 5 a duty of reasonable care. Moreover,

and in the alternative, if necessary, as detailed in paragraphs 59 through 207. TCU faculty, staff

and administration, etc. were aware of Jane Does Nos. 1, 2, 3, 4 and 5’s on-going harassment at

the hands of TCU agents. TCU had superior knowledge of the risks associated with its agent’s

continued conduct and the right to control the agent’s conduct, which resulted in harm to Jane

Does Nos. 1, 2, 3, 4 and 5.

       283.    Despite its knowledge of Jane Does Nos. 1, 2, 3, 4 and 5’s discriminatory, harassing

and disparate treatment, TCU acted with conscious indifference, willfulness, recklessness and or

wantonness toward them as extensively detailed herein, thereby breaching said duty.

       284.    But for TCU’s breach, Jane Does Nos. 1, 2, 3, 4 and 5 would not have suffered

psychological and physiological injuries, which were proximately caused by TCU’s conduct.




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       285.    Additionally, and in the alternative, if necessary, Drs. Snow, Garnett and Professors

Mack and Chimbel each individually acted negligently towards Jane Doe No. 1 because they owed

Jane Doe No. 1 a duty of reasonable care and because they had a special relationship with Jane

Doe No. 1 as her university professors, and/or a duty to exercise reasonable care to avoid the

foreseeable risk of injury to Jane Doe No.1, and/or a duty to protect Jane Doe No. 1 from the peril

she experienced at TCU and TCU sanctioned activities, which were under their individual control.

The acts and omissions detailed herein constitute breaches of said duties and but for Drs. Snow,

Gooding, Garnett and Professors Mack and Chimbel’s breach Jane Doe No. 1 would not have the

suffered psychological and physiological injury, which was proximately caused by their breach.

       286.    Further, additionally and in the alternative, if necessary, Dr. Turner and Leigh

Holland acted negligently because they owed Jane Does Nos. 1, 2, 3, 4 and 5 a duty of reasonable

care and because they had a special relationship with Jane Does Nos. 1, 2, 3, 4 and 5 as designated

point-persons for discrimination complaints and/or a duty to exercise reasonable care to avoid the

foreseeable risk of injury to Jane Does Nos. 1, 2, 3, 4 and 5 and/or a duty to protect Jane Does Nos.

1, 2, 3, 4 and 5 from the discrimination and harassment they experienced at TCU, including but

not limited to in the pursuit of recourse by reporting incidents of racial and sexual harassment,

which were under their individual control. The acts and omissions detailed herein constitute

breaches of said duties and but for Dr. Turner and Leigh Holland’s breach Jane Does Nos. 1, 2, 3,

4 and 5 would not have the suffered psychological and physiological injury, which was

proximately caused by their breach.

 COUNT VIII—TCU Negligently Hired, Retained, Supervised, and Trained its Employees

       287.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate all the allegations contained

in preceding paragraphs of this Complaint as though fully rewritten herein.




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          288.   At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

          289.   TCU’s conduct also constitutes negligent hiring, retention, supervision, training

and management.

          290.   TCU and owed a legal duty to Jane Does Nos. 1, 2, 3, 4 and 5. TCU and owed them

a duty as an institution of higher education to possess and apply the knowledge and to use the skill

and care that is used by a reasonable and prudent educational institution. Moreover, and in the

alternative, if necessary, as detailed in paragraphs 59 through 207. TCU agents were aware of

Jane Does Nos. 1, 2, 3, 4 and 5’s on-going harassment at the hands of TCU agents. TCU had

superior knowledge of the risks associated with its agent’s continued conduct and the right to

control the agent’s conduct, which resulted in harm to Jane Does Nos. 1, 2, 3, 4 and 5.

          291.   TCU employed Drs. Schoolmaster, Arnold, Snow, Gooding, Garnett and Turner,

as well as Professor Mack and Title IX investigator, Leigh Holland during the incidents made basis

of this lawsuit. TCU maintained the employment of these individuals despite their deplorable

conduct as detailed herein. The aforementioned individuals were unqualified to handle their duties

and responsibilities as evidenced by their conduct towards Jane Does Nos. 1, 2, 3, 4 and 5 detailed

herein.

          292.   TCU knew or should have known that hiring and retaining the aforementioned

individuals would create an unreasonable risk of injury to students.




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       293.    TCU failed to use ordinary care in hiring, retaining, supervising, training and

managing the aforementioned individuals.

       294.    TCU’s negligence in hiring, retaining, supervising, training and managing the

aforementioned individuals was the proximate cause of Jane Does Nos. 1, 2, 3, 4 and 5’s injuries

and damages.

       295.    TCU’s actions and/or omissions were with conscious indifference, malicious,

fraudulent, willful, reckless, and/or wonton.

       296.    TCU’s actions and/or omissions proximately caused injury to Jane Does Nos. 1, 2,

3, 4 and 5, which resulted and will result in Jane Does Nos. 1, 2, 3, 4 and 5 suffering past and

future damages, including, past and future medical expenses, past and future pain and suffering,

past and future mental anguish, past and future physical disfigurement, past and future physical

impairment, and past and future aggravation of conditions.

       297.    Jane Does Nos. 1, 2, 3, 4 and 5’s injuries resulted from TCU’s gross negligence,

which entitles Jane Doe No. 1 to exemplary damages under Texas Civil Practice and Remedies

Code section 41.003(a).

                     COUNT IX—TCU Negligently Misrepresented Itself

       298.    Jane Does Nos. 1 and 4 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       299.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.




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       300.    TCU’s conduct also constitutes negligent misrepresentation.

       301.    TCU’s self-aggrandizing DEI campaign and accompanying promotional activities

were specifically designed to market to young people like Jane Does Nos. 1 and 4 and represented

to Jane Does Nos. 1 and 4 that TCU fostered an inclusive environment and had taken necessary

steps to ensure an egalitarian academic experience as detailed fully in paragraphs 58 through 59,

69 through 70 and 167 through 207.

       302.    TCU made these representations in the course of TCU’s business and in the course

of a transaction in which they had interest.

       303.    Through the DEI campaign TCU supplied false information for the guidance of

others and did not exercise reasonable care or competence in obtaining or communicating the

information to others.

       304.    Jane Does Nos. 1 and 4 justifiably relied on the representations of the DEI campaign

as detailed herein.

       305.    But for TCU’s negligent misrepresentations Jane Does Nos. 1 and 4 would not have

enrolled at TCU and would not have endured unconscionable treatment and suffered psychological

and physiological injury, which was proximately caused by TCU actions and/or omissions.

 COUNT X—Drs. Snow and Schoolmaster, Individually Assaulted Jane Doe Nos. 1 and 2,

respectively. TCU is also liable because it ratified Drs. Snow and Schoolmaster’s assaults.

       306.    Jane Doe No. 1 realleges and incorporates all the allegations contained in preceding

paragraphs of this Complaint as though fully rewritten herein.

       307.    Dr. Snow and Schoolmaster’s conduct also constitutes assault.




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       308.    As detailed in paragraphs 104 through 157, Drs. Snow and Schoolmaster acted

intentionally and knowingly in making unwanted physical contact with Jane Doe Nos. 1 and 2,

resulting in bodily injury to Jane Doe Nos. 1 and 2 as detailed herein.

       309.    Drs. Snow and Schoolmaster knew or reasonably should have believed that Jane

Doe Nos. 1 and 2 would regard the physical contacts as offensive or provocative by Jane Doe Nos.

1 and 2, who informed them and TCU of the same.

       310.    As a result of said conduct Jane Doe Nos. 1 and 2 suffered psychological and

physiological injury.

       311.    Additionally, and in the alternative, if necessary, the conduct of Drs. Snow and

Schoolmaster were ratified by TCU when it failed to take appropriate or any action at all against

Drs. Snow and Schoolmaster rendering TCU vicariously liable for Jane Doe Nos. 1 and 2’s assault.

COUNT XI—TCU and Drs. Turner, Snow, Garnett and Professors Mack and Chimbel and

                    Ms. Holland Intentionally Inflicted Emotional Distress

       312.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate all the allegations contained

in preceding paragraphs of this Complaint as though fully rewritten herein.

       313.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       314.    TCU’s conduct also constitutes intentional infliction of emotional distress.

       315.    TCU acted intentionally or recklessly toward Jane Does Nos. 1, 2, 3, 4 and 5’s

welfare as detailed extensively herein.




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       316.     As a result of TCU actions and/or omission Jane Does Nos. 1, 2, 3, 4 and 5 suffered

severe emotional distress.

       317.     TCU conduct throughout Jane Does Nos. 1, 2, 3, 4 and 5 interactions with TCU,

were extreme and outrageous.

       318.     TCU’s conduct proximately caused Jane Does Nos. 1, 2, 3, 4 and 5 emotional

distress and TCU and even admitted the same via its clinicians as detailed in paragraph 59 through

133, which resulted and will result in Jane Does Nos. 1, 2, 3, 4 and 5 suffering past and future

damages.

       319.     Additionally, and in the alternative, if necessary, the conduct of Drs. Turner, Snow,

Garnett and Professors Mack and Chimbel and Ms. Holland, whom each individually acted

intentionally or recklessly through their extreme and outrageous conduct as extensively detailed

herein proximately caused Jane Does Nos. 1, 2, 3, 4 and 5 to suffer severe emotional distress and

thus they are each individually liable for intentional infliction of emotional distress, which together

they conspired to commit against Jane Doe No. 1.

       320.     No alternative cause of action would provide an adequate remedy for the severe

emotional distressed caused by TCU and/or Drs. Turner, Snow, Garnett and Professors Mack and

Chimbel and Ms. Holland.

              COUNT XI—TCU and Dr. Snow Falsely Imprisoned Jane Doe No. 1

       321.     Jane Doe No. 1 realleges and incorporates all the allegations contained in preceding

paragraphs of this Complaint as though fully rewritten herein.

       322.     At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,




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thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       323.    TCU’s conduct also constitutes false imprisonment.

       324.    As detailed in paragraphs 90 through 127, TCU via its agent, Dr. Snow, regularly

forced Jane Doe No. 1 to sit next to her during meals at the Washington summer program. TCU

via its agent, Dr. Snow also refused to allow Jane Doe No. 1 to leave the Washington summer

program despite her health decline.

       325.    In doing so, TCU via its agent, Dr. Snow, willfully and with malice detained Jane

Doe No. 1 without Jane Doe No. 1’s consent and without legal authority or justification.

       326.    Additionally, and in the alternative, if necessary, the conduct detailed herein

constitute false imprisonment for which Dr. Snow is liable in her individual capacity.

       327.    In addition to Jane Doe No. 1’s physical injuries Jane Doe No. 1 suffered

humiliation, shame, fright and mental anguish.

       328.    Because TCU and Dr. Snow’s conduct was malicious, Jane Doe No. 1 is entitled to

actual and exemplary damages.

           COUNT XII—TCU Violated the Texas Deceptive Trade Practices Act

       329.    Jane Does Nos. 1 and 4 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       330.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.




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       331.    TCU’s conduct also constitutes violations of the Texas Deceptive Trade Practices

Act (“DTPA”).

       332.    Jane Does Nos. 1 and 4 are consumers under the DTPA.

       333.    TCU may be sued under the DTPA for violations.

       334.    TCU through its DEI campaign employed false and misleading or deceptive acts or

practices in violation of the DTPA by failing to disclose (and even hiding) the truth of its hateful

legacy toward racial minorities and women. TCU via its agent, Chancellor Boschini, also breached

its express warranty that it had put in place measures to create a more balanced learning

community, among other express warranties offered by TCU to Jane Does Nos. 1 and 4 and other

racial minorities and women.       In doing so, TCU subjected Jane Does Nos. 1 and 4 to

unconscionable courses of action, which took advantage of Jane Does Nos. 1 and 4 to her

detriment.

       335.    TCU’s aforementioned conduct was the producing cause of Jane Does Nos. 1 and

4’s damages.

COUNT XIII—TCU and Drs. Snow, Garnett and Professors Mack and Chimbel Conspired

                                     Against Jane Doe No. 1

       336.    Jane Doe No. 1 realleges and incorporates all the allegations contained in preceding

paragraphs of this Complaint as though fully rewritten herein.

       337.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.




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       338.    TCU’s conduct also constitutes civil conspiracy.

       339.    As detailed in paragraphs 125 through 127, TCU, via its agents Dr. Snow and

Professor Mack were members of a combination of two or more persons comprised of TCU and

Professor Chimbel, Dean of the Jandoli School of Communication at St. Bonaventure University.

Together, Drs. Snow and Garnett and Professor Mack on behalf of TCU had a meeting of the

minds with Professor Chimbel to discriminate and retaliate against Jane Doe No. 1 in violation of

federal and state law as detailed herein.

       340.    TCU and Chimbel succeeded in their conspiracy by revoking the credits Jane Doe

No. 1 earned in the summer program based on discriminatory grading practices, of which she was

informed by her classmates who received credit despite having completed insufficient work.

Additionally, and in the alternative, if necessary, Drs. Snow, Garnett and Professors Mack and

Chimbel via the conduct detailed herein as each conspired against and are liable to Jane Doe No.

1.

       341.    As detailed herein, the revocation of this credit as part of a continuing scheme to

intentionally inflict emotional distress on Jane Doe No. 1 by one or all of the aforementioned

parties was committed at TCU, which is in this judicial district. Such conduct proximately injured

Jane Doe No. 1 as a result.

                       COUNT XIV—TCU Breached its Fiduciary Duty

       342.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate all the allegations contained

in preceding paragraphs of this Complaint as though fully rewritten herein.

       343.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,




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thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       344.    TCU’s conduct also constitutes breach of fiduciary duty.

       345.    TCU had a fiduciary duty to Jane Does Nos. 1, 2, 3, 4 and 5 based on an informal

relationship, arising from a moral, social, or purely personal relationship of trust and confidence.

Jane Does Nos. 1, 2, 3, 4 and 5 reasonably placed said trust and confidence in TCU—a university

which lured them to it by indicating that it would provide an egalitarian experience for Jane Does

Nos. 1, 2, 3, 4 and 5 as detailed herein.

       346.    TCU breached their informal duty to Jane Does Nos. 1, 2, 3, 4 and 5 by subjecting

them to the unconscionable acts detailed herein.

       347.    TCU’s breach resulted in injury to Jane Does Nos. 1, 2, 3, 4 and 5 and resulted in

benefit to TCU.

               COUNT XV—TCU Breached its Express Warranty for Services

       348.    Jane Does Nos. 1, 2, 3, 4 and 5 reallege and incorporate all the allegations contained

in preceding paragraphs of this Complaint as though fully rewritten herein.

       349.    At all relevant times TCU and TCU agents were acting within the scope of their

employment and/or at the direction and under the control of TCU. Moreover, at all relevant times

appropriate TCU agents were made aware of and took no action against the conduct of its agents,

thereby ratifying their conduct and rendering TCU vicariously liable for the conduct of their agents

via the doctrine of Respondeat Superior.

       350.    TCU’s conduct also constitutes breach of express warranty for services.

       351.    TCU sold educational services to Jane Does Nos. 1, 2, 3, 4 and 5.




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        352.   TCU made representations to Jane Does Nos. 1, 2, 3, 4 and 5 about the quality or

characteristics of the services by affirmation of fact, promise, or description as detailed herein.

        353.   Said representations formed the basis of TCU and Jane Does Nos. 1, 2, 3, 4 and 5’s

bargain and Jane Does Nos. 1, 2, 3, 4 and 5 relied on the same.

        354.   TCU breached its warranty by subjecting Jane Does Nos. 1, 2, 3, 4 and 5 to the

treatment described herein.

        355.   Jane Does Nos. 1, 2, 3, 4 and 5 have suffered psychological and physical injury as

a result.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests relief against Defendants as follows:

        356.   A declaration that TCU’s conduct as alleged here has violated, and continues to

violate Title VI of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000d through 2000d-6, Title IX of

the Education Amendments Act of 1972, 20 U.S.C. §§ 1681through 1687, Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C § 794, and Title III of the Americans with Disabilities Act,

42 U.S.C. §§ 12181 through 12189;

        357.   Award Jane Doe Nos. 1, 2, 3, 4 and 5 actual damages, exemplary damage, pre and

post judgment interest, and court costs.

        358.   Award of Jane Doe Nos. 1, 2, 3, 4 and 5’s reasonable attorneys’ fees and cost as

provided by law;

        359.   Such other relief, in law and in equity, as the Court finds just and proper.

                                           JURY DEMAND

        Jane Doe Nos. 1, 2, 3, 4 and 5 demand a jury trial in this action.

Dated: June 10, 2020.




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                                       Respectfully submitted,
                                       WHITE & WIGGINS, LLP

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